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                                         Exhibit D
                   Schedule of Assumed Executory Contracts and Unexpired Leases

        Certain documents, or portions thereof, contained in this Exhibit D and the Plan
Supplement remain subject to continuing negotiations among the Debtors and interested parties
with respect thereto. The Debtors reserve all rights to amend, revise, or supplement the Plan
Supplement, this Exhibit D, and any of the documents and designations contained herein, at any
time before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




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 Row     Store                                                                                                                             Cure
                           Debtor             Counterparty               Description                          Other Notes
  ID       #                                                                                                                              Amount
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                Letter re: Relocation within
   1     8259      Claire's Boutiques, Inc.       CBL                                               term sheet, or other documentation   $6,729.83
                                                               Cherryvale Mall (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                 West Towne Mall Lease (As
   2     3733      Claire's Boutiques, Inc.       CBL                                               term sheet, or other documentation   $12,673.34
                                                                        Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                 The Pavilion at Port Orange
   3     3270      Claire's Boutiques, Inc.       CBL                                               term sheet, or other documentation   $6,595.24
                                                                    Lease (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                   Layton Hills Mall Lease         amended by the amendment, binding
   4     8666      Claire's Boutiques, Inc.       CBL             Modification and Extension        term sheet, or other documentation   $6,447.00
                                                                  Agreement (As Amended)             executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                               Northpark Mall Lease Modification   amended by the amendment, binding
   5     8379      Claire's Boutiques, Inc.       CBL            and Extension Agreement (As        term sheet, or other documentation   $3,392.62
                                                                          Amended)                   executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                   Eastland Mall Lease (As
   6     8252      Claire's Boutiques, Inc.       CBL                                               term sheet, or other documentation   $2,975.00
                                                                          Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                 Coastal Grand-Myrtle Beach
   7     3597      Claire's Boutiques, Inc.       CBL                                               term sheet, or other documentation   $5,739.71
                                                                    Lease (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                               Parkdale Mall Lease Agreement
   8     8642      Claire's Boutiques, Inc.       CBL                                              amended by the amendment, binding     $6,167.21
                                                                       (As Amended)
                                                                                                    term sheet, or other documentation



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 Row     Store                                                                                                                            Cure
                          Debtor              Counterparty               Description                         Other Notes
  ID       #                                                                                                                             Amount
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                  Greenbriar Mall Lease           amended by the amendment, binding
   9     3505      Claire's Boutiques, Inc.       CBL            Modification and Extension        term sheet, or other documentation   $4,681.90
                                                                 Agreement (As Amended)             executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                Dakota Square Mall Lease (As
  10     3560      Claire's Boutiques, Inc.       CBL                                              term sheet, or other documentation   $3,865.89
                                                                         Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
  11     3366      Claire's Boutiques, Inc.       CBL          Abor Place Lease (As Amended)       term sheet, or other documentation   $5,326.75
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                Westfield Shoppingtown South
  12     8373      Claire's Boutiques, Inc.       CBL                                              term sheet, or other documentation   $3,578.56
                                                                County Lease (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                West County Mall Lease (As
  13     3581      Claire's Boutiques, Inc.       CBL                                              term sheet, or other documentation   $6,466.30
                                                                        Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                   Lease Modification and         amended by the amendment, binding
  14     3786      Claire's Boutiques, Inc.       CBL             Extension Agreement (As          term sheet, or other documentation   $5,246.43
                                                                         Amended)                   executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                Laurel Park Place Lease (As
  15     1135      Claire's Boutiques, Inc.       CBL                                              term sheet, or other documentation   $11,933.90
                                                                        Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
  16     8644      Claire's Boutiques, Inc.       CBL          Post Oak Mall Lease Modification      The Debtors assume this lease as   $4,367.64


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 Row     Store                                                                                                                           Cure
                          Debtor              Counterparty               Description                        Other Notes
  ID       #                                                                                                                            Amount
                                                                 and Extension Agreement (As     amended by the amendment, binding
                                                                          Amended)                term sheet, or other documentation
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 Hickory Point Mall Shopping
  17     5258      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation     $0.00
                                                                 Center Lease (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                               Janesville Mall Lease Agreement
  18     5177      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $8,899.10
                                                                        (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                               Oak Park Mall Lease Agreement
  19     8276      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $13,963.65
                                                                       (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                  Richland Mall Lease (As
  20     5265      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $7,934.55
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                               Stround Mall Lease Agreement
  21     5888      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $4,237.95
                                                                       (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                               Northpark Mall Shopping Center
  22     5608      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $6,755.65
                                                                    Lease (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                  Dakota Square Mall Lease
                                                                                                 amended by the amendment, binding
  23     5278      Claire's Boutiques, Inc.       CBL             Modification and Extension                                           $6,485.06
                                                                                                  term sheet, or other documentation
                                                                  Agreement (As Amended)
                                                                                                   executed by the applicable Debtor



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 Row     Store                                                                                                                         Cure
                          Debtor              Counterparty               Description                       Other Notes
  ID       #                                                                                                                          Amount
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                 Layton Hills Mall Shopping     amended by the amendment, binding
  24     5825      Claire's Boutiques, Inc.       CBL            Center Lease Agreement (As      term sheet, or other documentation   $6,320.51
                                                                         Amended)                 executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                   Multi-Property Lease         amended by the amendment, binding
  25     5159      Claire's Boutiques, Inc.       CBL            Modification Agreement (As      term sheet, or other documentation   $6,203.37
                                                                         Amended)                 executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                               Sunrise Mall (Brownsville, TX)
  26     5982      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $8,015.64
                                                                    Lease (As Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                York Galleria Shopping Center
  27     5799      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $7,239.52
                                                                    Lease (As Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                  Parkland Mall Lease (As
  28     5510      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $7,643.05
                                                                         Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                  Asheville Mall Lease (As
  29     5762      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $8,940.21
                                                                         Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                Cary Towne Center Lease (As
  30     5712      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $9,641.76
                                                                        Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                Frontier Mall Shopping Lease       The Debtors assume this lease as
  31     6543      Claire's Boutiques, Inc.       CBL                                                                                 $5,799.08
                                                                       (As Amended)             amended by the amendment, binding


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 Row     Store                                                                                                                         Cure
                          Debtor              Counterparty               Description                      Other Notes
  ID       #                                                                                                                          Amount
                                                                                                term sheet, or other documentation
                                                                                                 executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                                               amended by the amendment, binding
                                                                Old Hickory Mall Lease (As
  32     5920      Claire's Boutiques, Inc.       CBL                                           term sheet, or other documentation   $9,694.17
                                                                        Amended)
                                                                                                 executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                 East Towne Mall License       amended by the amendment, binding
  33     5424      Claire's Boutiques, Inc.       CBL            Agreements for Temporary       term sheet, or other documentation   $9,203.35
                                                                  Storage (As Amended)           executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                                               amended by the amendment, binding
                                                                 Park Plaza Mall Lease (As
  34     5740      Claire's Boutiques, Inc.       CBL                                           term sheet, or other documentation   $12,516.46
                                                                         Amended)
                                                                                                 executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                                               amended by the amendment, binding
                                                                Harford Mal Lease Agreement
  35     5755      Claire's Boutiques, Inc.       CBL                                           term sheet, or other documentation   $9,898.69
                                                                       (As Amended)
                                                                                                 executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                  Multi-Property Lease         amended by the amendment, binding
  36     3333      Claire's Boutiques, Inc.       CBL           Modification Agreement (As      term sheet, or other documentation   $6,991.90
                                                                        Amended)                 executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                Asheville Mall Extension and   amended by the amendment, binding
  37     3699      Claire's Boutiques, Inc.       CBL            Modification of Lease (As      term sheet, or other documentation   $7,476.53
                                                                         Amended)                executed by the applicable Debtor
                                                                                                         and counterparty.
                                                                                                  The Debtors assume this lease as
                                                                                               amended by the amendment, binding
                                                                Volusia Mall Shopping Center
  38     6062      Claire's Boutiques, Inc.       CBL                                           term sheet, or other documentation   $9,227.31
                                                                    Lease (As Amended)
                                                                                                 executed by the applicable Debtor
                                                                                                         and counterparty.



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 Row     Store                                                                                                                           Cure
                          Debtor              Counterparty               Description                        Other Notes
  ID       #                                                                                                                            Amount
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Imperial Valley Mall Lease (As
  39     5913      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $5,065.46
                                                                          Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 West Towne Mall 2 License
  40     5889      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $11,829.51
                                                                 Agreement (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Brookfield Square Shopping
  41     6457      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $10,998.84
                                                                Center Lease (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                  Mall Del Norte Lease (As
  42     5575      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $12,445.90
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 Honey Creek Mall Lease
  43     5175      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $8,914.75
                                                                 Agreement (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                               Arbor Place Lease Modification    amended by the amendment, binding
  44     6590      Claire's Boutiques, Inc.       CBL           and Extension Agreement (As       term sheet, or other documentation   $7,925.51
                                                                         Amended)                  executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                   License Agreement (As
  45     5761      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $8,999.88
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                  Westmoreland Mall Lease
  46     5242      Claire's Boutiques, Inc.       CBL                                            amended by the amendment, binding     $12,256.04
                                                                  Agreement (As Amended)
                                                                                                  term sheet, or other documentation



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 Row     Store                                                                                                                          Cure
                          Debtor              Counterparty               Description                       Other Notes
  ID       #                                                                                                                           Amount
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
  47     5273      Claire's Boutiques, Inc.       CBL          Hanes Mall Lease (As Amended)     term sheet, or other documentation   $9,681.61
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                               Southaven Towne Center Lease     amended by the amendment, binding
  48     6077      Claire's Boutiques, Inc.       CBL           Modification and Extension       term sheet, or other documentation   $7,203.44
                                                                 Agreement (As Amended)           executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                               Jefferson Mall Lease Agreement
  49     5244      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $11,735.83
                                                                        (As Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                 Letter re: New Landlord (As
  50     3452      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $7,019.15
                                                                           Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                  Eastgate Mall Lease (As
  51     5288      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $7,659.02
                                                                        Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
  52     1919      Claire's Boutiques, Inc.       CBL          Hanes Mall Lease (As Amended)     term sheet, or other documentation   $10,114.14
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
                                                                                                   The Debtors assume this lease as
                                                                                                amended by the amendment, binding
                                                                 Cherryvale Mall Lease (As
  53     5174      Claire's Boutiques, Inc.       CBL                                            term sheet, or other documentation   $12,491.73
                                                                        Amended)
                                                                                                  executed by the applicable Debtor
                                                                                                          and counterparty.
  54     6199      Claire's Boutiques, Inc.       CBL            Burnsville Center Lease (As       The Debtors assume this lease as   $12,166.31


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 Row     Store                                                                                                                           Cure
                          Debtor              Counterparty               Description                        Other Notes
  ID       #                                                                                                                            Amount
                                                                         Amended)                amended by the amendment, binding
                                                                                                  term sheet, or other documentation
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                  Meridian Mall Lease (As
  55     5286      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $13,018.51
                                                                        Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                Costal Grand -Myrtle Beach -
                                                                                                 amended by the amendment, binding
                                                                  Lease Modification And
  56     5388      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $15,355.67
                                                                 Extension Agreement (As
                                                                                                   executed by the applicable Debtor
                                                                         Amended)
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                  West County Mall Storage       amended by the amendment, binding
  57     5200      Claire's Boutiques, Inc.       CBL              License Agreement (As          term sheet, or other documentation   $16,411.00
                                                                         Amended)                  executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Fayette Mall Shopping Center
  58     5353      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $13,705.82
                                                                    Lease (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                               Change of Ownership Notice (As
  59     5069      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $15,205.66
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 Colonial Mall Valdosta Lease
  60     5408      Claire's Boutiques, Inc.       CBL                                             term sheet, or other documentation   $6,126.25
                                                                  Agreement (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                Letter of Notice of Assignment   amended by the amendment, binding
  61     5346      Claire's Boutiques, Inc.       CBL                                                                                  $9,538.32
                                                                        (As Amended)              term sheet, or other documentation
                                                                                                   executed by the applicable Debtor



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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                           Other Notes
  ID       #                                                                                                                              Amount
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                 Salem Center Storage License
  62     5633      Claire's Boutiques, Inc.       JLL                                                term sheet, or other documentation    $0.00
                                                                  Agreement (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                  Rouge Valley Mall -First          amended by the amendment, binding
  63     5557      Claire's Boutiques, Inc.       JLL             Amendment To Lease (As             term sheet, or other documentation    $0.00
                                                                        Amended)                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                 Rogue Valley Mall Second           amended by the amendment, binding
  64     8529      Claire's Boutiques, Inc.       JLL            Amendment to Lease (As              term sheet, or other documentation    $0.00
                                                                        Amended)                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                  Provo Towne Centre First          amended by the amendment, binding
  65     6705      Claire's Boutiques, Inc.       JLL             Amendment to Lease (As             term sheet, or other documentation    $0.00
                                                                         Amended)                     executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                               Everett Mall Second Amendment
  66     6207      Claire's Boutiques, Inc.       JLL                                                term sheet, or other documentation    $0.00
                                                                        (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                  Sherwood Mall Lease (As
  67     8056      Claire's Boutiques, Inc.       JLL                                                term sheet, or other documentation    $0.00
                                                                        Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                 Letter re: Sale and Transfer of    amended by the amendment, binding
  68     6453      Claire's Boutiques, Inc.       JLL             Sherwood Mall Lease (As            term sheet, or other documentation    $0.00
                                                                            Amended)                  executed by the applicable Debtor
                                                                                                              and counterparty.
                                                               Houston County Galleria Second          The Debtors assume this lease as
  69     5883      Claire's Boutiques, Inc.       JLL                                                                                     $4,511.62
                                                                  Amendment to Lease (As            amended by the amendment, binding


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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                           Other Notes
  ID       #                                                                                                                              Amount
                                                                          Amended)                   term sheet, or other documentation
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                 Chapel Hills Mall Lease (As
  70     5331      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                         Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                Letter Re: End of Receivership
  71     5880      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                        (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                               Letter Re: Sale of North Hanover
  72     5405      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                      Mall (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                  Fashion Square Mall Lease         amended by the amendment, binding
  73     3527      Claire's Boutiques, Inc.   Mason/Namdar        Modification and Extension         term sheet, or other documentation    $0.00
                                                                  Agreement (As Amended)              executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                 Claire's Boutiques Inc. d/b/a
  74     5304      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                 Claire's #5304 (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                The Citadel Fourth Amendment        amended by the amendment, binding
  75     8138      Claire's Boutiques, Inc.   Mason/Namdar         to Lease Agreement (As            term sheet, or other documentation    $0.00
                                                                          Amended)                    executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                 Letter re: Increase in Rent (As
  76     6174      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                            Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.



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 Row     Store                                                                                                                           Cure
                          Debtor              Counterparty               Description                         Other Notes
  ID       #                                                                                                                            Amount
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                   Uniontown Mall Lease
  77     5406      Claire's Boutiques, Inc.   Mason/Namdar                                         term sheet, or other documentation    $0.00
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                 College Square Mall (Cedar
  78     5474      Claire's Boutiques, Inc.   Mason/Namdar                                         term sheet, or other documentation    $0.00
                                                                Falls, IA) Lease (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                  Letter Re: Northland Mall       amended by the amendment, binding
  79     5161      Claire's Boutiques, Inc.   Mason/Namdar       Exercise of Option to Extend      term sheet, or other documentation    $0.00
                                                                  Lease Term (As Amended)           executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                  Northwest Arkansas Mall
  80     8022      Claire's Boutiques, Inc.   Mason/Namdar                                         term sheet, or other documentation    $0.00
                                                                Specialty Lease (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                 Gulf View Square Lease (As
  81     5692      Claire's Boutiques, Inc.   Mason/Namdar                                         term sheet, or other documentation    $0.00
                                                                         Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                   Letter re: Notice of New       amended by the amendment, binding
  82     6882      Claire's Boutiques, Inc.   Mason/Namdar      Landlord of The Lakes Mall (As     term sheet, or other documentation    $0.00
                                                                          Amended)                  executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                 Cache Valley Mall Lease (As
  83     5568      Claire's Boutiques, Inc.   Mason/Namdar                                         term sheet, or other documentation    $0.00
                                                                         Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                Letter Re: Notice of Change in       The Debtors assume this lease as
  84     5376      Claire's Boutiques, Inc.   Mason/Namdar     Ownership and Management - The     amended by the amendment, binding      $0.00
                                                                    Citadel (As Amended)           term sheet, or other documentation



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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                           Other Notes
  ID       #                                                                                                                              Amount
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                Modification of Merritt Square
  85     5919      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                Mall (FL) Lease (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                   Fashion Square Mall Lease        amended by the amendment, binding
  86     6087      Claire's Boutiques, Inc.   Mason/Namdar         Modification and Extension        term sheet, or other documentation    $0.00
                                                                   Agreement (As Amended)             executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                    University Mall Third           amended by the amendment, binding
  87     5296      Claire's Boutiques, Inc.   Mason/Namdar         Amendment to Lease (As            term sheet, or other documentation    $0.00
                                                                         Amended)                     executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                Letter Re: Letter on Purchase by
                                                                                                    amended by the amendment, binding
                                                                    Logan Valley Realty and
  88     5266      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                Assigned Lease Agreement (As
                                                                                                      executed by the applicable Debtor
                                                                           Amended)
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                               Extension and First Amendment of     amended by the amendment, binding
  89     5194      Claire's Boutiques, Inc.   Mason/Namdar      Fallen Timbers Shops Lease (As       term sheet, or other documentation    $0.00
                                                                          Amended)                    executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                    Newburgh Mall Fourth            amended by the amendment, binding
  90     5294      Claire's Boutiques, Inc.   Mason/Namdar         Amendment to Lease (As            term sheet, or other documentation    $0.00
                                                                        Amended)                      executed by the applicable Debtor
                                                                                                              and counterparty.
                                                                                                       The Debtors assume this lease as
                                                                                                    amended by the amendment, binding
                                                                 Lease Agreement for Northwest
  91     5782      Claire's Boutiques, Inc.   Mason/Namdar                                           term sheet, or other documentation    $0.00
                                                                  Arkansas Mall (As Amended)
                                                                                                      executed by the applicable Debtor
                                                                                                              and counterparty.
  92     6008      Claire's Boutiques, Inc.   Mason/Namdar          Westland Center Lease              The Debtors assume this lease as    $0.00


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 Row     Store                                                                                                                              Cure
                          Debtor              Counterparty               Description                            Other Notes
  ID       #                                                                                                                               Amount
                                                                  Agreement (As Amended)             amended by the amendment, binding
                                                                                                      term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Crossroads Mall Lease
  93     6744      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                  Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                Crossroads Center Mall Lease
  94     5512      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                       (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                 River Oaks Center Lease (As
  95     5470      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                         Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                Wenatchee Valley Mall Lease
  96     6881      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                      (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                Lease Agreement For Heritage
  97     5734      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                     Mall (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                               Galleria at Pittsburgh Mills Lease
  98     6508      Claire's Boutiques, Inc.   Mason/Namdar                                            term sheet, or other documentation    $0.00
                                                                         (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                  Extension Agreement for
                                                                                                     amended by the amendment, binding
  99     5168      Claire's Boutiques, Inc.   Mason/Namdar        Conestoga Mall Lease (As                                                  $0.00
                                                                                                      term sheet, or other documentation
                                                                         Amended)
                                                                                                       executed by the applicable Debtor



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 Row     Store                                                                                                                                Cure
                          Debtor              Counterparty                  Description                           Other Notes
  ID       #                                                                                                                                 Amount
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Conestoga Join Venture Lease
  100    8413      Claire's Boutiques, Inc.   Mason/Namdar                                              term sheet, or other documentation    $0.00
                                                                          (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                    Pyramid Mall Ithaca Lease          amended by the amendment, binding
  101    6642      Claire's Boutiques, Inc.   Mason/Namdar        Modification Agreement No. 1 (As      term sheet, or other documentation    $0.00
                                                                             Amended)                    executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Letter Re: Sale of Nittany Mall
  102    5306      Claire's Boutiques, Inc.   Mason/Namdar                                              term sheet, or other documentation    $0.00
                                                                           (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Letter re: Insurance Certificate
  103    8123      Claire's Boutiques, Inc.   QIC/Forest City                                           term sheet, or other documentation    $0.00
                                                                           (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Galleria at Sunset Lease (As
  104    3492      Claire's Boutiques, Inc.   QIC/Forest City                                           term sheet, or other documentation    $0.00
                                                                             Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                     Victoria Gardens Mall First       amended by the amendment, binding
  105    5946      Claire's Boutiques, Inc.   QIC/Forest City        Amendment of Lease (As             term sheet, or other documentation    $0.00
                                                                             Amended)                    executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Antelope Valley Mall Lease (As
  106    3673      Claire's Boutiques, Inc.   QIC/Forest City                                           term sheet, or other documentation    $0.00
                                                                             Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                       Notice of Change in                The Debtors assume this lease as
  107    6615      Claire's Boutiques, Inc.   QIC/Forest City                                                                                 $0.00
                                                                    Management (As Amended)            amended by the amendment, binding


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 Row     Store                                                                                                                               Cure
                          Debtor              Counterparty                   Description                         Other Notes
  ID       #                                                                                                                                Amount
                                                                                                       term sheet, or other documentation
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                    The Mall at Robinson Storage
  108    6891      Claire's Boutiques, Inc.   QIC/Forest City                                          term sheet, or other documentation    $0.00
                                                                  License Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                     The Shops at Tanforan First      amended by the amendment, binding
  109    6586      Claire's Boutiques, Inc.   QIC/Forest City      Modification of Lease Agreement     term sheet, or other documentation    $0.00
                                                                            (As Amended)                executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                     Northfield at Stapleton Lease
  110    6018      Claire's Boutiques, Inc.   QIC/Forest City                                          term sheet, or other documentation    $0.00
                                                                      Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                        Notices of change in
  111    6454      Claire's Boutiques, Inc.   QIC/Forest City                                          term sheet, or other documentation    $0.00
                                                                     management (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                     Antelope Valley Mall Lease
  112    1943      Claire's Boutiques, Inc.   QIC/Forest City                                          term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                  Letter re: Change in Management
  113    3314      Claire's Boutiques, Inc.   QIC/Forest City                                          term sheet, or other documentation    $0.00
                                                                            (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                  Letter Re: Change of Management     amended by the amendment, binding
  114    5085      Claire's Boutiques, Inc.   QIC/Forest City      at Short Pump Town Center (As       term sheet, or other documentation    $0.00
                                                                              Amended)                  executed by the applicable Debtor
                                                                                                                and counterparty.



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 Row     Store                                                                                                                                Cure
                          Debtor              Counterparty                  Description                           Other Notes
  ID       #                                                                                                                                 Amount
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                       Notices of change in
  115    6670      Claire's Boutiques, Inc.   QIC/Forest City                                           term sheet, or other documentation    $0.00
                                                                    management (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Midland Mall Shopping Center
  116    5935      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                       Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Letter Re: Transfer of Title of
  117    5268      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                  Towne Square Mall (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                     Colonial Park Mall Lease
  118    6193      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    First Lease Amendment (As
  119    5291      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                             Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      Letter Re: Transferred
  120    5035      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                     Ownership (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Downtown Mall (Minnesota)
  121    5417      Claire's Boutiques, Inc.       Kohan                                                 term sheet, or other documentation    $0.00
                                                                       Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                      Great Northern Mall Third           The Debtors assume this lease as
  122    5645      Claire's Boutiques, Inc.       Kohan               Amendment to Lease (As           amended by the amendment, binding      $0.00
                                                                             Amended)                   term sheet, or other documentation



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 Row     Store                                                                                                                               Cure
                          Debtor              Counterparty                 Description                           Other Notes
  ID       #                                                                                                                                Amount
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                Virginia Center Commons (Glen
  123    5977      Claire's Boutiques, Inc.      Kohan                                                 term sheet, or other documentation    $0.00
                                                                Allen, VA) Lease (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                     Indian River Mall First          amended by the amendment, binding
  124    6355      Claire's Boutiques, Inc.      Kohan              Amendment to Lease (As             term sheet, or other documentation    $0.00
                                                                           Amended)                     executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                     Carriage Crossing First          amended by the amendment, binding
                                              Poag Shopping
  125    6725      Claire's Boutiques, Inc.                         Amendment to Lease (As             term sheet, or other documentation   $5,407.93
                                                 Centers
                                                                           Amended)                     executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                  Letter re: Notice of Change of
  126    6686      Claire's Boutiques, Inc.   Time Equities                                            term sheet, or other documentation   $3,784.52
                                                                  Notice Address (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                    Monroe Crossing Lease
  127    5545      Claire's Boutiques, Inc.   Time Equities                                            term sheet, or other documentation   $5,862.37
                                                                    Extension (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                 College Square Shopping Center
  128    5690      Claire's Boutiques, Inc.   Time Equities                                            term sheet, or other documentation   $4,598.33
                                                                      Lease (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                  Colony Square Mall Lease (As
  129    5293      Claire's Boutiques, Inc.   Time Equities                                            term sheet, or other documentation   $4,708.40
                                                                           Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
  130    5544      Claire's Boutiques, Inc.   Time Equities      Foothills Mall-Lease Modification       The Debtors assume this lease as   $5,765.70


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 Row     Store                                                                                                                                Cure
                          Debtor                Counterparty                Description                           Other Notes
  ID       #                                                                                                                                 Amount
                                                                    And Extension Agreement (As        amended by the amendment, binding
                                                                            Amended)                    term sheet, or other documentation
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      Newgate Mall Lease (As
  131    8670      Claire's Boutiques, Inc.     Time Equities                                           term sheet, or other documentation    $0.00
                                                                           Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      Newgate Mall Lease (As
  132    6571      Claire's Boutiques, Inc.     Time Equities                                           term sheet, or other documentation   $6,976.96
                                                                           Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Laurel Mall Lease Agreement
  133    6240      Claire's Boutiques, Inc.     Lexington Co.                                           term sheet, or other documentation   $1,833.33
                                                                           (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      Westgate Mall Lease (As
  134    6129      Claire's Boutiques, Inc.     Lexington Co.                                           term sheet, or other documentation   $2,702.97
                                                                            Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                   Paul Bunyan Mall First Extension    amended by the amendment, binding
  135    6667      Claire's Boutiques, Inc.     Lexington Co.       and Amendment of Lease (As          term sheet, or other documentation   $2,774.86
                                                                             Amended)                    executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Quincy Place Mall Lease (As
  136    6056      Claire's Boutiques, Inc.     Lexington Co.                                           term sheet, or other documentation   $4,013.55
                                                                            Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                              Ramco-Gershenson     Deerfield Towne Center Lease        amended by the amendment, binding
  137    6012      Claire's Boutiques, Inc.                                                                                                  $3,262.63
                                                Properties, LP      Agreement (As Amended)              term sheet, or other documentation
                                                                                                         executed by the applicable Debtor



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 Row     Store                                                                                                                                Cure
                          Debtor                Counterparty               Description                           Other Notes
  ID       #                                                                                                                                 Amount
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                              Ramco-Gershenson   Letter re: Jackson Crossing Lease
  138    6664      Claire's Boutiques, Inc.                                                            term sheet, or other documentation    $241.86
                                                Properties, LP       Extension (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                    Merle Hay Mall Lease (As
  139    5416      Claire's Boutiques, Inc.        Urban                                               term sheet, or other documentation   $4,294.12
                                                                           Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
  140    5300      Claire's Boutiques, Inc.        Urban          Arnot Mall Lease (As Amended)        term sheet, or other documentation   $10,870.56
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                  Eastview Mall Lease Agreement
  141    6213      Claire's Boutiques, Inc.      Wilmorite                                             term sheet, or other documentation     $0.00
                                                                          (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                  Mall at Greece Ridge Lease (As
  142    5229      Claire's Boutiques, Inc.      Wilmorite                                             term sheet, or other documentation     $0.00
                                                                            Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                 Marketplace Mall Standard Lease
  143    5341      Claire's Boutiques, Inc.      Wilmorite                                             term sheet, or other documentation     $0.00
                                                                   Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                     Eastview Mall Lease (As
  144    3530      Claire's Boutiques, Inc.      Wilmorite                                             term sheet, or other documentation     $0.00
                                                                            Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                      Lease Modification and             The Debtors assume this lease as
  145    8456      Claire's Boutiques, Inc.      Wilmorite                                                                                    $0.00
                                                                     Extension Agreement (As          amended by the amendment, binding


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 Row     Store                                                                                                                                   Cure
                          Debtor               Counterparty                    Description                          Other Notes
  ID       #                                                                                                                                    Amount
                                                                               Amended)                   term sheet, or other documentation
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                         Sierra Vista Mall Lease
  146    6202      Claire's Boutiques, Inc.      Woodmont                                                 term sheet, or other documentation     $0.00
                                                                        Agreement (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                      The Pinnacle at Turkey Creek       amended by the amendment, binding
  147    5368      Claire's Boutiques, Inc.   Bayer Properties        First Amendment to Lease (As        term sheet, or other documentation   $5,308.15
                                                                               Amended)                    executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                     Letter Re: Notice of new address
  148    5340      Claire's Boutiques, Inc.     Mid America                                               term sheet, or other documentation     $0.00
                                                                              (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                    Southpark Mall Lease Agreement
  149    6204      Claire's Boutiques, Inc.   Security National                                           term sheet, or other documentation     $0.00
                                                                            (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                       Holiday Village Mall Lease
  150    5532      Claire's Boutiques, Inc.   Security National                                           term sheet, or other documentation     $0.00
                                                                       Agreement (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                     Coyote Mississippi Malls Lease
  151    6492      Claire's Boutiques, Inc.   Security National                                           term sheet, or other documentation     $0.00
                                                                            (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                       Mall of America Lease (As
  152    6498      Claire's Boutiques, Inc.      Triple Five                                              term sheet, or other documentation   $13,985.28
                                                                               Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.



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 Row     Store                                                                                                                               Cure
                          Debtor               Counterparty                 Description                         Other Notes
  ID       #                                                                                                                                Amount
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                      Mall of America Lease
  153    5897      Claire's Boutiques, Inc.     Triple Five                                           term sheet, or other documentation   $29,975.25
                                                                     Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                     Mall of America Lease (As
  154    3010      Claire's Boutiques, Inc.     Triple Five                                           term sheet, or other documentation   $23,376.20
                                                                             Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                       Boulevard Mall Third          amended by the amendment, binding
  155    6338      Claire's Boutiques, Inc.       Zamias              Amendment to Lease (As          term sheet, or other documentation     $0.00
                                                                            Amended)                   executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                     Olean Center Mall Lease
  156    6736      Claire's Boutiques, Inc.       Zamias                                              term sheet, or other documentation     $0.00
                                                                     Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                    Amendment to The Galleria
  157    1808      Claire's Boutiques, Inc.       Zamias                                              term sheet, or other documentation     $0.00
                                                                      Lease (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Indiana Mall Lease Agreement
  158    5681      Claire's Boutiques, Inc.       Zamias                                              term sheet, or other documentation     $0.00
                                                                           (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Carmel Mountain Plaza Shopping
  159    3435      Claire's Boutiques, Inc.   American Assets                                         term sheet, or other documentation     $0.00
                                                                     Center Lease (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                    Second Amendment to Del             The Debtors assume this lease as
  160    5623      Claire's Boutiques, Inc.   American Assets      Monte Shopping Center Lease       amended by the amendment, binding       $0.00
                                                                         (As Amended)                 term sheet, or other documentation



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 Row     Store                                                                                                                                 Cure
                          Debtor               Counterparty                   Description                          Other Notes
  ID       #                                                                                                                                  Amount
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                      First Amendment to University     amended by the amendment, binding
  161    5491      Claire's Boutiques, Inc.       Aronov                Mall Lease Agreement (As         term sheet, or other documentation    $0.00
                                                                               Amended)                   executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                     Eastdale Mall Lease Agreement
  162    3518      Claire's Boutiques, Inc.       Aronov                                                 term sheet, or other documentation    $0.00
                                                                             (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                       First Amendment To Lease         amended by the amendment, binding
  163    5754      Claire's Boutiques, Inc.       Aronov             Agreement For Albany Mall (As       term sheet, or other documentation    $0.00
                                                                               Amended)                   executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                              DP Management,         Sunset Plaza Shopping Center
  164    6623      Claire's Boutiques, Inc.                                                              term sheet, or other documentation   $3,009.01
                                                  LLC                    Lease (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                              DP Management,          Letter re: Lease Renewal (As
  165    6094      Claire's Boutiques, Inc.                                                              term sheet, or other documentation   $5,288.48
                                                  LLC                           Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                     Mercer Mall Fourth Amendment       amended by the amendment, binding
  166    5691      Claire's Boutiques, Inc.   Ershig Properties         to Lease Agreement (As           term sheet, or other documentation   $3,225.30
                                                                               Amended)                   executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                      Letter re: Somerset Mall Lease
  167    6131      Claire's Boutiques, Inc.   Ershig Properties                                          term sheet, or other documentation   $2,265.08
                                                                        Extension (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
  168    6055      Claire's Boutiques, Inc.   Ershig Properties      Letter re: Parkway Plaza Mall         The Debtors assume this lease as    $0.00


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 Row     Store                                                                                                                              Cure
                          Debtor               Counterparty                Description                          Other Notes
  ID       #                                                                                                                               Amount
                                                                 Request to Extend Term of Lease     amended by the amendment, binding
                                                                    One Year (As Amended)             term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                  Central Mall Lease Modification    amended by the amendment, binding
  169    5621      Claire's Boutiques, Inc.      IGP LLC          and Extension Agreement #2 (As      term sheet, or other documentation    $0.00
                                                                            Amended)                   executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                    Moreno Valley Mall Second        amended by the amendment, binding
  170    6038      Claire's Boutiques, Inc.      IGP LLC             Amendment to Lease (As           term sheet, or other documentation    $0.00
                                                                           Amended)                    executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                    The Oviedo Mall Fourth           amended by the amendment, binding
  171    6672      Claire's Boutiques, Inc.      IGP LLC         Amendment to Lease Agreement         term sheet, or other documentation    $0.00
                                                                        (As Amended)                   executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                  Bay City Mall Lease Agreement
  172    5896      Claire's Boutiques, Inc.       Lormax                                              term sheet, or other documentation    $0.00
                                                                          (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                   The Waterfront Town Center
                                                                                                     amended by the amendment, binding
                                                                       Third Extension and
  173    6934      Claire's Boutiques, Inc.   M&J Wilkow LTD                                          term sheet, or other documentation   $5,192.96
                                                                    Modification of Lease (As
                                                                                                       executed by the applicable Debtor
                                                                           Amended)
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                  Sterling       Golf Mill Shopping Center Lease
  174    6290      Claire's Boutiques, Inc.                                                           term sheet, or other documentation    $0.00
                                                Organization              (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                  Sterling          Pompano Citi Centre Lease        amended by the amendment, binding
  175    3028      Claire's Boutiques, Inc.                                                                                                 $0.00
                                                Organization        Agreement (As Amended)            term sheet, or other documentation
                                                                                                       executed by the applicable Debtor



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 Row     Store                                                                                                                               Cure
                          Debtor              Counterparty                 Description                           Other Notes
  ID       #                                                                                                                                Amount
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                      Stones River Mall First         amended by the amendment, binding
                                                 Sterling
  176    6243      Claire's Boutiques, Inc.                          Amendment to Lease (As            term sheet, or other documentation    $0.00
                                               Organization
                                                                            Amended)                    executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                    Eagle Ridge Mall Lease (As
  177    6371      Claire's Boutiques, Inc.    Tabani Group                                            term sheet, or other documentation    $0.00
                                                                            Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                     Northgate Mall Lease (As
  178    5721      Claire's Boutiques, Inc.    Tabani Group                                            term sheet, or other documentation    $0.00
                                                                            Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                 University Mall Shopping Center
  179    8668      Claire's Boutiques, Inc.     Woodbury                                               term sheet, or other documentation    $0.00
                                                                      Lease (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                   Second Amendment to Magic          amended by the amendment, binding
  180    5558      Claire's Boutiques, Inc.     Woodbury              Valley Mall Lease (As            term sheet, or other documentation   $6,245.06
                                                                            Amended)                    executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                    Northlake Mall First Lease
  181    6581      Claire's Boutiques, Inc.    ATR Corinth                                             term sheet, or other documentation   $4,820.67
                                                                    Amendment (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                  Letter Re: New River Valley Mall    amended by the amendment, binding
                                              CBL / Farallon
  182    5644      Claire's Boutiques, Inc.                       Change of Ownership Notice (As       term sheet, or other documentation   $8,123.38
                                                Capital
                                                                              Amended)                  executed by the applicable Debtor
                                                                                                                and counterparty.
                                              CBRE - Oakland         Oakland Mall Lease (As              The Debtors assume this lease as
  183    6863      Claire's Boutiques, Inc.                                                                                                 $7,849.87
                                                  Mall                     Amended)                   amended by the amendment, binding


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 Row     Store                                                                                                                               Cure
                          Debtor               Counterparty                 Description                          Other Notes
  ID       #                                                                                                                                Amount
                                                                                                       term sheet, or other documentation
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                              CBRE - Oakland       Manhattan Town Center Lease
  184    5641      Claire's Boutiques, Inc.                                                            term sheet, or other documentation    $0.00
                                                  Mall              Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                               CBRE - River        River Ridge Mall Deed of Lease
  185    6751      Claire's Boutiques, Inc.                                                            term sheet, or other documentation   $9,219.10
                                                 Ridge                Agreement (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                      Dimond Center Lease             amended by the amendment, binding
  186    3577      Claire's Boutiques, Inc.       Dimond           Amendment and Extension (As         term sheet, or other documentation    $0.00
                                                                          Amended)                      executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                  Letter Re: Termination of Dimond    amended by the amendment, binding
  187    5217      Claire's Boutiques, Inc.       Dimond           Center Anchorage Storage Lease      term sheet, or other documentation    $0.00
                                                                  & Notice to Vacate (As Amended)       executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                   Letter re: Westover Marketplace
  188    6906      Claire's Boutiques, Inc.      Inventrust                                            term sheet, or other documentation   $2,866.30
                                                                   Lease Extension (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                                                      amended by the amendment, binding
                                                                   Westfield Shoppingtown Enfield
  189    6061      Claire's Boutiques, Inc.   Keypoint Partners                                        term sheet, or other documentation   $3,993.50
                                                                        Lease (As Amended)
                                                                                                        executed by the applicable Debtor
                                                                                                                and counterparty.
                                                                                                         The Debtors assume this lease as
                                                                    Letter Re: Memorialization of     amended by the amendment, binding
  190    5385      Claire's Boutiques, Inc.     L3 Properties        Commencement Date (As             term sheet, or other documentation    $0.00
                                                                              Amended)                  executed by the applicable Debtor
                                                                                                                and counterparty.



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 Row     Store                                                                                                                                Cure
                          Debtor               Counterparty                  Description                          Other Notes
  ID       #                                                                                                                                 Amount
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      The Legends in Kansas City
  191    5351      Claire's Boutiques, Inc.     Legacy Dev.                                             term sheet, or other documentation   $8,337.49
                                                                    Lease Agreement (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                     First Amendment to Laughlin       amended by the amendment, binding
                                              Moonbeam Capital
  192    5218      Claire's Boutiques, Inc.                         (Nevada) Shopping Center Lease      term sheet, or other documentation    $0.00
                                                   Inv.
                                                                            (As Amended)                 executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                 Mountain            Eastern Hills Shopping Center
  193    3227      Claire's Boutiques, Inc.                                                             term sheet, or other documentation    $0.00
                                              Development Corp           Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                    Eastfield Mall Lease Extension     amended by the amendment, binding
                                                 Mountain
  194    6142      Claire's Boutiques, Inc.                        and Modification Agreement (As       term sheet, or other documentation    $0.00
                                              Development Corp
                                                                              Amended)                   executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                       Commencement Date
  195    3748      Claire's Boutiques, Inc.       Prestige                                              term sheet, or other documentation    $0.00
                                                                     Memorandum (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                     Bay Plaza Community Center
  196    3267      Claire's Boutiques, Inc.       Prestige                                              term sheet, or other documentation    $0.00
                                                                         Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                               Stalworth Real        Letter re: Paris Town Center
  197    6965      Claire's Boutiques, Inc.                                                             term sheet, or other documentation   $2,389.90
                                               Estate Services      Lease Extension (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                               Stalworth Real       River Hill Mall Lease Extension
  198    6096      Claire's Boutiques, Inc.                                                            amended by the amendment, binding     $1,465.07
                                               Estate Services              (As Amended)
                                                                                                        term sheet, or other documentation



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 Row     Store                                                                                                                                  Cure
                          Debtor                Counterparty                   Description                          Other Notes
  ID       #                                                                                                                                   Amount
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                      Shawnee Mall Lease Agreement
  199    5677      Claire's Boutiques, Inc.       StreetMac                                               term sheet, or other documentation    $0.00
                                                                             (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                       Stratford Square Mall Second      amended by the amendment, binding
  200    6443      Claire's Boutiques, Inc.       StreetMac              Amendment to Lease (As           term sheet, or other documentation    $0.00
                                                                                 Amended)                  executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                         Dyersburg Mall Sixth            amended by the amendment, binding
  201    6172      Claire's Boutiques, Inc.    Action Properties     Amendment to Lease Agreement         term sheet, or other documentation    $0.00
                                                                           (As Amended)                    executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                       The Mall at Simi Valley Town      amended by the amendment, binding
                                                 Alberta Dev.
  202    5399      Claire's Boutiques, Inc.                             Center Lease Agreement (As        term sheet, or other documentation    $0.00
                                                   Partners
                                                                                Amended)                   executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                     First Amendment to Eastern Shore
  203    5847      Claire's Boutiques, Inc.   Allied Development                                          term sheet, or other documentation   $3,229.34
                                                                        Centre Lease (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                     Auburn Mall Fourth Amendment
  204    6753      Claire's Boutiques, Inc.   Auburn Plaza, Inc.                                          term sheet, or other documentation    $0.00
                                                                        to Lease (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
                                                                                                            The Debtors assume this lease as
                                                                                                         amended by the amendment, binding
                                                                        Berkeley Mall Lease Second
  205    6467      Claire's Boutiques, Inc.   Berkeley Mall, LLC                                          term sheet, or other documentation    $0.00
                                                                        Amendment (As Amended)
                                                                                                           executed by the applicable Debtor
                                                                                                                   and counterparty.
  206    3041      Claire's Boutiques, Inc.   BKR Lamar Retail        Letter re: Casa Grande Premises       The Debtors assume this lease as   $7,360.34


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 Row     Store                                                                                                                                     Cure
                          Debtor                Counterparty                     Description                           Other Notes
  ID       #                                                                                                                                      Amount
                                                 Services LLC            Delivery Date (As Amended)         amended by the amendment, binding
                                                                                                             term sheet, or other documentation
                                                                                                              executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                                                            amended by the amendment, binding
                                                                         Letter re: Foothills Mall Lease
  207    6655      Claire's Boutiques, Inc.    Bourne Company                                                term sheet, or other documentation    $0.00
                                                                           Extension (As Amended)
                                                                                                              executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                         141 East Broad Street Lease        amended by the amendment, binding
  208    5236      Claire's Boutiques, Inc.           C.P.I            Agreement Third Amendment (As         term sheet, or other documentation   $6,573.68
                                                                                 Amended)                     executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                              Colliers International    Sand Creek Crossing Shopping        amended by the amendment, binding
  209    5212      Claire's Boutiques, Inc.   Asset Management,        Center Retail Lease Agreement (As     term sheet, or other documentation    $0.00
                                                        Inc                        Amended)                   executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                       Letter Re: Transfer of Ownership     amended by the amendment, binding
  210    5625      Claire's Boutiques, Inc.      Colonial CRE           of River Valley Mall Lease (As       term sheet, or other documentation    $0.00
                                                                                   Amended)                   executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                                                            amended by the amendment, binding
                                                                         Buena Park Mall Lease (As
  211    6828      Claire's Boutiques, Inc.        Coventry                                                  term sheet, or other documentation   $4,134.92
                                                                                Amended)
                                                                                                              executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                                                            amended by the amendment, binding
                                               Covington Realty           Pine Ridge Mall Lease (As
  212    5464      Claire's Boutiques, Inc.                                                                  term sheet, or other documentation   $4,419.52
                                                   Partners                       Amended)
                                                                                                              executed by the applicable Debtor
                                                                                                                      and counterparty.
                                                                                                               The Debtors assume this lease as
                                                                        Quincy Mall Shopping Center         amended by the amendment, binding
  213    5260      Claire's Boutiques, Inc.   Cullinan Properties                                                                                  $0.00
                                                                            Lease (As Amended)               term sheet, or other documentation
                                                                                                              executed by the applicable Debtor



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 Row     Store                                                                                                                                  Cure
                          Debtor                Counterparty                  Description                          Other Notes
  ID       #                                                                                                                                   Amount
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                      Clifton Park Shopping Center      amended by the amendment, binding
  214    5504      Claire's Boutiques, Inc.     DCG Dev. Co           Lease Third Amendment (As          term sheet, or other documentation     $0.00
                                                                               Amended)                   executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                     Village Square Mall Lease (As
  215    6125      Claire's Boutiques, Inc.   DCM Limited, LLC                                           term sheet, or other documentation     $0.00
                                                                               Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                     Big Apple (Broad Way)-Second
                                                                                                        amended by the amendment, binding
                                                                         Lease Modification and
  216    5492      Claire's Boutiques, Inc.        Dimucci                                               term sheet, or other documentation   $50,427.75
                                                                        Extension Agreement (As
                                                                                                          executed by the applicable Debtor
                                                                               Amended)
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                              Divaris Real Estate,   Notice of Sale - Peninsula Town
  217    3128      Claire's Boutiques, Inc.                                                              term sheet, or other documentation     $0.00
                                                      Inc.                Centre (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                     Letter re: Natomas Marketplace
  218    6815      Claire's Boutiques, Inc.   Donahue Schriber                                           term sheet, or other documentation   $3,605.73
                                                                     Lease Extension (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                     East Brook Fifth Amendment to
  219    6628      Claire's Boutiques, Inc.    Eastbrook, LLC                                            term sheet, or other documentation   $1,903.65
                                                                          Lease (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                Eastridge Mall         EastrigEastridge Mall Lease
  220    5514      Claire's Boutiques, Inc.                                                              term sheet, or other documentation   $4,810.00
                                               Acquisition LLC       Amendment No. 1 (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                       1385 Broadway Store Lease           The Debtors assume this lease as
  221    3292      Claire's Boutiques, Inc.        Feldman                                                                                    $35,744.64
                                                                       Amendment (As Amended)           amended by the amendment, binding


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 Row     Store                                                                                                                              Cure
                           Debtor               Counterparty                Description                         Other Notes
  ID       #                                                                                                                               Amount
                                                                                                      term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Letter Re: New Lease Ownership
  222    5684      Claire's Boutiques, Inc.      Finard & Co.                                         term sheet, or other documentation   $8,977.15
                                                                            (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                    Glenwood Springs Mall Lease
  223    6635      Claire's Boutiques, Inc.      Frank Woods                                          term sheet, or other documentation    $0.00
                                                                          (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                      Lawrence Kansas Third          amended by the amendment, binding
  224    6306      Claire's Boutiques, Inc.   GCB Holdings, L.C.     Amendment to Commercial          term sheet, or other documentation   $2,571.73
                                                                       Lease (As Amended)              executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Marley Station First Amendment
  225    5629      Claire's Boutiques, Inc.       GL Harris                                           term sheet, or other documentation    $0.00
                                                                       to Lease (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Hallcrest Lease Agreement (As
  226    5708      Claire's Boutiques, Inc.        Hallcrest                                          term sheet, or other documentation    $0.00
                                                                              Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                      Rio West Mall Fourth           amended by the amendment, binding
  227    6786      Claire's Boutiques, Inc.   Humboldt Rio West     Amendment and Extension of        term sheet, or other documentation    $0.00
                                                                       Lease (As Amended)              executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                  Jameson
                                                                                                     amended by the amendment, binding
                                                Commercial             Palouse Mall Lease (As
  228    5967      Claire's Boutiques, Inc.                                                           term sheet, or other documentation    $0.00
                                                  Property                   Amended)
                                                                                                       executed by the applicable Debtor
                                              Management, LLC
                                                                                                               and counterparty.



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 Row     Store                                                                                                                                 Cure
                            Debtor                Counterparty                Description                          Other Notes
  ID       #                                                                                                                                  Amount
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                      Puente Hills Mall Shopping
  229    6216       Claire's Boutiques, Inc.      Kamsang Co.                                            term sheet, or other documentation   $7,567.13
                                                                      Center Lease (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                      Roswell Mall Lease Renewal
  230    5584       Claire's Boutiques, Inc.    Lewinger Hamilton                                        term sheet, or other documentation   $1,634.87
                                                                       Agreement (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                     Aguadilla Mall Third Lease         amended by the amendment, binding
  231    6145      Claire's Puerto Rico Corp.   Luan Investments    Extension and Modification (As       term sheet, or other documentation    $0.00
                                                                              Amended)                    executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                    East Hills Shopping Center Lease
  232    5759       Claire's Boutiques, Inc.    MD Management                                            term sheet, or other documentation    $0.00
                                                                              (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                     Letter re: Meadowbrook Mall
  233    6735       Claire's Boutiques, Inc.    Meadowbrook Mall                                         term sheet, or other documentation    $0.00
                                                                    Lease Extension (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                     Second Amendment to Golden         amended by the amendment, binding
  234    5292       Claire's Boutiques, Inc.    MGHerring Group         Triangle Mall Lease (As          term sheet, or other documentation   $7,731.36
                                                                              Amended)                    executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                                                        amended by the amendment, binding
                                                                    Kahala Mall Addendum to Lease
  235    5033       Claire's Boutiques, Inc.       MMI Realty                                            term sheet, or other documentation   $8,996.59
                                                                            (As Amended)
                                                                                                          executed by the applicable Debtor
                                                                                                                  and counterparty.
                                                                                                           The Debtors assume this lease as
                                                                        Hanford Mall Lease (As
  236    6073       Claire's Boutiques, Inc.         Passco                                             amended by the amendment, binding     $6,681.50
                                                                              Amended)
                                                                                                         term sheet, or other documentation



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 Row     Store                                                                                                                                Cure
                           Debtor              Counterparty                  Description                          Other Notes
  ID       #                                                                                                                                 Amount
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Centralia Factory Outlet Center
  237    6630      Claire's Boutiques, Inc.    Prism Company                                            term sheet, or other documentation   $4,758.41
                                                                         Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                     The Marketplace of Warsaw
  238    6871      Claire's Boutiques, Inc.   RD Management                                             term sheet, or other documentation    $0.00
                                                                        Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                    Pioneer Square Shopping Center
  239    5029      Claire's Boutiques, Inc.   Robson Properties                                         term sheet, or other documentation   $1,984.90
                                                                         Lease (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                   Sawmill Square Associates Lease
  240    6756      Claire's Boutiques, Inc.     Sizeler Realty                                          term sheet, or other documentation   $2,355.08
                                                                      Agreement (As Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                                                       amended by the amendment, binding
                                                                      Tri-County Mall Lease (As
  241    6120      Claire's Boutiques, Inc.     Thor Equities                                           term sheet, or other documentation    $0.00
                                                                             Amended)
                                                                                                         executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                    Extension and Modification of      amended by the amendment, binding
  242    5929      Claire's Boutiques, Inc.        Walker           Lease for Rice Lake Cedar Mall      term sheet, or other documentation    $0.00
                                                                            (As Amended)                 executed by the applicable Debtor
                                                                                                                 and counterparty.
                                                                                                          The Debtors assume this lease as
                                                                      Flinthills Mall Thirs Lease      amended by the amendment, binding
  243    5618      Claire's Boutiques, Inc.   Weigand-Omega           Extension and Modification        term sheet, or other documentation    $0.00
                                                                      Agreement (As Amended)             executed by the applicable Debtor
                                                                                                                 and counterparty.
  244    6269      Claire's Boutiques, Inc.   Welsh Companies,       The Shoppes at Wood Ridge            The Debtors assume this lease as     $0.00


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 Row     Store                                                                                                                               Cure
                           Debtor              Counterparty                Description                          Other Notes
  ID       #                                                                                                                                Amount
                                                   LLC             Fourth Amendment to Lease         amended by the amendment, binding
                                                                    Agreement (As Amended)            term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                     The West Acres Regional         amended by the amendment, binding
                                                West Acres
  245    5146      Claire's Boutiques, Inc.                      Shopping Center Lease Agreement      term sheet, or other documentation   $14,559.09
                                               Development
                                                                          (As Amended)                 executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                              Williams Jackson   The Shops at Liberty Place Lease
  246    6502      Claire's Boutiques, Inc.                                                           term sheet, or other documentation   $11,242.26
                                                   Ewing                 (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                  Edgewater Mall Storage Space
  247    5255      Claire's Boutiques, Inc.       Wilson                                              term sheet, or other documentation   $6,129.25
                                                                 Lease Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                    The Oaks Mall Lease (As
  248    3701      Claire's Boutiques, Inc.      Macerich                                             term sheet, or other documentation   $13,667.18
                                                                          Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
  249    8261      Claire's Boutiques, Inc.      Macerich        Notice of Default (As Amended)       term sheet, or other documentation   $9,541.44
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                 Chandler Fashion Center Lease
  250    3579      Claire's Boutiques, Inc.      Macerich                                             term sheet, or other documentation   $10,436.90
                                                                        (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                  Danbury Fair Mall Lease (As        amended by the amendment, binding
  251    3578      Claire's Boutiques, Inc.      Macerich                                                                                  $9,951.05
                                                                          Amended)                    term sheet, or other documentation
                                                                                                       executed by the applicable Debtor



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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                          Other Notes
  ID       #                                                                                                                              Amount
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                 Kings Plaza Shopping Center
  252    6186      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $30,125.32
                                                                    Lease (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                  La Cumbre Plaza Lease (As
  253    6810      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation     $0.00
                                                                        Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                Letter Re: Notice of Mamagement    amended by the amendment, binding
  254    5048      Claire's Boutiques, Inc.     Macerich         Company and Landlord Notice        term sheet, or other documentation   $20,027.98
                                                                    Addresses (As Amended)           executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                               Deptford Mall Indenture of Lease
  255    3396      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $10,528.77
                                                                        (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                Third Amendment of Lease and       amended by the amendment, binding
  256    3561      Claire's Boutiques, Inc.     Macerich         Third Extension of Term (As        term sheet, or other documentation   $5,600.95
                                                                         Amended)                    executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
  257    6119      Claire's Boutiques, Inc.     Macerich        The Oaks Lease (As Amended)         term sheet, or other documentation   $33,278.33
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                  Lakewood Center Mall Lease
  258    3507      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $5,434.70
                                                                   Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                  Superstition Springs Center         The Debtors assume this lease as
  259    3438      Claire's Boutiques, Inc.     Macerich                                                                                 $3,451.88
                                                                Lease Agreement (As Amended)       amended by the amendment, binding


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 Row     Store                                                                                                                               Cure
                          Debtor              Counterparty                Description                           Other Notes
  ID       #                                                                                                                                Amount
                                                                                                      term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                 Valley Mall Deed of Lease (As
  260    8677      Claire's Boutiques, Inc.     Macerich                                              term sheet, or other documentation   $2,616.48
                                                                          Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                 Letter re: Southpark Mall Lease-    amended by the amendment, binding
  261    6495      Claire's Boutiques, Inc.     Macerich        Change in Ownership and MGMT          term sheet, or other documentation   $7,174.21
                                                                           (As Amended)                executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                     Valley Mall Lease (As
  262    5451      Claire's Boutiques, Inc.     Macerich                                              term sheet, or other documentation   $6,486.79
                                                                           Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                               Flatiron Crossing Colorado Lease
  263    8782      Claire's Boutiques, Inc.     Macerich                                              term sheet, or other documentation   $9,983.10
                                                                         (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                First Amendment of Arrowhead         amended by the amendment, binding
  264    3383      Claire's Boutiques, Inc.     Macerich        Towne Center Lease Agreement          term sheet, or other documentation   $12,109.90
                                                                        (As Amended)                   executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                 Wilton Mall at Saratoga Lease
  265    6648      Claire's Boutiques, Inc.     Macerich                                              term sheet, or other documentation   $5,893.95
                                                                        (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                   Flatiron Crossing Storage
  266    6825      Claire's Boutiques, Inc.     Macerich                                              term sheet, or other documentation   $8,730.71
                                                                   Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.



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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                          Other Notes
  ID       #                                                                                                                              Amount
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                 Washington Square Lease (As
  267    8535      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $9,796.50
                                                                         Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                               First Amendment and Extension of    amended by the amendment, binding
  268    5427      Claire's Boutiques, Inc.     Macerich           Desert Sky Mall Lease (As        term sheet, or other documentation   $8,591.21
                                                                           Amended)                  executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                West Pavilion Center Lease (As
  269    6414      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $9,617.96
                                                                          Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                   Danbury Mall Storage
  270    5505      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $15,073.93
                                                                  Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                Prime Outlets At Niagara Falls     amended by the amendment, binding
  271    6438      Claire's Boutiques, Inc.     Macerich         USA Lease Agreement (As            term sheet, or other documentation   $5,132.74
                                                                         Amended)                    executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                    Towne Mall Lease (As
  272    5477      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $5,283.37
                                                                        Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                Scottsdale Fashion Square Lease
  273    1138      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $18,522.71
                                                                   Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                   Paradise Valley Mall Third         The Debtors assume this lease as
  274    6187      Claire's Boutiques, Inc.     Macerich        Amendment of Lease Agreement       amended by the amendment, binding     $5,770.43
                                                                and Third Extension of Term (As     term sheet, or other documentation



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 Row     Store                                                                                                                             Cure
                          Debtor              Counterparty               Description                          Other Notes
  ID       #                                                                                                                              Amount
                                                                          Amended)                   executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                The Shops at Atlas Park Storage
  275    5372      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $8,215.12
                                                               License Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                  Superstition Springs Center
  276    5849      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $8,804.89
                                                                    Lease (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                   Letter re: Notice of Name       amended by the amendment, binding
  277    6382      Claire's Boutiques, Inc.     Macerich           Change Of Landlord (As           term sheet, or other documentation   $10,819.55
                                                                           Amended)                  executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                  Vintage Faire Mall Lease
  278    8107      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $22,279.80
                                                                  Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                   North Park Mall Lease
  279    6496      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $10,879.18
                                                                  Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                The Mall of Victor Valley Lease
  280    5573      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $12,720.75
                                                                        (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                Eastland Mall Lease Agreement
  281    5330      Claire's Boutiques, Inc.     Macerich                                            term sheet, or other documentation   $13,755.65
                                                                        (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
  282    6958      Claire's Boutiques, Inc.     Macerich         Valley River Center Temporary        The Debtors assume this lease as   $9,260.47


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 Row     Store                                                                                                                            Cure
                          Debtor              Counterparty               Description                         Other Notes
  ID       #                                                                                                                             Amount
                                                                 Storage Lease Agreement (As      amended by the amendment, binding
                                                                          Amended)                 term sheet, or other documentation
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                  Pacific View Ventura Lease
  283    6796      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $9,465.11
                                                                   Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                 Inland Center Mall Lease (As
  284    1873      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $7,821.40
                                                                          Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                   Flatiron Crossing Lease
  285    3014      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $11,961.14
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                SanTan Village Regional Center
  286    5765      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $11,319.61
                                                                Lease Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                   Green Acres Mall Lease
  287    6080      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $10,596.73
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                  Stonewood Center Lease
  288    6386      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $10,691.67
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                   Deptford Mall Lease (As        amended by the amendment, binding
  289    5877      Claire's Boutiques, Inc.     Macerich                                                                                $19,071.20
                                                                         Amended)                  term sheet, or other documentation
                                                                                                    executed by the applicable Debtor



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 Row     Store                                                                                                                           Cure
                          Debtor              Counterparty               Description                        Other Notes
  ID       #                                                                                                                            Amount
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Freehold Raceway Mall Lease
  290    5796      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $15,242.26
                                                                       (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 Vintage Fair Mall Lease (As
  291    5990      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $15,049.94
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Queens Center Mall Lease (As
  292    6517      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $31,978.32
                                                                        Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                  Tysons Corner Center Lease
  293    6063      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $28,217.52
                                                                   Agreement (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                Chandler Fashion Center Lease
  294    6924      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $18,634.92
                                                                  Agreement (As Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                                                 amended by the amendment, binding
                                                                 Fashion Fair Mall Lease (As
  295    6025      Claire's Boutiques, Inc.     Macerich                                          term sheet, or other documentation   $18,339.24
                                                                         Amended)
                                                                                                   executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                                                    The Debtors assume this lease as
                                                                 Letter re: Landlord's Notice    amended by the amendment, binding
  296    6391      Claire's Boutiques, Inc.     Macerich        Address and other Changes (As     term sheet, or other documentation   $18,348.29
                                                                          Amended)                 executed by the applicable Debtor
                                                                                                           and counterparty.
                                                                Arrowhead Towne Center Lease        The Debtors assume this lease as
  297    6113      Claire's Boutiques, Inc.     Macerich                                                                               $18,852.17
                                                                  Agreement (As Amended)         amended by the amendment, binding


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 Row     Store                                                                                                                            Cure
                           Debtor             Counterparty               Description                         Other Notes
  ID       #                                                                                                                             Amount
                                                                                                   term sheet, or other documentation
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                  Los Cerritos Center Lease
  298    3443      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $15,595.09
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                   South Plains Mall Lease
  299    5484      Claire's Boutiques, Inc.     Macerich                                           term sheet, or other documentation   $9,941.07
                                                                  Agreement (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                  Gateway Station Shopping
  300    5287      Claire's Boutiques, Inc.      Kimco                                             term sheet, or other documentation     $0.00
                                                                 Center Lease (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                Copperwood Village Shopping
  301    5117      Claire's Boutiques, Inc.      Kimco                                             term sheet, or other documentation     $0.00
                                                                 Center Lease (As Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                                                  amended by the amendment, binding
                                                                   Factoria Mall Lease (As
  302    5622      Claire's Boutiques, Inc.      Kimco                                             term sheet, or other documentation     $0.00
                                                                          Amended)
                                                                                                    executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                  Announcement to Tenant of       amended by the amendment, binding
  303    5812      Claire's Boutiques, Inc.      Kimco           assignment of new owner (As       term sheet, or other documentation     $0.00
                                                                         Amended)                   executed by the applicable Debtor
                                                                                                            and counterparty.
                                                                                                     The Debtors assume this lease as
                                                                Letter Re: Fairway Marketplace    amended by the amendment, binding
  304    5031      Claire's Boutiques, Inc.      Kimco          Change in Sales Report Address     term sheet, or other documentation     $0.00
                                                                        (As Amended)                executed by the applicable Debtor
                                                                                                            and counterparty.



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 Row     Store                                                                                                                            Cure
                           Debtor             Counterparty               Description                          Other Notes
  ID       #                                                                                                                             Amount
                                                                                                      The Debtors assume this lease as
                                                                Bridgehampton Commons First        amended by the amendment, binding
  305    6171      Claire's Boutiques, Inc.      Kimco             Amendment to Lease (As           term sheet, or other documentation    $0.00
                                                                         Amended)                    executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                  Cypress Towne Center First       amended by the amendment, binding
  306    6289      Claire's Boutiques, Inc.      Kimco             Amendment to Lease (As           term sheet, or other documentation    $0.00
                                                                          Amended)                   executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                 Fourth Amendment to Conroe        amended by the amendment, binding
  307    3360      Claire's Boutiques, Inc.      Kimco           Marketplace Shopping Center        term sheet, or other documentation    $0.00
                                                                     Lease (As Amended)              executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                               Tustin Legasy Third Amendment       amended by the amendment, binding
  308    5297      Claire's Boutiques, Inc.      Vestar            to Lease Agreement (As           term sheet, or other documentation    $0.00
                                                                          Amended)                   executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                  Desert Ridge Marketplace         amended by the amendment, binding
  309    6926      Claire's Boutiques, Inc.      Vestar           Sublease Agreement (As            term sheet, or other documentation    $0.00
                                                                         Amended)                    executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                   Tempe Marketplace Lease
  310    6268      Claire's Boutiques, Inc.      Vestar                                             term sheet, or other documentation    $0.00
                                                                   Agreement (As Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                                                                      The Debtors assume this lease as
                                                                                                   amended by the amendment, binding
                                                                Orchard Town Center Lease (As
  311    6406      Claire's Boutiques, Inc.      Vestar                                             term sheet, or other documentation    $0.00
                                                                          Amended)
                                                                                                     executed by the applicable Debtor
                                                                                                             and counterparty.
                                                               Letter Re: Change of Address for       The Debtors assume this lease as
  312    5783      Claire's Boutiques, Inc.    Woodbury        Cole/Waterside Chesterfield MI,     amended by the amendment, binding      $0.00
                                                                      LLC (As Amended)              term sheet, or other documentation



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 Row     Store                                                                                                                              Cure
                           Debtor              Counterparty                 Description                         Other Notes
  ID       #                                                                                                                               Amount
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                   Southland Mall Shopping Center    amended by the amendment, binding
  313    5538      Claire's Boutiques, Inc.      Morguard            - Third Lease Modification       term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)            executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                   Southland Mall Shopping Center    amended by the amendment, binding
  314    8291      Claire's Boutiques, Inc.      Morguard             Eight Lease Modification        term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)            executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                     First Amendment to Kendall      amended by the amendment, binding
  315    5996      Claire's Boutiques, Inc.      Edgemark            Marketplace (IL) Lease (As       term sheet, or other documentation    $0.00
                                                                             Amended)                  executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                     Outlets of Mississippi Lease
  316    5390      Claire's Boutiques, Inc.   FFO RE Advisors                                         term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                     Harlem Irving Plaza Lease
  317    3411      Claire's Boutiques, Inc.    Harlem Irving                                          term sheet, or other documentation    $0.00
                                                                     Amendment (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                      West Oaks Mall Lease
  318    6019      Claire's Boutiques, Inc.    Indigo Centers                                         term sheet, or other documentation    $0.00
                                                                     Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                 Morrison             Bradley Square Mall Lease
  319    5890      Claire's Boutiques, Inc.                                                           term sheet, or other documentation    $0.00
                                                Companies             Agreement (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
  320    5251      Claire's Boutiques, Inc.        TRC             First Amendment to The Village       The Debtors assume this lease as   $6,947.00


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 Row     Store                                                                                                                              Cure
                            Debtor              Counterparty                  Description                       Other Notes
  ID       #                                                                                                                               Amount
                                                                     at Orange Lease (As Amended)    amended by the amendment, binding
                                                                                                      term sheet, or other documentation
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.
                                                                                                        The Debtors assume this lease as
                                                                                                     amended by the amendment, binding
                                                                       Letter re: TuTu Park Lease
  321    6160      Claire's Puerto Rico Corp.   Tu Tu Park Ltd.                                       term sheet, or other documentation   $5,423.51
                                                                        Extension (As Amended)
                                                                                                       executed by the applicable Debtor
                                                                                                               and counterparty.




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                                     Exhibit D-1
               Schedule of Unexpired Leases to Be Assumed Subject to Amendment

       Certain documents, or portions thereof, contained in this Exhibit D-1 and the Plan
Supplement remain subject to continuing negotiations among the Debtors and interested parties
with respect thereto. The Debtors reserve all rights to amend, revise, or supplement the Plan
Supplement, this Exhibit D-1, and any of the documents and designations contained herein, at
any time before the Effective Date of the Plan, or any such other date as may be provided for by
the Plan or by order of the Bankruptcy Court.




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter re: Change of Landlord's    To the extent the Debtors are unable to
 1      6622       Claire's Boutiques, Inc.      GGP                                                                                         $15,038.50
                                                              Notice Address (As Amended)        agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Prince Kuhio Plaza Shopping        To the extent the Debtors are unable to
 2      8205       Claire's Boutiques, Inc.      GGP                                                                                         $4,296.02
                                                              Center Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Neshaminy Mall Lease (As          To the extent the Debtors are unable to
 3      6030       Claire's Boutiques, Inc.      GGP                                                                                         $12,277.10
                                                                     Amended)                    agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                 Extension and Third
                                                                                                intend to assume this lease as amended.
 4      3302       Claire's Boutiques, Inc.      GGP            Amendment of Lease (As                                                       $8,880.08
                                                                                                 To the extent the Debtors are unable to
                                                                     Amended)
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               The Parks at Arlington Lease
                                                                                               To the extent the Debtors are unable to
 5      3310       Claire's Boutiques, Inc.      GGP             License Agreement (As                                                     $12,601.22
                                                                                               agree to satisfactory amendments, they
                                                                       Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Oakbrook Center Lease (As       To the extent the Debtors are unable to
 6      3251       Claire's Boutiques, Inc.      GGP                                                                                       $12,916.59
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Storage License Agreement For
                                                                                               To the extent the Debtors are unable to
 7      5729       Claire's Boutiques, Inc.      GGP           Mall At Boise Towne Square                                                  $13,927.03
                                                                                               agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                              Augusta Mall Lease Agreement     satisfactory to the Debtors, the Debtors
 8      6140       Claire's Boutiques, Inc.      GGP                                                                                       $16,449.01
                                                                     (As Amended)             intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Northbrook Court Lease (As     To the extent the Debtors are unable to
 9      5198       Claire's Boutiques, Inc.      GGP                                                                                        $0.00
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Valley Plaza Mall Lease (As    To the extent the Debtors are unable to
 10     8100       Claire's Boutiques, Inc.      GGP                                                                                      $12,460.37
                                                                        Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Hulen Mall Lease Agreement      To the extent the Debtors are unable to
 11     6013       Claire's Boutiques, Inc.      GGP                                                                                      $8,104.37
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                              Willowbrook Mall Lease (As       amendments and other documentation
 12     3485       Claire's Boutiques, Inc.      GGP                                                                                      $21,795.49
                                                                      Amended)                satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter re; Change of Landlord's    To the extent the Debtors are unable to
 13     3622       Claire's Boutiques, Inc.      GGP                                                                                         $12,697.33
                                                              Notice Address (As Amended)        agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               White Marsh Mall Lease (As        To the extent the Debtors are unable to
 14     3550       Claire's Boutiques, Inc.      GGP                                                                                         $9,474.30
                                                                      Amended)                   agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Lease Agreement For Valley
                                                                                                 To the extent the Debtors are unable to
 15     5728       Claire's Boutiques, Inc.      GGP          Plaza Mall Bakersfield,CA (As                                                  $9,438.44
                                                                                                 agree to satisfactory amendments, they
                                                                       Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                Staten Island Mall Phase II      Upon the successful execution of lease
 16     6003       Claire's Boutiques, Inc.      GGP                                                                                         $23,422.00
                                                              Extension and First Amendment       amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                 of Lease (As Amended)        satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Apache Mall Extension and
                                                                                              To the extent the Debtors are unable to
 17     6016       Claire's Boutiques, Inc.      GGP          First Amendment of Lease (As                                                $9,655.85
                                                                                              agree to satisfactory amendments, they
                                                                       Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               River Hills Mall Lease (As     To the extent the Debtors are unable to
 18     5939       Claire's Boutiques, Inc.      GGP                                                                                      $10,644.31
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Baybrook Mall Lease (As       To the extent the Debtors are unable to
 19     3211       Claire's Boutiques, Inc.      GGP                                                                                      $14,232.43
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                Clackamas Town Center         intend to assume this lease as amended.
                                                 GGP              Extension and First          To the extent the Debtors are unable to
 20     8530       Claire's Boutiques, Inc.                                                                                                $12,811.16
                                                                Amendment of Lease (As         agree to satisfactory amendments, they
                                                                      Amended)                reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Fox River Mall Lease (As       To the extent the Debtors are unable to
 21     3417       Claire's Boutiques, Inc.      GGP                                                                                       $12,555.77
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Willowbrook Mall Lease (As       To the extent the Debtors are unable to
 22     3555       Claire's Boutiques, Inc.      GGP                                                                                       $17,432.56
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                              Coronado Center Extension and
                                                                                              intend to assume this lease as amended.
 23     8441       Claire's Boutiques, Inc.      GGP          Fifth Amendment of Lease (As                                                 $9,860.91
                                                                                               To the extent the Debtors are unable to
                                                                       Amended)
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Westlake Center Lease (As      To the extent the Debtors are unable to
 24     3273       Claire's Boutiques, Inc.      GGP                                                                                      $6,500.76
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Jordan Creek Town Center       To the extent the Debtors are unable to
 25     3584       Claire's Boutiques, Inc.      GGP                                                                                      $11,441.87
                                                                  Lease (As Amended)          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               The Mall in Columbia Lease     To the extent the Debtors are unable to
 26     3625       Claire's Boutiques, Inc.      GGP                                                                                      $12,882.41
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                Christiana Mall Lease (As     satisfactory to the Debtors, the Debtors
 27     8145       Claire's Boutiques, Inc.      GGP                                                                                      $18,588.33
                                                                        Amended)             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Lease for Otay Ranch Town        To the extent the Debtors are unable to
 28     5793       Claire's Boutiques, Inc.      GGP                                                                                        $10,910.88
                                                                 Center (As Amended)            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                              Paramus Park Shopping Center     intend to assume this lease as amended.
                                                                   Extension and Third          To the extent the Debtors are unable to
 29     6350       Claire's Boutiques, Inc.      GGP                                                                                        $21,666.68
                                                                Amendment of Lease (As          agree to satisfactory amendments, they
                                                                       Amended)                reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                    Letter re: Corporate
                                                                                                To the extent the Debtors are unable to
 30     6260       Claire's Boutiques, Inc.      GGP           restructuring associated with                                                $10,631.31
                                                                                                agree to satisfactory amendments, they
                                                                refinancing (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                              Prince Kuhio Plaza Lease (As       amendments and other documentation
 31     6465       Claire's Boutiques, Inc.      GGP                                                                                        $7,295.41
                                                                       Amended)                 satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty            Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                  Letter Re: Change of
                                                                                                To the extent the Debtors are unable to
 32     5034       Claire's Boutiques, Inc.      GGP          Landlord's Notice Address (As                                                 $55,704.40
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Oak View Mall Lease (As         To the extent the Debtors are unable to
 33     5970       Claire's Boutiques, Inc.      GGP                                                                                        $14,608.50
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Tucson Mall Lease (As          To the extent the Debtors are unable to
 34     5418       Claire's Boutiques, Inc.      GGP                                                                                        $10,964.85
                                                                      Amended)                  agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                              Notice of change of landlord's    Upon the successful execution of lease
 35     3433       Claire's Boutiques, Inc.      GGP                                                                                        $12,181.07
                                                              notice address (As Amended)        amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Clackamas Town Center
                                                                                                To the extent the Debtors are unable to
 36     6808       Claire's Boutiques, Inc.      GGP          Storage License Agreement (As                                                 $9,868.34
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Letter re: Change of Ownership    To the extent the Debtors are unable to
 37     6299       Claire's Boutiques, Inc.      GGP                                                                                        $21,947.18
                                                                       (As Amended)             agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                              Alderwood Mall Amendment,        intend to assume this lease as amended.
                                                              Assignment, Acceptance and        To the extent the Debtors are unable to
 38     6148       Claire's Boutiques, Inc.      GGP                                                                                        $15,574.47
                                                               Consent to Assignment (As        agree to satisfactory amendments, they
                                                                      Amended)                 reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Staten Island Mall Lease (As    To the extent the Debtors are unable to
 39     3559       Claire's Boutiques, Inc.      GGP                                                                                       $15,487.04
                                                                         Amended)              agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Greenwood Park Mall Lease
                                                 Simon                                         To the extent the Debtors are unable to
 40     8264       Claire's Boutiques, Inc.                         Agreement (As                                                          $7,333.73
                                                                                               agree to satisfactory amendments, they
                                                                      Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Ross Park Mall Lease (As       To the extent the Debtors are unable to
 41     3288       Claire's Boutiques, Inc.      Simon                                                                                     $13,439.92
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                              Pheasant Lane Mall Lease (As    intend to assume this lease as amended.
 42     3771       Claire's Boutiques, Inc.      Simon                                                                                     $15,843.30
                                                                       Amended)                To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty           Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               South Shore Plaza Lease       To the extent the Debtors are unable to
 43     8313       Claire's Boutiques, Inc.      Simon                                                                                   $14,802.37
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Tippecanoe Mall Lease (As     To the extent the Debtors are unable to
 44     3602       Claire's Boutiques, Inc.      Simon                                                                                   $4,691.15
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Smith Haven Mall Lease (As     To the extent the Debtors are unable to
 45     8480       Claire's Boutiques, Inc.      Simon                                                                                   $10,510.33
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                Lakeline Mall Lease (As      satisfactory to the Debtors, the Debtors
 46     3377       Claire's Boutiques, Inc.      Simon                                                                                    $180.77
                                                                       Amended)             intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Letter re: Lehigh Valley Mall
                                                 Simon                                         To the extent the Debtors are unable to
 47     8537       Claire's Boutiques, Inc.                           Storage Lease                                                        $9,401.08
                                                                                               agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Battlefield Mall Lease (As      To the extent the Debtors are unable to
 48     8380       Claire's Boutiques, Inc.      Simon                                                                                     $7,710.44
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                  Briarwood Lease (As          To the extent the Debtors are unable to
 49     3421       Claire's Boutiques, Inc.      Simon                                                                                     $9,969.28
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                               Galleria at Wolfchase Lease      amendments and other documentation
 50     3345       Claire's Boutiques, Inc.      Simon                                                                                     $19,614.94
                                                                      (As Amended)             satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Tippecanoe Mall Lease        To the extent the Debtors are unable to
 51     5176       Claire's Boutiques, Inc.      Simon                                                                                   $8,026.89
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Santa Rosa Plaza Lease       To the extent the Debtors are unable to
 52     6132       Claire's Boutiques, Inc.      Simon                                                                                   $10,341.85
                                                                    (As Amended)             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Phesant Lane Mall Lease      To the extent the Debtors are unable to
 53     5871       Claire's Boutiques, Inc.      Simon                                                                                   $26,737.78
                                                                    (As Amended)             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                Towne East Square Lease      Upon the successful execution of lease
 54     3525       Claire's Boutiques, Inc.      Simon                                                                                   $10,951.84
                                                                    (As Amended)              amendments and other documentation




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty           Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                The Avenues Mall Lease      To the extent the Debtors are unable to
 55     3596       Claire's Boutiques, Inc.      Simon                                                                                  $5,991.32
                                                                    (As Amended)            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                White Oaks Mall Lease       To the extent the Debtors are unable to
 56     5235       Claire's Boutiques, Inc.      Simon                                                                                  $10,742.56
                                                               Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                   Dover Mall Lease         To the extent the Debtors are unable to
 57     5511       Claire's Boutiques, Inc.      Simon                                                                                  $11,588.05
                                                                    (As Amended)            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               The Mall of New Hampshire     To the extent the Debtors are unable to
 58     1106       Claire's Boutiques, Inc.      Simon                                                                                   $11,795.32
                                                                  Lease (As Amended)         agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Liberty Tree Mall Lease     To the extent the Debtors are unable to
 59     5682       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Solomon Pond Mall Lease (As    To the extent the Debtors are unable to
 60     6380       Claire's Boutiques, Inc.      Simon                                                                                   $10,298.85
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                              Anchorage Fifth Avenue Mall   intend to assume this lease as amended.
 61     5115       Claire's Boutiques, Inc.      Simon                                                                                   $17,016.00
                                                                 Lease (As Amended)          To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty           Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Livingston Mall Lease       To the extent the Debtors are unable to
 62     6373       Claire's Boutiques, Inc.      Simon                                                                                   $13,870.58
                                                                     (As Amended)            agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Montgomery Mall Lease         To the extent the Debtors are unable to
 63     5241       Claire's Boutiques, Inc.      Simon                                                                                   $10,128.15
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Prien Lake Mall Lease       To the extent the Debtors are unable to
 64     6403       Claire's Boutiques, Inc.      Simon                                                                                   $7,987.46
                                                                     (As Amended)            agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                Cielo Vista Mall Lease       satisfactory to the Debtors, the Debtors
 65     3394       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                    (As Amended)            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               The Falls Shopping Center
                                                                                              To the extent the Debtors are unable to
 66     5054       Claire's Boutiques, Inc.      Simon             Lease Agreement                                                        $16,141.17
                                                                                              agree to satisfactory amendments, they
                                                                    (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Quaker Bridge Mall Lease       To the extent the Debtors are unable to
 67     6107       Claire's Boutiques, Inc.      Simon                                                                                    $15,286.69
                                                                   (As Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Lease For the Avenues Mall,
                                                                                              To the extent the Debtors are unable to
 68     5813       Claire's Boutiques, Inc.      Simon            Jacksonville, Florida                                                   $13,395.19
                                                                                              agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                Miller Hill Mall Lease         amendments and other documentation
 69     5650       Claire's Boutiques, Inc.      Simon                                                                                    $8,373.11
                                                               Agreement (As Amended)         satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Lehigh Valley Mall Lease      To the extent the Debtors are unable to
 70     5961       Claire's Boutiques, Inc.      Simon                                                                                    $14,133.21
                                                                     (As Amended)             agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Southridge Mall Lease        To the extent the Debtors are unable to
 71     5158       Claire's Boutiques, Inc.      Simon                                                                                    $14,415.95
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                St. Charles Towne Center      To the extent the Debtors are unable to
 72     5795       Claire's Boutiques, Inc.      Simon                                                                                    $14,368.98
                                                                  Lease (As Amended)          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                              Lenox Square Shopping Center    Upon the successful execution of lease
 73     3242       Claire's Boutiques, Inc.      Simon                                                                                    $18,667.71
                                                                  Lease (As Amended)           amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Rockaway Townsquare Lease       To the extent the Debtors are unable to
 74     5243       Claire's Boutiques, Inc.      Simon                                                                                    $22,233.26
                                                               Agreement (As Amended)         agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Treasure Coast Square Lease    To the extent the Debtors are unable to
 75     1814       Claire's Boutiques, Inc.      Simon                                                                                    $12,237.36
                                                                     (As Amended)             agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Wolfchase Galleria Lease      To the extent the Debtors are unable to
 76     6577       Claire's Boutiques, Inc.      Simon                                                                                    $17,031.09
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Broadway Square Mall Lease      To the extent the Debtors are unable to
 77     5694       Claire's Boutiques, Inc.      Simon                                                                                      $0.00
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Lease Agreement for Newport
                                                                                              To the extent the Debtors are unable to
 78     5727       Claire's Boutiques, Inc.      Simon          Center City of Jersey City                                                $15,828.33
                                                                                              agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Hamilton Town Center Lease      To the extent the Debtors are unable to
 79     6694       Claire's Boutiques, Inc.      Simon                                                                                    $8,046.52
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                The Town Center Lease        intend to assume this lease as amended.
 80     6079       Claire's Boutiques, Inc.      Simon                                                                                    $24,375.09
                                                               Agreement (As Amended)         To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                   Florida Mall Lease          To the extent the Debtors are unable to
 81     5527       Claire's Boutiques, Inc.      Simon                                                                                     $16,987.21
                                                                     (As Amended)              agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              The Shops at Montebello Lease    To the extent the Debtors are unable to
 82     5609       Claire's Boutiques, Inc.      Simon                                                                                     $15,469.20
                                                                     (As Amended)              agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Del Amo Fashion Center Lease     To the extent the Debtors are unable to
 83     5588       Claire's Boutiques, Inc.      Simon                                                                                     $16,931.39
                                                                Agreement (As Amended)         agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                              South Shore Plaza Temporary
                                                                                               satisfactory to the Debtors, the Debtors
 84     3262       Claire's Boutiques, Inc.      Simon        Tenant Lease Agreement (As                                                   $20,477.01
                                                                                              intend to assume this lease as amended.
                                                                       Amended)
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Livingston Mall Lease
                                                                                             To the extent the Debtors are unable to
 85     3726       Claire's Boutiques, Inc.      Simon           Amendment No. 1 (As                                                     $15,611.30
                                                                                             agree to satisfactory amendments, they
                                                                       Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Stoneridge Shopping Center    To the extent the Debtors are unable to
 86     3305       Claire's Boutiques, Inc.      Simon                                                                                   $9,601.49
                                                                  Lease (As Amended)         agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                   Ingram Park Mall         intend to assume this lease as amended.
                                                                  Memorialization of         To the extent the Debtors are unable to
 87     8652       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                Commencement Date (As        agree to satisfactory amendments, they
                                                                      Amended)              reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                 Letter Re: Crystal Mall     Upon the successful execution of lease
                                                                  Memorialization of          amendments and other documentation
 88     3766       Claire's Boutiques, Inc.      Simon                                                                                   $10,190.35
                                                                Commencement Date (As        satisfactory to the Debtors, the Debtors
                                                                        Amended)            intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Phipps Plaza Lease (As       To the extent the Debtors are unable to
 89     5412       Claire's Boutiques, Inc.      Simon                                                                                    $15,830.25
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Menlo Park Mall Lease (As      To the extent the Debtors are unable to
 90     3770       Claire's Boutiques, Inc.      Simon                                                                                    $19,687.97
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Mall of Georgia Lease (As      To the extent the Debtors are unable to
 91     3508       Claire's Boutiques, Inc.      Simon                                                                                    $12,940.32
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                              Letter Re: Ocean County Mall    Upon the successful execution of lease
 92     3776       Claire's Boutiques, Inc.      Simon                                                                                    $14,405.93
                                                                Memorialization of Lease       amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                Commencement Date (As         satisfactory to the Debtors, the Debtors
                                                                     Amended)                intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Letter re: West Town Mall     To the extent the Debtors are unable to
 93     8607       Claire's Boutiques, Inc.      Simon                                                                                    $8,299.18
                                                              Lease Extension (As Amended)    agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Town Center at Cobb Lease      To the extent the Debtors are unable to
 94     6347       Claire's Boutiques, Inc.      Simon                                                                                    $12,604.82
                                                                    (As Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Newport Centre Lease (As       To the extent the Debtors are unable to
 95     3723       Claire's Boutiques, Inc.      Simon                                                                                    $16,929.64
                                                                     Amended)                 agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Rockaway Townsquare Lease         To the extent the Debtors are unable to
 96     3728       Claire's Boutiques, Inc.      Simon                                                                                      $16,775.42
                                                                    (As Amended)                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Penn Square Mall Lease (As       To the extent the Debtors are unable to
 97     3790       Claire's Boutiques, Inc.      Simon                                                                                      $13,703.52
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Southdale Center Storage Lease    To the extent the Debtors are unable to
 98     5909       Claire's Boutiques, Inc.      Simon                                                                                      $15,567.57
                                                                Agreement (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                 LaPlaza Mall Lease (As        intend to assume this lease as amended.
 99     8639       Claire's Boutiques, Inc.      Simon                                                                                        $0.00
                                                                       Amended)                 To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Tacoma Mall Lease (As        To the extent the Debtors are unable to
100     3725       Claire's Boutiques, Inc.      Simon                                                                                    $15,347.91
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Tuttle Crossing Lease   (As     To the extent the Debtors are unable to
101     3724       Claire's Boutiques, Inc.      Simon                                                                                    $11,535.57
                                                                        Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Empire Mall First Lease       To the extent the Debtors are unable to
102     3378       Claire's Boutiques, Inc.      Simon                                                                                    $11,901.58
                                                               Amendment (As Amended)         agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                              The Mall at Rockingham Park     satisfactory to the Debtors, the Debtors
103     3387       Claire's Boutiques, Inc.      Simon                                                                                      $0.00
                                                                  Lease (As Amended)         intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Cielo Vista Mall Lease      To the extent the Debtors are unable to
104     8629       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Emerald Square Mall Lease     To the extent the Debtors are unable to
105     8314       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Crystal Mall Lease (As      To the extent the Debtors are unable to
106     6798       Claire's Boutiques, Inc.      Simon                                                                                   $10,016.89
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                               The Mall of New Hampshire      amendments and other documentation
107     8420       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                  Lease (As Amended)         satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty           Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Cordova Mall Lease (As      To the extent the Debtors are unable to
108     3645       Claire's Boutiques, Inc.      Simon                                                                                  $10,299.23
                                                                      Amended)              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Auburn Mall Lease (As       To the extent the Debtors are unable to
109     3311       Claire's Boutiques, Inc.      Simon                                                                                  $13,565.48
                                                                     Amended)               agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                              Broadway Square Mall Lease    To the extent the Debtors are unable to
110     8624       Claire's Boutiques, Inc.      Simon                                                                                    $0.00
                                                                    (As Amended)            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                Haywood Mall Lease (As      Upon the successful execution of lease
111     8595       Claire's Boutiques, Inc.      Simon                                                                                  $11,307.43
                                                                     Amended)                amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Cape Cod Mall Lease (As         To the extent the Debtors are unable to
112     6504       Claire's Boutiques, Inc.      Simon                                                                                      $10,575.40
                                                                      Amended)                  agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
113     6787       Claire's Boutiques, Inc.      Simon        Pier Park Lease (As Amended)                                                  $8,720.72
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              University Park Mall Lease (As    To the extent the Debtors are unable to
114     3536       Claire's Boutiques, Inc.      Simon                                                                                        $0.00
                                                                        Amended)                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty           Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Emerald Square Temporary
                                                                                             To the extent the Debtors are unable to
115     6043       Claire's Boutiques, Inc.      Simon        Storage Lease Agreement (As                                                $14,174.39
                                                                                             agree to satisfactory amendments, they
                                                                       Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Florida Mall First Lease     To the extent the Debtors are unable to
116     6987       Claire's Boutiques, Inc.      Simon                                                                                   $17,497.75
                                                               Amendment (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Briarwood Lease (As         To the extent the Debtors are unable to
117     6273       Claire's Boutiques, Inc.      Simon                                                                                   $11,817.98
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                              Lease Agreement For LaPlaza   intend to assume this lease as amended.
118     5401       Claire's Boutiques, Inc.      Simon                                                                                     $0.00
                                                                  Mall (As Amended)          To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Fashion Valley Mall Lease     To the extent the Debtors are unable to
119     6757       Claire's Boutiques, Inc.      Simon                                                                                   $14,295.07
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Towne East Square Lease      To the extent the Debtors are unable to
120     5240       Claire's Boutiques, Inc.      Simon                                                                                   $11,820.13
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Mall at Rockingham Storage
                                                                                             To the extent the Debtors are unable to
121     5954       Claire's Boutiques, Inc.      Simon           Lease Agreement (As                                                     $15,748.78
                                                                                             agree to satisfactory amendments, they
                                                                        Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                               Westchester Mall Lease (As    satisfactory to the Debtors, the Debtors
122     6905       Claire's Boutiques, Inc.      Simon                                                                                   $19,266.39
                                                                      Amended)              intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Northgate Mall Temporary
                                                                                              To the extent the Debtors are unable to
123     6147       Claire's Boutiques, Inc.      Simon        Storage Lease Agreement (As                                                 $19,713.90
                                                                                              agree to satisfactory amendments, they
                                                                       Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Fashion Centre at Pentagon
                                                                                              To the extent the Debtors are unable to
124     6537       Claire's Boutiques, Inc.      Simon               City Lease (As                                                       $22,918.46
                                                                                              agree to satisfactory amendments, they
                                                                       Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Penn Square Mall Lease (As     To the extent the Debtors are unable to
125     1825       Claire's Boutiques, Inc.      Simon                                                                                    $13,333.93
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                              Mall at Northshore Lease (As     amendments and other documentation
126     6603       Claire's Boutiques, Inc.      Simon                                                                                    $15,487.11
                                                                       Amended)               satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Tyrone Square Lease (As        To the extent the Debtors are unable to
127     3595       Claire's Boutiques, Inc.      Simon                                                                                     $7,509.74
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Bay Park Square Storage Lease    To the extent the Debtors are unable to
128     5301       Claire's Boutiques, Inc.      Simon                                                                                     $12,037.14
                                                                     (As Amended)              agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               The Shops at Mission Viejo
                                                                                               To the extent the Debtors are unable to
129     6146       Claire's Boutiques, Inc.      Simon                   Lease                                                             $12,706.29
                                                                                               agree to satisfactory amendments, they
                                                               Agreement (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                Mall of Georgia Lease (As      Upon the successful execution of lease
130     6790       Claire's Boutiques, Inc.      Simon                                                                                     $13,131.53
                                                                        Amended)                amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Barton Creek Square Lease (As    To the extent the Debtors are unable to
131     1973       Claire's Boutiques, Inc.      Simon                                                                                      $0.00
                                                                        Amended)               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Columbia Mall Lease (As        To the extent the Debtors are unable to
132     3739       Claire's Boutiques, Inc.      Simon                                                                                     $8,680.75
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 College Mall Lease (As        To the extent the Debtors are unable to
133     5319       Claire's Boutiques, Inc.      Simon                                                                                     $9,112.33
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Southridge Mall Lease (As       To the extent the Debtors are unable to
134     8722       Claire's Boutiques, Inc.      Simon                                                                                      $4,769.14
                                                                        Amended)                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 University Park Mall (As       To the extent the Debtors are unable to
135     5245       Claire's Boutiques, Inc.      Simon                                                                                      $11,454.73
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Haywood Mall Lease (As          To the extent the Debtors are unable to
136     3539       Claire's Boutiques, Inc.      Simon                                                                                      $16,242.40
                                                                     Amended)                   agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                              Roosevelt Field Mall Lease (As   intend to assume this lease as amended.
137     6201       Claire's Boutiques, Inc.      Simon                                                                                      $49,434.98
                                                                        Amended)                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Woodland Hills Mall Lease (As    To the extent the Debtors are unable to
138     3278       Claire's Boutiques, Inc.      Simon                                                                                     $11,941.73
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Southgate Mall Lease          To the extent the Debtors are unable to
139     3661       Claire's Boutiques, Inc.      WPG                                                                                       $2,335.17
                                                                Agreement (As Amended)         agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Southgate Mall Associates
                                                                                               To the extent the Debtors are unable to
140     5750       Claire's Boutiques, Inc.      WPG                Lease Agreement                                                        $6,125.81
                                                                                               agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                 Orange Park Mall Lease        satisfactory to the Debtors, the Debtors
141     3565       Claire's Boutiques, Inc.      WPG                                                                                       $8,224.13
                                                                Agreement (As Amended)        intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
142     8206       Claire's Boutiques, Inc.      WPG                 (As Amended)                                                        $6,505.92
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Maplewood Mall Temporary
                                                                                             To the extent the Debtors are unable to
143     8365       Claire's Boutiques, Inc.      WPG             Lease Agreement (As                                                     $5,168.76
                                                                                             agree to satisfactory amendments, they
                                                                      Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Towne West Square Lease (As    To the extent the Debtors are unable to
144     3528       Claire's Boutiques, Inc.      WPG                                                                                      $0.00
                                                                     Amended)                agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                              Sunland Park Mall Lease (As     amendments and other documentation
145     5743       Claire's Boutiques, Inc.      WPG                                                                                     $5,104.26
                                                                      Amended)               satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Rolling Oaks Mall Lease (As    To the extent the Debtors are unable to
146     3534       Claire's Boutiques, Inc.      WPG                                                                                     $10,618.09
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Dayton Mall Lease
                                                                                             To the extent the Debtors are unable to
147     8495       Claire's Boutiques, Inc.      WPG            Modification Agreement                                                   $5,737.00
                                                                                             agree to satisfactory amendments, they
                                                                 No. 2 (As Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Westminster Mall Lease (As    To the extent the Debtors are unable to
148     3668       Claire's Boutiques, Inc.      WPG                                                                                     $8,274.83
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                               Westminster Mall Lease (As    Upon the successful execution of lease
149     6393       Claire's Boutiques, Inc.      WPG                                                                                     $8,469.26
                                                                      Amended)                amendments and other documentation




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty           Description                          Other Notes
 ID      #                                                                                                                               Amount
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                West Ridge Mall Lease        To the extent the Debtors are unable to
150     8280       Claire's Boutiques, Inc.      WPG                                                                                     $8,315.63
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Edison Mall Lease (As       To the extent the Debtors are unable to
151     8169       Claire's Boutiques, Inc.      WPG                                                                                     $6,822.72
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 West Ridge Mall (As         To the extent the Debtors are unable to
152     5702       Claire's Boutiques, Inc.      WPG                                                                                     $6,378.21
                                                                     Amended)                agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Chautauqua Mall -First Lease     To the extent the Debtors are unable to
153     5503       Claire's Boutiques, Inc.      WPG                                                                                        $3,177.16
                                                                Amendment (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Polaris Fashion Place Lease
                                                                                                To the extent the Debtors are unable to
154     3600       Claire's Boutiques, Inc.      WPG                 Agreement (As                                                          $8,724.99
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Cottonwood Mall First Lease
                                                                                                To the extent the Debtors are unable to
155     8442       Claire's Boutiques, Inc.      WPG                 Amendment                                                              $7,250.05
                                                                                                agree to satisfactory amendments, they
                                                                    (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                  First Amendment For
                                                                                               intend to assume this lease as amended.
156     5931       Claire's Boutiques, Inc.      WPG          Charlottesville Fashion Square                                                $9,501.38
                                                                                                To the extent the Debtors are unable to
                                                                      (As Amended)
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Mall At Fairfield Commons
                                                                                                 To the extent the Debtors are unable to
157     8487       Claire's Boutiques, Inc.      WPG                     Lease                                                               $6,410.28
                                                                                                 agree to satisfactory amendments, they
                                                               Agreement (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Great Lakes Mall First Lease      To the extent the Debtors are unable to
158     5846       Claire's Boutiques, Inc.      WPG                                                                                         $5,093.61
                                                               Amendment (As Amended)            agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Outlet Collection Seattle Lease    To the extent the Debtors are unable to
159     8705       Claire's Boutiques, Inc.      WPG                                                                                          $0.00
                                                                      (As Amended)               agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                Markland Mall Lease (As          satisfactory to the Debtors, the Debtors
160     5130       Claire's Boutiques, Inc.      WPG                                                                                         $5,306.58
                                                                      Amended)                  intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Jefferson Valley Mall Lease    To the extent the Debtors are unable to
161     5356       Claire's Boutiques, Inc.      WPG                                                                                      $7,969.96
                                                                      (As Amended)            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              SM Rushmore Mall Lease (As      To the extent the Debtors are unable to
162     8597       Claire's Boutiques, Inc.      WPG                                                                                      $6,322.10
                                                                     Amended)                 agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Irving Mall Second Lease
                                                                                              To the extent the Debtors are unable to
163     8638       Claire's Boutiques, Inc.      WPG                 Amendment (As                                                        $4,563.63
                                                                                              agree to satisfactory amendments, they
                                                                       Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                Mesa Mall First Lease          amendments and other documentation
164     8129       Claire's Boutiques, Inc.      WPG                                                                                      $3,184.14
                                                               Amendment (As Amended)         satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Muncie Mall First Lease        To the extent the Debtors are unable to
165     8263       Claire's Boutiques, Inc.      WPG                                                                                       $4,985.48
                                                               Amendment (As Amended)          agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                              Lease Agreement For Rolling     intend to assume this lease as amended.
                                                                    Oaks Mall ,City            To the extent the Debtors are unable to
166     5731       Claire's Boutiques, Inc.      WPG                                                                                       $6,728.99
                                                               of San Antonio, Texas (As       agree to satisfactory amendments, they
                                                                       Amended)               reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Great Lakes Mall First Lease    To the extent the Debtors are unable to
167     8496       Claire's Boutiques, Inc.      WPG                                                                                       $7,377.36
                                                               Amendment (As Amended)          agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                              Oak Court Mall Storage Lease     Upon the successful execution of lease
168     1126       Claire's Boutiques, Inc.      WPG                                                                                       $9,519.32
                                                               Agreement (As Amended)           amendments and other documentation




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Wolf Ranch Lease Agreement     To the extent the Debtors are unable to
169     5666       Claire's Boutiques, Inc.      WPG                                                                                      $0.00
                                                                    (As Amended)             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Towne West Square Lease (As    To the extent the Debtors are unable to
170     5299       Claire's Boutiques, Inc.      WPG                                                                                     $6,513.94
                                                                     Amended)                agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Irving Mall First Amendment    To the extent the Debtors are unable to
171     6401       Claire's Boutiques, Inc.      WPG                                                                                     $5,666.54
                                                                 to Lease (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Northtown Mall Lease (As       To the extent the Debtors are unable to
172     6684       Claire's Boutiques, Inc.      WPG                                                                                      $9,043.24
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Town Center Plaza Leawood
                                                                                              To the extent the Debtors are unable to
173     5032       Claire's Boutiques, Inc.      WPG          Lease Modification Agreement                                                $6,518.64
                                                                                              agree to satisfactory amendments, they
                                                                  No. 4 (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Anderson Mall -First Lease
                                                                                              To the extent the Debtors are unable to
174     5391       Claire's Boutiques, Inc.      WPG               Amendment (As                                                          $7,678.74
                                                                                              agree to satisfactory amendments, they
                                                                      Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                               Palms Crossing First Lease
                                                                                             intend to assume this lease as amended.
175     6263       Claire's Boutiques, Inc.      WPG               Amendment (As                                                          $8,057.20
                                                                                              To the extent the Debtors are unable to
                                                                      Amended)
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Muncie Mall -Second Lease        To the extent the Debtors are unable to
176     5525       Claire's Boutiques, Inc.      WPG                                                                                         $0.00
                                                               Amendment (As Amended)           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Cottonwood Mall Lease (As        To the extent the Debtors are unable to
177     3318       Claire's Boutiques, Inc.      WPG                                                                                        $9,530.97
                                                                      Amended)                  agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Cottonwood Mall First
                                                                                                To the extent the Debtors are unable to
178     6422       Claire's Boutiques, Inc.      WPG            Amendment to Lease (As                                                      $5,055.87
                                                                                                agree to satisfactory amendments, they
                                                                       Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                               Pearlridge Center First Lease    satisfactory to the Debtors, the Debtors
179     8209       Claire's Boutiques, Inc.      WPG                                                                                        $8,368.28
                                                               Amendment (As Amended)          intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                New Towne Mall Lease
                                                                                              To the extent the Debtors are unable to
180     5730       Claire's Boutiques, Inc.      WPG          Modification Agreement No. 1                                                $5,860.73
                                                                                              agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Morgantown Mall Lease         To the extent the Debtors are unable to
181     5794       Claire's Boutiques, Inc.      WPG                                                                                      $7,871.71
                                                                Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Bowie Town Center Lease (As     To the extent the Debtors are unable to
182     6883       Claire's Boutiques, Inc.      WPG                                                                                      $9,461.09
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                              Waterford Lakes Town Center      amendments and other documentation
183     6876       Claire's Boutiques, Inc.      WPG                                                                                      $13,268.87
                                                                 Lease (As Amended)           satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty            Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Westshore Plaza Lease           To the extent the Debtors are unable to
184     3274       Claire's Boutiques, Inc.      WPG                                                                                        $11,736.77
                                                               Agreement (As Amended)           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               The Outlet Collection Seattle
                                                                                                To the extent the Debtors are unable to
185     6085       Claire's Boutiques, Inc.      WPG          Lease Modification Agreement                                                  $8,299.89
                                                                                                agree to satisfactory amendments, they
                                                                    #2 (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Lima Mall First Lease           To the extent the Debtors are unable to
186     5027       Claire's Boutiques, Inc.      WPG                                                                                        $5,838.19
                                                               Amendment (As Amended)           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                              Seminole Towne Center Lease       Upon the successful execution of lease
187     6238       Claire's Boutiques, Inc.      WPG                                                                                        $7,505.34
                                                                       Agreement                 amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty           Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                    (As Amended)             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Brunswick Square Mall Lease    To the extent the Debtors are unable to
188     6020       Claire's Boutiques, Inc.      WPG                                                                                     $11,294.92
                                                               Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Town Center at Aurora Lease
                                                                                             To the extent the Debtors are unable to
189     8137       Claire's Boutiques, Inc.      WPG                     (As                                                             $9,877.72
                                                                                             agree to satisfactory amendments, they
                                                                     Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Clay Terrace Lease (As       To the extent the Debtors are unable to
190     5587       Claire's Boutiques, Inc.      WPG                                                                                     $8,093.58
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Port Charlotte Town Center    To the extent the Debtors are unable to
191     5768       Claire's Boutiques, Inc.      WPG                                                                                     $7,763.39
                                                                  Lease (As Amended)         agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Dayton Mall Lease First
                                                                                             To the extent the Debtors are unable to
192     6669       Claire's Boutiques, Inc.      WPG           Modification Agreement (As                                                $8,591.23
                                                                                             agree to satisfactory amendments, they
                                                                       Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Orange Park Mall Lease (As    To the extent the Debtors are unable to
193     5370       Claire's Boutiques, Inc.      WPG                                                                                     $14,890.69
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                Maplewood Mall Lease        intend to assume this lease as amended.
194     5181       Claire's Boutiques, Inc.      WPG                                                                                     $11,818.99
                                                               Agreement (As Amended)        To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                  Mesa Mall Lease (As        To the extent the Debtors are unable to
195     5450       Claire's Boutiques, Inc.      WPG                                                                                     $13,083.26
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Indian Mound Mall Lease (As    To the extent the Debtors are unable to
196     5572       Claire's Boutiques, Inc.      WPG                                                                                       $0.00
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Melbourne Square Lease (As     To the extent the Debtors are unable to
197     1957       Claire's Boutiques, Inc.      WPG                                                                                     $10,551.18
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                               Mall at Fairfield Commons
                                                                                             satisfactory to the Debtors, the Debtors
198     6966       Claire's Boutiques, Inc.      WPG           First Lease Amendment (As                                                 $10,410.84
                                                                                            intend to assume this lease as amended.
                                                                        Amended)
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Southern Hills Mall Lease (As    To the extent the Debtors are unable to
199     5275       Claire's Boutiques, Inc.      WPG                                                                                       $9,990.80
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Southern Park Mall Lease (As     To the extent the Debtors are unable to
200     5151       Claire's Boutiques, Inc.      WPG                                                                                       $8,352.82
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                   First Amendment to
                                                                                               To the extent the Debtors are unable to
201     5820       Claire's Boutiques, Inc.      WPG          Lincolnwood Town Center (IL)                                                 $10,553.82
                                                                                               agree to satisfactory amendments, they
                                                                   Lease (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                              Letter re: Change of Landlord     amendments and other documentation
202     6274       Claire's Boutiques, Inc.      WPG                                                                                       $9,206.82
                                                                 Address (As Amended)          satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                              Ashland Town Center Storage
                                                                                             To the extent the Debtors are unable to
203     5798       Claire's Boutiques, Inc.      WPG            License Agreement (As                                                    $9,640.74
                                                                                             agree to satisfactory amendments, they
                                                                       Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Paddock Mall Lease (As       To the extent the Debtors are unable to
204     5415       Claire's Boutiques, Inc.      WPG                                                                                     $10,502.54
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Weberstown Mall Lease (As     To the extent the Debtors are unable to
205     6621       Claire's Boutiques, Inc.      WPG                                                                                     $13,735.96
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                Rushmore Mall Lease (As      Upon the successful execution of lease
206     5270       Claire's Boutiques, Inc.      WPG                                                                                     $9,247.16
                                                                      Amended)                amendments and other documentation




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Grand Central Mall Lease
                                                                                               To the extent the Debtors are unable to
207     5642       Claire's Boutiques, Inc.      WPG           Modification Agreement No. 2                                                $10,312.16
                                                                                               agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                  Mall at Johnson City
                                                                                               To the extent the Debtors are unable to
208     5719       Claire's Boutiques, Inc.      WPG           Temporary Lease Agreement                                                   $8,805.42
                                                                                               agree to satisfactory amendments, they
                                                                    (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Town Center at Aurora Lease     To the extent the Debtors are unable to
209     5190       Claire's Boutiques, Inc.      WPG                                                                                       $11,175.69
                                                                     (As Amended)              agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                  Edison Mall Lease (As       To the extent the Debtors are unable to
210     6280       Claire's Boutiques, Inc.      WPG                                                                                      $10,489.68
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Northwoods Shopping Center     To the extent the Debtors are unable to
211     5149       Claire's Boutiques, Inc.      WPG                                                                                      $11,718.98
                                                                   Lease (As Amended)         agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Lindale Mall Temporary
                                                                                              To the extent the Debtors are unable to
212     5359       Claire's Boutiques, Inc.      WPG           Storage Lease Agreement (As                                                $9,463.04
                                                                                              agree to satisfactory amendments, they
                                                                        Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                 Longview Mall Lease         intend to assume this lease as amended.
213     5248       Claire's Boutiques, Inc.      WPG                                                                                      $9,195.02
                                                                Agreement (As Amended)        To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Pearlridge Center 1 Uptown
                                                                                               To the extent the Debtors are unable to
214     6614       Claire's Boutiques, Inc.      WPG                  Second Lease                                                         $14,164.75
                                                                                               agree to satisfactory amendments, they
                                                               Amendment (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Polaris Fashion Place Lease
                                                                                               To the extent the Debtors are unable to
215     6935       Claire's Boutiques, Inc.      WPG           Modification Agreement No. 1                                                $20,266.96
                                                                                               agree to satisfactory amendments, they
                                                                       (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                  Arden Fair Lease (As         To the extent the Debtors are unable to
216     6294       Claire's Boutiques, Inc.     Macerich                                                                                   $18,708.03
                                                                      Amended)                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                  Arden Fair Lease (As         satisfactory to the Debtors, the Debtors
217     8110       Claire's Boutiques, Inc.     Macerich                                                                                   $19,083.15
                                                                      Amended)                intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty              Description                           Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Cross County Shopping Center      To the extent the Debtors are unable to
218     5543       Claire's Boutiques, Inc.     Macerich                                                                                     $14,401.75
                                                                   Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                              Simon/Premium    St. Augustine Premium Outlets     To the extent the Debtors are unable to
219     6354       Claire's Boutiques, Inc.                                                                                                  $9,042.08
                                                 Outlets            Lease (As Amended)           agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                              Simon/Premium     Jersey Shore Premium Outlets     To the extent the Debtors are unable to
220     3027       Claire's Boutiques, Inc.                                                                                                  $8,123.94
                                                 Outlets             Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                              Simon/Premium    Gulfport Premium Outlets Lease     amendments and other documentation
221     5373       Claire's Boutiques, Inc.                                                                                                  $4,663.04
                                                 Outlets         Agreement (As Amended)          satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium      Mercedes Premium Outlets       To the extent the Debtors are unable to
222     5715       Claire's Boutiques, Inc.                                                                                                   $0.00
                                                 Outlets           Lease (As Amended)           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               North Georgia Premium Outlets
                                              Simon/Premium                                     To the extent the Debtors are unable to
223     6627       Claire's Boutiques, Inc.                     Second Amendment to Lease                                                   $7,545.30
                                                 Outlets                                        agree to satisfactory amendments, they
                                                                 Agreement (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium     Merrimack Premium Outlets       To the extent the Debtors are unable to
224     5065       Claire's Boutiques, Inc.                                                                                                 $10,865.02
                                                 Outlets          Lease (As Amended)            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                              Simon/Premium     Las Vegas Premium Outlets       Upon the successful execution of lease
225     5414       Claire's Boutiques, Inc.                                                                                                 $25,176.46
                                                 Outlets           Lease (As Amended)            amendments and other documentation




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Row    Store                                                                                                                                    Cure
                           Debtor             Counterparty              Description                            Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium     Second Amendment to Lease         To the extent the Debtors are unable to
226     3206       Claire's Boutiques, Inc.                                                                                                   $10,427.63
                                                 Outlets              (As Amended)                agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                Letter re: Albertville Premium
                                              Simon/Premium                                       To the extent the Debtors are unable to
227     6579       Claire's Boutiques, Inc.                      Outlets Lease Extension (As                                                  $7,930.05
                                                 Outlets                                          agree to satisfactory amendments, they
                                                                           Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium      Paragon Outlets Twin Cities      To the extent the Debtors are unable to
228     5472       Claire's Boutiques, Inc.                                                                                                   $9,958.26
                                                 Outlets            Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                        Other Notes
 ID      #                                                                                                                                Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                              Simon/Premium      Chicago Premium Outlets     To the extent the Debtors are unable to
229     5191       Claire's Boutiques, Inc.                                                                                              $12,811.71
                                                 Outlets           Lease (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                              Simon/Premium    Master Amendment Agreement    To the extent the Debtors are unable to
230     6663       Claire's Boutiques, Inc.                                                                                              $6,121.66
                                                 Outlets              (As Amended)           agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                              Simon/Premium    Master Amendment Agreement    To the extent the Debtors are unable to
231     6631       Claire's Boutiques, Inc.                                                                                              $8,430.82
                                                 Outlets              (As Amended)           agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                              Simon/Premium     Osage Beach Outlet Market   intend to assume this lease as amended.
232     6594       Claire's Boutiques, Inc.                                                                                              $5,001.19
                                                 Outlets        Place Lease (As Amended)     To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                                    Cure
                           Debtor             Counterparty              Description                            Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium     Prime Outlets At Pismo Beach      To the extent the Debtors are unable to
233     6397       Claire's Boutiques, Inc.                                                                                                   $12,236.41
                                                 Outlets            Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                Carolina Premium Outlets First
                                              Simon/Premium                                       To the extent the Debtors are unable to
234     6364       Claire's Boutiques, Inc.                       Amendment to Lease (As                                                      $5,303.57
                                                 Outlets                                          agree to satisfactory amendments, they
                                                                          Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium       Houston Premium Outlets         To the extent the Debtors are unable to
235     3035       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                 Outlets           Lease (As Amended)             agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                              Simon/Premium      Letter re: Landlord Notice       satisfactory to the Debtors, the Debtors
236     6773       Claire's Boutiques, Inc.                                                                                                   $13,819.39
                                                 Outlets       Address Change (As Amended)       intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty              Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium     Philadelphia Premium Outlets      To the extent the Debtors are unable to
237     5150       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                 Outlets            Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Simon/Premium      Lee Premium Outlets Lease        To the extent the Debtors are unable to
238     6634       Claire's Boutiques, Inc.                                                                                                   $7,375.64
                                                 Outlets               (As Amended)               agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                Prime Outlets at Calhoun Sixth
                                              Simon/Premium                                       To the extent the Debtors are unable to
239     6237       Claire's Boutiques, Inc.                         Amendment to Lease                                                        $5,190.25
                                                 Outlets                                          agree to satisfactory amendments, they
                                                                  Agreement (As Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                              Simon/Premium      Johnson Creek Premium             amendments and other documentation
240     6578       Claire's Boutiques, Inc.                                                                                                   $3,646.73
                                                 Outlets        Outlets Lease (As Amended)        satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Woodburn Company Stores
                                              Simon/Premium                                    To the extent the Debtors are unable to
241     6743       Claire's Boutiques, Inc.                      Shopping Center Lease (As                                                 $7,833.50
                                                 Outlets                                       agree to satisfactory amendments, they
                                                                        Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                              Simon/Premium     Edinburgh Premium Outlets      To the extent the Debtors are unable to
242     6361       Claire's Boutiques, Inc.                                                                                                $7,179.48
                                                 Outlets           Lease (As Amended)          agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Letter re: Leesburg Premium
                                              Simon/Premium                                    To the extent the Debtors are unable to
243     6691       Claire's Boutiques, Inc.                     Outlets Lease Extension (As                                                $7,243.65
                                                 Outlets                                       agree to satisfactory amendments, they
                                                                          Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                              Simon/Premium     Letter re: Orlando Premium     Upon the successful execution of lease
244     6870       Claire's Boutiques, Inc.                                                                                                $21,264.72
                                                 Outlets        Outlets Lease Extension (As     amendments and other documentation




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                        Amended)                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium    Jackson Premium Outlets Lease    To the extent the Debtors are unable to
245     6604       Claire's Boutiques, Inc.                                                                                                 $4,544.82
                                                 Outlets          Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Letter re: Aurora Premium
                                              Simon/Premium                                     To the extent the Debtors are unable to
246     6351       Claire's Boutiques, Inc.                     Outlets Lease Extension (As                                                 $5,251.28
                                                 Outlets                                        agree to satisfactory amendments, they
                                                                          Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                   Citadel Mall Fourth
                                                                                                To the extent the Debtors are unable to
247     5323       Claire's Boutiques, Inc.       JLL            Amendment to Lease (As                                                      $0.00
                                                                                                agree to satisfactory amendments, they
                                                                       Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Queen Ka'ahumanu Center         To the extent the Debtors are unable to
248     6410       Claire's Boutiques, Inc.       JLL                                                                                        $0.00
                                                                  Lease (As Amended)            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               The Pinnacle at Tutwiler Farm
                                                                                                To the extent the Debtors are unable to
249     5918       Claire's Boutiques, Inc.       JLL              Lease Agreement (As                                                       $0.00
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Windward Mall Lease (As         To the extent the Debtors are unable to
250     6708       Claire's Boutiques, Inc.       JLL                                                                                        $0.00
                                                                      Amended)                  agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                  Windward Mall Fourth
                                                                                               intend to assume this lease as amended.
251     8204       Claire's Boutiques, Inc.       JLL            Amendment to Lease (As                                                      $0.00
                                                                                                To the extent the Debtors are unable to
                                                                      Amended)
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Palladio at Broadstone Lease    To the extent the Debtors are unable to
252     3254       Claire's Boutiques, Inc.       JLL                                                                                       $0.00
                                                                      (As Amended)             agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Second Amendment to Killeen      To the extent the Debtors are unable to
253     5314       Claire's Boutiques, Inc.       JLL                                                                                       $0.00
                                                                Mall Lease (As Amended)        agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Letter Re: New Management of     To the extent the Debtors are unable to
254     5163       Claire's Boutiques, Inc.       JLL                                                                                       $0.00
                                                               Concord Mall (As Amended)       agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                 Dubois Mall Lease (As         satisfactory to the Debtors, the Debtors
255     6711       Claire's Boutiques, Inc.       JLL                                                                                       $0.00
                                                                      Amended)                intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                             Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Lakeside Mall Lease (As          To the extent the Debtors are unable to
256     5628       Claire's Boutiques, Inc.       JLL                                                                                          $0.00
                                                                       Amended)                   agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                              Letter Re: Transfer of Title (As    To the extent the Debtors are unable to
257     5096       Claire's Boutiques, Inc.       JLL                                                                                          $0.00
                                                                         Amended)                 agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                               Lakeforest Mall Amended &
                                                                                                  To the extent the Debtors are unable to
258     5806       Claire's Boutiques, Inc.       JLL           Restated Shopping Center                                                       $0.00
                                                                                                  agree to satisfactory amendments, they
                                                                  Lease (As Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                              Branson Landing Center Lease         amendments and other documentation
259     6420       Claire's Boutiques, Inc.       JLL                                                                                          $0.00
                                                                     (As Amended)                 satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                  Mall of Abilene First
                                                                                              To the extent the Debtors are unable to
260     8615       Claire's Boutiques, Inc.       JLL             Amendment to Lease                                                       $0.00
                                                                                              agree to satisfactory amendments, they
                                                                    (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Sunset Mall Store Lease (As    To the extent the Debtors are unable to
261     3619       Claire's Boutiques, Inc.       JLL                                                                                     $4,603.06
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Sunset Mall Lease (As        To the extent the Debtors are unable to
262     5461       Claire's Boutiques, Inc.       JLL                                                                                      $0.00
                                                                      Amended)                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                Santa Rosa Mall Standard      Upon the successful execution of lease
263     5486       Claire's Boutiques, Inc.       JLL                                                                                      $0.00
                                                                    Lease Agreement            amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                     (As Amended)             satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Central Mall Lease Agreement    To the extent the Debtors are unable to
264     6225       Claire's Boutiques, Inc.       JLL                                                                                      $0.00
                                                                      (As Amended)            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Central Mall Lease (As       To the extent the Debtors are unable to
265     1965       Claire's Boutiques, Inc.       JLL                                                                                      $0.00
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                South Park Mall Lease (As     To the extent the Debtors are unable to
266     5426       Claire's Boutiques, Inc.       JLL                                                                                      $0.00
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                     Cure
                           Debtor              Counterparty                Description                           Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                  Shopping Center Lease, Central
                                                                                                    To the extent the Debtors are unable to
267     5772       Claire's Boutiques, Inc.         JLL               Mall (Texarkana) (As                                                       $0.00
                                                                                                    agree to satisfactory amendments, they
                                                                           Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                    Fourth Amendment to Fort
                                                                                                    To the extent the Debtors are unable to
268     5148       Claire's Boutiques, Inc.         JLL               Smith Mall Lease (As                                                       $0.00
                                                                                                    agree to satisfactory amendments, they
                                                                            Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                   Second Amendment to Lease        To the extent the Debtors are unable to
269     3522       Claire's Boutiques, Inc.         JLL                                                                                          $0.00
                                                                         (As Amended)               agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                    Great Northern Mall Second      satisfactory to the Debtors, the Debtors
                                              Starwood Capital       Amendment of Lease and        intend to assume this lease as amended.
270     6050       Claire's Boutiques, Inc.                                                                                                      $0.00
                                                   Group              Extension of Term (As         To the extent the Debtors are unable to
                                                                            Amended)                agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty               Description                           Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital    Westfield Parkway Plaza Lease    To the extent the Debtors are unable to
271     8116       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                  (As Amended)             agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital     Wellington Green Mall Lease     To the extent the Debtors are unable to
272     3546       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                  (As Amended)             agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                       Southlake Mall First       intend to assume this lease as amended.
                                              Starwood Capital       Amendment of Lease and        To the extent the Debtors are unable to
273     1108       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group              Extension of Terms (As       agree to satisfactory amendments, they
                                                                            Amended)              reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                              Starwood Capital    Arboretum of South Barrington    satisfactory to the Debtors, the Debtors
274     6695       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group              Lease (As Amended)          intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty                Description                         Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital       Rimrock Mall Lease (As       To the extent the Debtors are unable to
275     8390       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                   Amended)               agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                      Gateway Mall Fourth        intend to assume this lease as amended.
                                              Starwood Capital       Amendment of Lease and       To the extent the Debtors are unable to
276     8802       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group              Extension of Term (As       agree to satisfactory amendments, they
                                                                           Amended)              reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                     Franklin Park Mall First    intend to assume this lease as amended.
                                              Starwood Capital       Amendment of Lease and       To the extent the Debtors are unable to
277     8517       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group              Extension of Term (As       agree to satisfactory amendments, they
                                                                           Amended)              reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                              Starwood Capital     Chicago Ridge Mall Shopping     amendments and other documentation
278     3362       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group            Center Lease (As Amended)     satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty               Description                          Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital     Fairlane Town Center Lease     To the extent the Debtors are unable to
279     3566       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                  (As Amended)            agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital     Westfield Solano Mall Lease    To the extent the Debtors are unable to
280     3533       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                 (As Amended)             agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital      Westfield Parkway Lease       To the extent the Debtors are unable to
281     6432       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group            Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                              Starwood Capital       Belmar Shopping Center       Upon the successful execution of lease
282     6139       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group           Second Amendment of Lease       amendments and other documentation




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty               Description                          Other Notes
 ID      #                                                                                                                                    Amount
                                                                    and Extension of Term (As     satisfactory to the Debtors, the Debtors
                                                                            Amended)             intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital     The Promenade Bolingbrook      To the extent the Debtors are unable to
283     5328       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group              Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital    The Avenue Forsyth Lease (As    To the extent the Debtors are unable to
284     6963       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                  Amended)                agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital      Franklin Park Mall Lease      To the extent the Debtors are unable to
285     6143       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group            Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.




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Row    Store                                                                                                                                     Cure
                           Debtor              Counterparty                Description                           Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                              Starwood Capital     MacArthur Shopping Center        To the extent the Debtors are unable to
286     6660       Claire's Boutiques, Inc.                                                                                                      $0.00
                                                   Group             Lease (As Amended)             agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                  The Shops at Willow Bend First   intend to assume this lease as amended.
                                              Starwood Capital      Amendment of Lease and          To the extent the Debtors are unable to
287     6855       Claire's Boutiques, Inc.                                                                                                      $0.00
                                                   Group              Extension of Term (As         agree to satisfactory amendments, they
                                                                           Amended)                reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                              Starwood Capital      Southlake Mall Lease (As        To the extent the Debtors are unable to
288     5423       Claire's Boutiques, Inc.                                                                                                      $0.00
                                                   Group                   Amended)                 agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                              Starwood Capital    Kitsap Mall License Agreement    intend to assume this lease as amended.
289     5940       Claire's Boutiques, Inc.                                                                                                      $0.00
                                                   Group            for Storage (As Amended)        To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty                Description                          Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                       Northlake Mall First       intend to assume this lease as amended.
                                              Starwood Capital       Amendment of Lease and        To the extent the Debtors are unable to
290     6048       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group              Extension of Term (As        agree to satisfactory amendments, they
                                                                           Amended)               reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                    The Mall at Partridge Creek
                                              Starwood Capital                                     To the extent the Debtors are unable to
291     5863       Claire's Boutiques, Inc.                         Temporary Storage License                                                   $0.00
                                                   Group                                           agree to satisfactory amendments, they
                                                                    Agreement (As Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                      Gateway Mall First
                                              Starwood Capital                                     To the extent the Debtors are unable to
292     5646       Claire's Boutiques, Inc.                         Amendment of Lease (As                                                      $0.00
                                                   Group                                           agree to satisfactory amendments, they
                                                                          Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                              Starwood Capital     Westfield West Covina Lease     satisfactory to the Debtors, the Debtors
293     5957       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                  (As Amended)            intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty               Description                          Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital     Fairlane Town Center Lease     To the extent the Debtors are unable to
294     6175       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                  (As Amended)            agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital    Chicago Ridge Mall Lease (As    To the extent the Debtors are unable to
295     5444       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                   Amended)               agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              Starwood Capital     Westfield Solano Lease (As     To the extent the Debtors are unable to
296     5479       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                   Amended)               agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                              Starwood Capital      Southpark Mall Lease (As       amendments and other documentation
297     6483       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group                   Amended)               satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty                Description                          Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital      Northridge Mall Lease (As      To the extent the Debtors are unable to
298     5620       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                    Amended)               agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital     Capital Mall Lease Agreement    To the extent the Debtors are unable to
299     5704       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                   (As Amended)            agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital    Belden Village Mall Lease (As    To the extent the Debtors are unable to
300     5154       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                   Amended)                agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                              Starwood Capital        Rimrock Mall Lease           Upon the successful execution of lease
301     5705       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group            Agreement (As Amended)          amendments and other documentation




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty               Description                           Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                  Wellington Green Mall License
                                              Starwood Capital                                     To the extent the Debtors are unable to
302     6858       Claire's Boutiques, Inc.                        Agreement for Storage (As                                                    $0.00
                                                   Group                                           agree to satisfactory amendments, they
                                                                           Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital     Louis Joliet Mall Lease (As     To the extent the Debtors are unable to
303     5262       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                   Amended)                agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                              Starwood Capital      Westland Mall Lease (As        To the extent the Debtors are unable to
304     6194       Claire's Boutiques, Inc.                                                                                                     $0.00
                                                   Group                  Amended)                 agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty                Description                         Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                      Southpark Mall First       intend to assume this lease as amended.
                                              Starwood Capital      Amendment of Lease and        To the extent the Debtors are unable to
305     8516       Claire's Boutiques, Inc.                                                                                                    $0.00
                                                   Group             Extension of Term (As        agree to satisfactory amendments, they
                                                                          Amended)               reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                    NewPark Mall Lease (As        To the extent the Debtors are unable to
306     3609       Claire's Boutiques, Inc.        Rouse                                                                                       $0.00
                                                                         Amended)                 agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                    Spring Hill Mall Lease (As    To the extent the Debtors are unable to
307     5298       Claire's Boutiques, Inc.        Rouse                                                                                      $6,481.29
                                                                            Amended)              agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                      Letter Re: Notice of
                                                                                                 intend to assume this lease as amended.
308     5627       Claire's Boutiques, Inc.        Rouse            Assignment of Lease (As                                                   $6,382.12
                                                                                                  To the extent the Debtors are unable to
                                                                           Amended)
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Southland Mall Storage License    To the extent the Debtors are unable to
309     3317       Claire's Boutiques, Inc.      Rouse                                                                                      $12,415.29
                                                                Agreement (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Letter Re: Acknowledgement
                                                                                                To the extent the Debtors are unable to
310     5647       Claire's Boutiques, Inc.      Rouse         of Option to Extend Lease (As                                                  $0.00
                                                                                                agree to satisfactory amendments, they
                                                                         Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                North Plains Mall Storage
                                                                                                To the extent the Debtors are unable to
311     6774       Claire's Boutiques, Inc.      Rouse                   License                                                              $0.00
                                                                                                agree to satisfactory amendments, they
                                                                Agreement (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                Westwood Mall Lease (As         satisfactory to the Debtors, the Debtors
312     5155       Claire's Boutiques, Inc.      Rouse                                                                                        $0.00
                                                                      Amended)                 intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Southland Center Extension and
                                                                                                To the extent the Debtors are unable to
313     8351       Claire's Boutiques, Inc.      Rouse         Second Amendment of Lease                                                    $7,750.29
                                                                                                agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 The Mall at Sierra Vista
                                                                                                To the extent the Debtors are unable to
314     6772       Claire's Boutiques, Inc.      Rouse         Shopping Center Shop Lease                                                   $2,080.35
                                                                                                agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Plaza Camino Real Lease (As      To the extent the Debtors are unable to
315     8075       Claire's Boutiques, Inc.      Rouse                                                                                      $6,223.68
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                Silver Lake Mall Lease (As       amendments and other documentation
316     5781       Claire's Boutiques, Inc.      Rouse                                                                                      $6,830.50
                                                                        Amended)                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Washington Park Mall Lease     To the extent the Debtors are unable to
317     6799       Claire's Boutiques, Inc.      Rouse                                                                                     $0.00
                                                                     (As Amended)             agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Birchwood Mall Lease (As      To the extent the Debtors are unable to
318     5881       Claire's Boutiques, Inc.      Rouse                                                                                    $7,946.24
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Westfield Shoppingtown Plaza
                                                                                              To the extent the Debtors are unable to
319     6083       Claire's Boutiques, Inc.      Rouse                Camino Real                                                         $5,654.12
                                                                                              agree to satisfactory amendments, they
                                                                  Lease (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                Notice of Change of Equity    Upon the successful execution of lease
320     5197       Claire's Boutiques, Inc.      Rouse                                                                                    $7,085.31
                                                                      Ownership and            amendments and other documentation




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                              Notice Address (As Amended)    satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Sixth Amendment of Mt.
                                                                                             To the extent the Debtors are unable to
321     5850       Claire's Boutiques, Inc.      Rouse           Shasta Mall Lease (As                                                   $6,669.96
                                                                                             agree to satisfactory amendments, they
                                                                       Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                 Independence Mall First    intend to assume this lease as amended.
                                                                     Amendment and           To the extent the Debtors are unable to
322     6165       Claire's Boutiques, Inc.      Rouse                                                                                   $6,816.16
                                                                  Extension of Lease (As     agree to satisfactory amendments, they
                                                                        Amended)            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Bayshore Mall Lease (As      To the extent the Debtors are unable to
323     5624       Claire's Boutiques, Inc.      Rouse                                                                                   $6,237.09
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               The Centre at Salisbury Lease     To the extent the Debtors are unable to
324     6620       Claire's Boutiques, Inc.      Rouse                                                                                       $5,559.31
                                                                     (As Amended)                agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Lakeland Square Lease (As        To the extent the Debtors are unable to
325     6337       Claire's Boutiques, Inc.      Rouse                                                                                       $9,544.63
                                                                       Amended)                  agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 NewPark Mall Lease (As          To the extent the Debtors are unable to
326     5586       Claire's Boutiques, Inc.      Rouse                                                                                       $6,807.52
                                                                      Amended)                   agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                              Letter Re: Change of Landlord's
                                                                                                intend to assume this lease as amended.
327     5986       Claire's Boutiques, Inc.      Rouse        Notice Address Grand Traverse                                                  $8,987.25
                                                                                                 To the extent the Debtors are unable to
                                                                    Mall (As Amended)
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Second Amendment of Pierre
                                                                                              To the extent the Debtors are unable to
328     5395       Claire's Boutiques, Inc.      Rouse                Bossier Mall                                                        $4,630.20
                                                                                              agree to satisfactory amendments, they
                                                                  Lease (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                  Extension and First
                                                                                              To the extent the Debtors are unable to
329     5358       Claire's Boutiques, Inc.      Rouse          Amendment of Lease (As                                                    $9,826.62
                                                                                              agree to satisfactory amendments, they
                                                                      Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Lansing Mall License         To the extent the Debtors are unable to
330     5326       Claire's Boutiques, Inc.      Rouse                                                                                    $8,834.44
                                                                Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                Mall St. Vincent Lease (As    satisfactory to the Debtors, the Debtors
331     6092       Claire's Boutiques, Inc.      Rouse                                                                                    $5,026.17
                                                                         Amended)            intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Monmouth Mall Storage Space
                                                                                              To the extent the Debtors are unable to
332     6395       Claire's Boutiques, Inc.      Rouse           Lease Agreement (As                                                      $13,198.07
                                                                                              agree to satisfactory amendments, they
                                                                      Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Valley Hills Mall Lease      To the extent the Debtors are unable to
333     5259       Claire's Boutiques, Inc.      Rouse                                                                                    $12,349.21
                                                                Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Turtle Creek Mall First
                                                                                              To the extent the Debtors are unable to
334     5600       Claire's Boutiques, Inc.      Rouse            Amendment of Lease                                                      $6,495.83
                                                                                              agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                               The Mall at Barnes Crossing
                                                                                               amendments and other documentation
335     5819       Claire's Boutiques, Inc.      Rouse          First Amendment to Lease                                                  $6,524.91
                                                                                              satisfactory to the Debtors, the Debtors
                                                                Agreement (As Amended)
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Monmouth Mall Lease (As       To the extent the Debtors are unable to
336     3732       Claire's Boutiques, Inc.      Rouse                                                                                    $12,570.33
                                                                     Amended)                 agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                West Valley Mall Second
                                                                                              To the extent the Debtors are unable to
337     6288       Claire's Boutiques, Inc.      Rouse          Amendment to Lease (As                                                    $9,935.24
                                                                                              agree to satisfactory amendments, they
                                                                      Amended)
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Colonial Mall Lease (As      To the extent the Debtors are unable to
338     6447       Claire's Boutiques, Inc.      Rouse                                                                                    $6,298.59
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                               Colonial Mall Bel Air Lease    Upon the successful execution of lease
339     5671       Claire's Boutiques, Inc.      Rouse                                                                                    $7,174.68
                                                                     (As Amended)              amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Southland Center Lease (As       To the extent the Debtors are unable to
340     6632       Claire's Boutiques, Inc.      Rouse                                                                                      $12,000.13
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                              Tanger Outlet Centers Atlantic   intend to assume this lease as amended.
                                                                  City II Second Lease          To the extent the Debtors are unable to
341     5596       Claire's Boutiques, Inc.      Tanger                                                                                     $2,273.23
                                                               Modification Agreement (As       agree to satisfactory amendments, they
                                                                       Amended)                reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                              Tanger Outlet Center at Myrtle   intend to assume this lease as amended.
                                                                  Beach Second Lease            To the extent the Debtors are unable to
342     6769       Claire's Boutiques, Inc.      Tanger                                                                                     $2,763.09
                                                               Modification Agreement (As       agree to satisfactory amendments, they
                                                                       Amended)                reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                              Letter re: Tanger Outlet Center   intend to assume this lease as amended.
                                                                         Commerce,               To the extent the Debtors are unable to
343     6618       Claire's Boutiques, Inc.      Tanger                                                                                      $4,228.53
                                                                 GA Lease Extension (As          agree to satisfactory amendments, they
                                                                         Amended)               reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Tanger Properties Limited
                                                                                                 To the extent the Debtors are unable to
344     6455       Claire's Boutiques, Inc.      Tanger        Partnership Lease Agreement                                                   $3,410.07
                                                                                                 agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                   Tanger Outlet Center
                                                                                                 To the extent the Debtors are unable to
345     6599       Claire's Boutiques, Inc.      Tanger        Pittsburgh Lease Agreement                                                    $4,613.15
                                                                                                 agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                               Tanger Outlet Center Tilton,
                                                                                                intend to assume this lease as amended.
346     6853       Claire's Boutiques, Inc.      Tanger         NH Lease Agreement (As                                                       $5,445.13
                                                                                                 To the extent the Debtors are unable to
                                                                       Amended)
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Tanger Outlet Center Park City
                                                                                                 To the extent the Debtors are unable to
347     6233       Claire's Boutiques, Inc.      Tanger           First Lease Modification                                                   $6,251.01
                                                                                                 agree to satisfactory amendments, they
                                                                 Agreement (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Tanger Outlet Center Terrell
                                                                                                 To the extent the Debtors are unable to
348     6308       Claire's Boutiques, Inc.      Tanger               Second Lease                                                           $4,802.04
                                                                                                 agree to satisfactory amendments, they
                                                               Modification (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Tanger Outlet Centers Lease
                                                                                                 To the extent the Debtors are unable to
349     5966       Claire's Boutiques, Inc.      Tanger              Agreement (As                                                           $7,104.12
                                                                                                 agree to satisfactory amendments, they
                                                                       Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                   Tanger Outlet Center
                                                                                                 satisfactory to the Debtors, the Debtors
350     6617       Claire's Boutiques, Inc.      Tanger            Riverhead Lease (As                                                       $10,020.11
                                                                                                intend to assume this lease as amended.
                                                                        Amended)
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                     Tanger Outlets at
                                                                                               To the extent the Debtors are unable to
351     5948       Claire's Boutiques, Inc.      Tanger        Galveston/Houston, TX Lease                                                 $9,812.08
                                                                                               agree to satisfactory amendments, they
                                                                      (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Tanger Outlet Center San
                                                                                               To the extent the Debtors are unable to
352     6558       Claire's Boutiques, Inc.      Tanger             Marcos Lease (As                                                       $10,190.58
                                                                                               agree to satisfactory amendments, they
                                                                        Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Outlet Mall of Georgia Lease    To the extent the Debtors are unable to
353     5488       Claire's Boutiques, Inc.      Tanger                                                                                    $6,099.93
                                                                      (As Amended)             agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                               Howell Lease Agreement (As       amendments and other documentation
354     6370       Claire's Boutiques, Inc.      Tanger                                                                                    $4,226.87
                                                                       Amended)                satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.




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Row    Store                                                                                                                                         Cure
                           Debtor               Counterparty                  Description                           Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        Letter re: Assignment of
                                                                                                       To the extent the Debtors are unable to
355     3517       Claire's Boutiques, Inc.         Tanger           Tanger Outlet Center Lease (As                                                $10,242.74
                                                                                                       agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                     Letter re: Change of Ownership    To the extent the Debtors are unable to
356     6692       Claire's Boutiques, Inc.   Hull Property Group                                                                                    $0.00
                                                                              (As Amended)             agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Hatcher Square Mall Lease
                                                                                                       To the extent the Debtors are unable to
357     6076       Claire's Boutiques, Inc.   Hull Property Group           Agreement (As                                                          $2,368.17
                                                                                                       agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                      Fourth Amendment to Alton        Upon the successful execution of lease
358     5254       Claire's Boutiques, Inc.   Hull Property Group                                                                                    $0.00
                                                                       Mall Lease (As Amended)          amendments and other documentation




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Row    Store                                                                                                                                     Cure
                           Debtor               Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                                                    To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                       Blue Ridge Mall lease (As    To the extent the Debtors are unable to
359     6959       Claire's Boutiques, Inc.   Hull Property Group                                                                               $1,821.63
                                                                              Amended)              agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                      Richmond Square Mall Lease    To the extent the Debtors are unable to
360     6461       Claire's Boutiques, Inc.   Hull Property Group                                                                               $3,085.00
                                                                            (As Amended)            agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                       Cleveland Mall Lease (As     To the extent the Debtors are unable to
361     5685       Claire's Boutiques, Inc.   Hull Property Group                                                                                $9.20
                                                                              Amended)              agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                     Letter Re: Walnut Square Mall    To the extent the Debtors are unable to
362     5289       Claire's Boutiques, Inc.   Hull Property Group                                                                                 $3,815.63
                                                                     New Ownership (As Amended)       agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                     West Georgia Commons Lease       To the extent the Debtors are unable to
363     6122       Claire's Boutiques, Inc.   Hull Property Group                                                                                 $2,377.59
                                                                            (As Amended)              agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                         Colonial Mall Decatur
                                                                                                      To the extent the Debtors are unable to
364     5808       Claire's Boutiques, Inc.   Hull Property Group      Shopping Center Lease (As                                                   $0.00
                                                                                                      agree to satisfactory amendments, they
                                                                              Amended)
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                         Fourth Amendment to
                                                                                                     intend to assume this lease as amended.
365     5325       Claire's Boutiques, Inc.   Hull Property Group       Kingston Mall Lease (As                                                    $0.00
                                                                                                      To the extent the Debtors are unable to
                                                                               Amended)
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Letter re: Change in Leasehold
                                                                                                 To the extent the Debtors are unable to
366     6499       Claire's Boutiques, Inc.   Simon/Mills      Ownership for Jersey Gardens                                                  $15,754.21
                                                                                                 agree to satisfactory amendments, they
                                                                    Mall (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 Arundel Mills Temporary
                                                                                                 To the extent the Debtors are unable to
367     8786       Claire's Boutiques, Inc.   Simon/Mills        Tenant Storage Lease (As                                                    $8,689.91
                                                                                                 agree to satisfactory amendments, they
                                                                        Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter Re: Sawgrass Mills Lease    To the extent the Debtors are unable to
368     5947       Claire's Boutiques, Inc.   Simon/Mills                                                                                    $16,452.54
                                                                 Extension (As Amended)          agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                               Philadelphia Mills Mall Lease     satisfactory to the Debtors, the Debtors
369     3329       Claire's Boutiques, Inc.   Simon/Mills                                                                                    $9,870.34
                                                                      (As Amended)              intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Discover Mills Mall Lease (As     To the extent the Debtors are unable to
370     3172       Claire's Boutiques, Inc.   Simon/Mills                                                                                   $8,050.82
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              The Block at Orange Lease (As     To the extent the Debtors are unable to
371     3495       Claire's Boutiques, Inc.   Simon/Mills                                                                                   $14,119.84
                                                                       Amended)                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              The Great Mall of the Bay Area    To the extent the Debtors are unable to
372     8069       Claire's Boutiques, Inc.   Simon/Mills                                                                                   $9,535.68
                                                                  Lease (As Amended)            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                Opry Mills Mall Lease (As        amendments and other documentation
373     3782       Claire's Boutiques, Inc.   Simon/Mills                                                                                   $12,513.46
                                                                      Amended)                  satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Colorado Mills Mall Storage
                                                                                               To the extent the Debtors are unable to
374     3824       Claire's Boutiques, Inc.   Simon/Mills         Lease Agreement (As                                                      $18,694.95
                                                                                               agree to satisfactory amendments, they
                                                                       Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Concord Mills Mall Lease (As    To the extent the Debtors are unable to
375     3488       Claire's Boutiques, Inc.   Simon/Mills                                                                                  $12,251.29
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               University Town Center First
                                                                                               To the extent the Debtors are unable to
376     3747       Claire's Boutiques, Inc.     Taubman           Modification of Lease                                                    $14,580.21
                                                                                               agree to satisfactory amendments, they
                                                                Agreement (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                               Stamford Town Center Second     Upon the successful execution of lease
377     6060       Claire's Boutiques, Inc.     Taubman                                                                                    $9,825.63
                                                                   Modification of Lease        amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                Agreement (As Amended)        satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               The Mall at University Town    To the extent the Debtors are unable to
378     5428       Claire's Boutiques, Inc.     Taubman                                                                                   $20,770.16
                                                               Center Lease (As Amended)      agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Westfarms Mall Lease (As      To the extent the Debtors are unable to
379     6281       Claire's Boutiques, Inc.     Taubman                                                                                   $28,753.50
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Sunvalley Shopping Center     To the extent the Debtors are unable to
380     3299       Claire's Boutiques, Inc.     Taubman                                                                                     $0.00
                                                                  Lease (As Amended)          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 City Creek Center Lease     To the extent the Debtors are unable to
381     3190       Claire's Boutiques, Inc.     Taubman                                                                                  $12,855.33
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                International Plaza Tampa    To the extent the Debtors are unable to
382     6859       Claire's Boutiques, Inc.     Taubman                                                                                  $16,069.12
                                                                   Lease (As Amended)        agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Sun Valley Shopping Center    To the extent the Debtors are unable to
383     5952       Claire's Boutiques, Inc.     Taubman                                                                                  $19,617.41
                                                                   Mall (As Amended)         agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                 Dolphin Mall Lease (As     intend to assume this lease as amended.
384     6766       Claire's Boutiques, Inc.     Taubman                                                                                  $25,885.69
                                                                       Amended)              To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Great Lakes Crossing Lease       To the extent the Debtors are unable to
385     6649       Claire's Boutiques, Inc.     Taubman                                                                                      $16,087.87
                                                                      (As Amended)               agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                              Cherry Creek Shopping Center      intend to assume this lease as amended.
                                                              Fixed Term Temporary Storage       To the extent the Debtors are unable to
386     1132       Claire's Boutiques, Inc.     Taubman                                                                                      $22,960.17
                                                                  License Agreement (As          agree to satisfactory amendments, they
                                                                        Amended)                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               The Mall at Green Hills Lease     To the extent the Debtors are unable to
387     1819       Claire's Boutiques, Inc.     Taubman                                                                                      $14,404.47
                                                                     (As Amended)                agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                              Fair Oaks First Modification of
                                                                                                 satisfactory to the Debtors, the Debtors
388     6271       Claire's Boutiques, Inc.     Taubman            Lease Agreement (As                                                       $16,734.49
                                                                                                intend to assume this lease as amended.
                                                                        Amended)
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Twelve Oaks Mall Lease (As    To the extent the Debtors are unable to
389     3567       Claire's Boutiques, Inc.     Taubman                                                                                    $0.00
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Twelve Oaks Mall Lease (As    To the extent the Debtors are unable to
390     6005       Claire's Boutiques, Inc.     Taubman                                                                                  $18,111.21
                                                                       Amended)              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Landlord's Consent to
                                                                                             To the extent the Debtors are unable to
391     8682       Claire's Boutiques, Inc.      Cafaro         Assignment of Leases (As                                                 $2,810.57
                                                                                             agree to satisfactory amendments, they
                                                                      Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                               Meadowbrook Mall Lease (As     amendments and other documentation
392     8734       Claire's Boutiques, Inc.      Cafaro                                                                                  $5,408.87
                                                                      Amended)               satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                               Meadowbrook Mall Shopping       intend to assume this lease as amended.
                                                                     Cetner Third               To the extent the Debtors are unable to
393     5335       Claire's Boutiques, Inc.      Cafaro                                                                                     $9,166.46
                                                                 Lease Amendment (As            agree to satisfactory amendments, they
                                                                       Amended)                reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Letter Re: Change of Address
                                                                                                To the extent the Debtors are unable to
394     5343       Claire's Boutiques, Inc.      Cafaro       for Notice & "Payment in Full"                                                $10,317.06
                                                                                                agree to satisfactory amendments, they
                                                                       (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Letter Re: Notice of Change of    To the extent the Debtors are unable to
395     5348       Claire's Boutiques, Inc.      Cafaro                                                                                     $6,920.23
                                                                  Address (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                Eastwood Mall Lease (As         Upon the successful execution of lease
396     5311       Claire's Boutiques, Inc.      Cafaro                                                                                     $8,420.12
                                                                      Amended)                   amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Notice re: Change of Address     To the extent the Debtors are unable to
397     5746       Claire's Boutiques, Inc.      Cafaro                                                                                     $8,076.36
                                                                      (As Amended)              agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Millcreek Mall Shopping Center
                                                                                                To the extent the Debtors are unable to
398     1929       Claire's Boutiques, Inc.      Cafaro       Lease Second Amendment (As                                                    $9,242.53
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Huntington Mall Company
                                                                                                To the extent the Debtors are unable to
399     5303       Claire's Boutiques, Inc.      Cafaro        Lease Amendment No. 1 (As                                                    $15,357.72
                                                                                                agree to satisfactory amendments, they
                                                                       Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Letter re: Landlord Change of    To the extent the Debtors are unable to
400     3497       Claire's Boutiques, Inc.      Cafaro                                                                                     $13,204.80
                                                                  Address (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Spotsylvania Towne Center       To the extent the Debtors are unable to
401     5302       Claire's Boutiques, Inc.      Cafaro                                                                                     $11,588.22
                                                                   Lease (As Amended)           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Governor's Square Mall Lease     To the extent the Debtors are unable to
402     5571       Claire's Boutiques, Inc.      Cafaro                                                                                       $0.00
                                                                     (As Amended)               agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                 South Hill Mall Shopping
                                                                                               intend to assume this lease as amended.
403     5752       Claire's Boutiques, Inc.      Cafaro              Center Lease (As                                                       $22,485.16
                                                                                                To the extent the Debtors are unable to
                                                                        Amended)
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                  Fox Run Mall Lease            To the extent the Debtors are unable to
404     6141       Claire's Boutiques, Inc.     Spinoso                                                                                     $14,991.52
                                                                Agreement (As Amended)          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Mesilla Valley Mall Fourth
                                                                                                To the extent the Debtors are unable to
405     8447       Claire's Boutiques, Inc.     Spinoso               Amendment to                                                          $6,543.84
                                                                                                agree to satisfactory amendments, they
                                                                  Lease (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Mesilla Valley Mall Indenture
                                                                                                To the extent the Debtors are unable to
406     6951       Claire's Boutiques, Inc.     Spinoso                of Lease (As                                                         $4,951.96
                                                                                                agree to satisfactory amendments, they
                                                                        Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                 Santa Fe Place Shopping
                                                                                                satisfactory to the Debtors, the Debtors
407     5430       Claire's Boutiques, Inc.     Spinoso             Center Lease (As                                                        $8,417.89
                                                                                               intend to assume this lease as amended.
                                                                        Amended)
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Acadiana Mall License       To the extent the Debtors are unable to
408     8299       Claire's Boutiques, Inc.     Spinoso                                                                                  $6,041.24
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                  Eastland Center Fifth
                                                                                             To the extent the Debtors are unable to
409     6727       Claire's Boutiques, Inc.     Spinoso           Amendment to Lease                                                     $2,117.34
                                                                                             agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                  Letter Re: Change of      intend to assume this lease as amended.
                                                                 Ownership of Gadsden        To the extent the Debtors are unable to
410     5442       Claire's Boutiques, Inc.     Spinoso                                                                                  $6,219.66
                                                                 Mall (Gadsden, AL) (As      agree to satisfactory amendments, they
                                                                       Amended)             reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                Westland Mall Lease (As       amendments and other documentation
411     5419       Claire's Boutiques, Inc.     Spinoso                                                                                  $5,511.66
                                                                      Amended)               satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                                            Cure
                           Debtor                 Counterparty                   Description                           Other Notes
 ID      #                                                                                                                                             Amount
                                                                                                          To the extent the Debtors are unable to
                                                                                                          agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                                                         Genesee Valley Center Lease      To the extent the Debtors are unable to
412     6485       Claire's Boutiques, Inc.          Spinoso                                                                                          $9,331.24
                                                                               (As Amended)               agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                                                         Genesse Valley Center Lease      To the extent the Debtors are unable to
413     8338       Claire's Boutiques, Inc.          Spinoso                                                                                          $5,214.85
                                                                               (As Amended)               agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                                                         Plaza del Sol Mall Assignment
                    Claire's Puerto Rico                                                                  To the extent the Debtors are unable to
414     6149                                  Developers Diversified        of Lease and Assumption                                                   $15,849.53
                            Corp.                                                                         agree to satisfactory amendments, they
                                                                           Agreement (As Amended)
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                         Letter Re: Green Ridge Square    Upon the successful execution of lease
415     5208       Claire's Boutiques, Inc.   Developers Diversified                                                                                  $6,083.31
                                                                        (I) Acknowledgement of Notice      amendments and other documentation




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Row    Store                                                                                                                                            Cure
                           Debtor                 Counterparty                   Description                            Other Notes
 ID      #                                                                                                                                             Amount
                                                                           to Renew Lease Term (As         satisfactory to the Debtors, the Debtors
                                                                                  Amended)                intend to assume this lease as amended.
                                                                                                           To the extent the Debtors are unable to
                                                                                                           agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                            Flatacres Marketcenter        intend to assume this lease as amended.
                                                                        Shopping Center First Extension    To the extent the Debtors are unable to
416     6567       Claire's Boutiques, Inc.   Developers Diversified                                                                                   $5,580.20
                                                                         and Modification of Lease (As     agree to satisfactory amendments, they
                                                                                  Amended)                reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                         Extension and Modification of
                                                                                                           To the extent the Debtors are unable to
417     5059       Claire's Boutiques, Inc.   Developers Diversified      Riverdale Village Lease (As                                                  $5,154.80
                                                                                                           agree to satisfactory amendments, they
                                                                                  Amended)
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                          Gresham Station Shopping        intend to assume this lease as amended.
                                                                         Center Second Extension And       To the extent the Debtors are unable to
418     5030       Claire's Boutiques, Inc.   Developers Diversified                                                                                   $2,725.56
                                                                          Modification of Lease (As        agree to satisfactory amendments, they
                                                                                  Amended)                reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.




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Row    Store                                                                                                                                             Cure
                           Debtor                 Counterparty                   Description                            Other Notes
 ID      #                                                                                                                                              Amount
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                         Village at Stone Oak lease (As    To the extent the Debtors are unable to
419     6257       Claire's Boutiques, Inc.   Developers Diversified                                                                                   $6,598.14
                                                                                   Amended)                agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                        Letter Re:Notice of Assignment    intend to assume this lease as amended.
                                                                         and Assumption of Waterside       To the extent the Debtors are unable to
420     5183       Claire's Boutiques, Inc.   Developers Diversified                                                                                   $4,070.36
                                                                            Marketplace Lease (As          agree to satisfactory amendments, they
                                                                                  Amended)                reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                    Claire's Puerto Rico                                    Plaza Fajardo Lease (As        To the extent the Debtors are unable to
421     3066                                  Developers Diversified                                                                                   $10,102.14
                            Corp.                                                  Amended)                agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                             Aviation Mall Lease           satisfactory to the Debtors, the Debtors
                                                                                Modification              intend to assume this lease as amended.
422     5655       Claire's Boutiques, Inc.          Pyramid                                                                                             $0.00
                                                                             Agreement No. 2 (As           To the extent the Debtors are unable to
                                                                                 Amended)                  agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Champlain Centre Lease       To the extent the Debtors are unable to
423     1111       Claire's Boutiques, Inc.     Pyramid                                                                                   $0.00
                                                                Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Hampshire Mall Lease
                                                                                             To the extent the Debtors are unable to
424     5448       Claire's Boutiques, Inc.     Pyramid       Modification Agreement NO.3                                                 $0.00
                                                                                             agree to satisfactory amendments, they
                                                                     (As Amended)
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Salmon Run Mall Lease (As     To the extent the Debtors are unable to
425     5547       Claire's Boutiques, Inc.     Pyramid                                                                                   $0.00
                                                                      Amended)               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                               Sangertown Square License
                                                                                             satisfactory to the Debtors, the Debtors
426     5332       Claire's Boutiques, Inc.     Pyramid             Agreement (As                                                         $0.00
                                                                                            intend to assume this lease as amended.
                                                                       Amended)
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty              Description                            Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                               Poughkeepsie Galleria Lease       intend to assume this lease as amended.
                                                                     Modification                 To the extent the Debtors are unable to
427     6188       Claire's Boutiques, Inc.     Pyramid                                                                                        $0.00
                                                                  Agreement No. 1 (As             agree to satisfactory amendments, they
                                                                      Amended)                   reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Carousel Center Standard
                                                                                                  To the extent the Debtors are unable to
428     5829       Claire's Boutiques, Inc.     Pyramid              Shopping Center                                                           $0.00
                                                                                                  agree to satisfactory amendments, they
                                                                  Lease (As Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                               Modification of the Galleria at
                                                                                                  To the extent the Debtors are unable to
429     5993       Claire's Boutiques, Inc.     Pyramid                Crystal Run                                                             $0.00
                                                                                                  agree to satisfactory amendments, they
                                                                (NY) Lease (As Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                 Crossgates Mall Standard
                                                Pyramid                                            amendments and other documentation
430     6277       Claire's Boutiques, Inc.                          Shopping Center                                                           $0.00
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                   Lease (As Amended)
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Walden Galleria Notice of     To the extent the Debtors are unable to
431     6641       Claire's Boutiques, Inc.     Pyramid                                                                                    $0.00
                                                                Relocation (As Amended)       agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Holyoke Mall Lease (As       To the extent the Debtors are unable to
432     3401       Claire's Boutiques, Inc.     Pyramid                                                                                    $0.00
                                                                       Amended)               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Lease Modification Agreement    To the extent the Debtors are unable to
433     3474       Claire's Boutiques, Inc.     Pyramid                                                                                    $0.00
                                                                  No. 1 (As Amended)          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                Letter re: New Owner (As      Upon the successful execution of lease
434     3381       Claire's Boutiques, Inc.     Pyramid                                                                                    $0.00
                                                                        Amended)               amendments and other documentation




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Row    Store                                                                                                                                           Cure
                           Debtor                Counterparty                    Description                          Other Notes
 ID      #                                                                                                                                            Amount
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                                                         To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Pueblo Mall Store Lease (As     To the extent the Debtors are unable to
435     8133       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 $4,777.67
                                                                                 Amended)                agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Letter Re: Pueblo Mall Lease    To the extent the Debtors are unable to
436     5703       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 $1,330.43
                                                                          Extension (As Amended)         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                           Westfield Shoppingtown
                                                                                                         To the extent the Debtors are unable to
437     5953       Claire's Boutiques, Inc.   Centennial Real Estate      Connecticut Post Lease (As                                                 $12,046.10
                                                                                                         agree to satisfactory amendments, they
                                                                                 Amended)
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.




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Row    Store                                                                                                                                           Cure
                           Debtor                Counterparty                    Description                          Other Notes
 ID      #                                                                                                                                            Amount
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Letter Re: Brazos Mall New      To the extent the Debtors are unable to
438     5701       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 $4,014.18
                                                                          Ownership (As Amended)         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Lease Agreement For Chico
                                                                                                         To the extent the Debtors are unable to
439     5722       Claire's Boutiques, Inc.   Centennial Real Estate     Mall Shopping Center, Chico,                                                $7,975.33
                                                                                                         agree to satisfactory amendments, they
                                                                              CA (As Amended)
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Westfield Hawthorn Storage      To the extent the Debtors are unable to
440     5614       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 $12,490.85
                                                                           Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                          Westfield Connecticut Post    intend to assume this lease as amended.
441     3775       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 $7,061.51
                                                                            Lease (As Amended)           To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                       First Amendment to Metropolis
                                                                                                        To the extent the Debtors are unable to
442     5186       Claire's Boutiques, Inc.   Poag Shopping Centers      Shopping Center Lease (As                                                  $6,710.04
                                                                                                        agree to satisfactory amendments, they
                                                                                Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        The Shops at Brairgate Lease    To the extent the Debtors are unable to
443     5432       Claire's Boutiques, Inc.   Poag Shopping Centers                                                                                 $8,742.40
                                                                              (As Amended)              agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                       Amendment to The Shoppes at
                                                                                                        To the extent the Debtors are unable to
444     3026       Claire's Boutiques, Inc.   Poag Shopping Centers      Valley Square Lease (As                                                    $4,762.91
                                                                                                        agree to satisfactory amendments, they
                                                                                Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                        The Avenue Viera Lease (As      satisfactory to the Debtors, the Debtors
445     6563       Claire's Boutiques, Inc.   Poag Shopping Centers                                                                                 $4,344.93
                                                                                Amended)               intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                        Second Amendment to The       intend to assume this lease as amended.
                                                                        Promenade Shops at Saucon      To the extent the Debtors are unable to
446     5840       Claire's Boutiques, Inc.   Poag Shopping Centers                                                                                $5,366.15
                                                                          Valley (PA) Lease (As        agree to satisfactory amendments, they
                                                                                Amended)              reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        The Avenue West Cobb Lease
                                                                                                       To the extent the Debtors are unable to
447     5357       Claire's Boutiques, Inc.   Poag Shopping Centers                (As                                                             $6,001.55
                                                                                                       agree to satisfactory amendments, they
                                                                                Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                         Grossmont Center Lease        To the extent the Debtors are unable to
448     5387       Claire's Boutiques, Inc.          CBRE                                                                                           $0.00
                                                                         Agreement (As Amended)        agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                       Fifth Amendment to Lease (As     amendments and other documentation
449     1824       Claire's Boutiques, Inc.     Cypress Equities                                                                                    $0.00
                                                                                Amended)               satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.




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Row    Store                                                                                                                                     Cure
                           Debtor              Counterparty                Description                           Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                   Letter re: Change in Landlord    To the extent the Debtors are unable to
450     6923       Claire's Boutiques, Inc.   Cypress Equities                                                                                   $0.00
                                                                           (As Amended)             agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                   Bassett Place Shopping Center
                                                                                                    To the extent the Debtors are unable to
451     5868       Claire's Boutiques, Inc.   Cypress Equities      Fourth Amendment to Lease                                                    $0.00
                                                                                                    agree to satisfactory amendments, they
                                                                           (As Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                    Second Amendment to Rock
                                                                                                    To the extent the Debtors are unable to
452     5916       Claire's Boutiques, Inc.   Cypress Equities     Hill Galleria Lease Agreement                                                 $0.00
                                                                                                    agree to satisfactory amendments, they
                                                                           (As Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                   Letter Re: The Crossing At       Upon the successful execution of lease
453     5041       Claire's Boutiques, Inc.   WS Development                                                                                     $0.00
                                                                   Smithfield Shopping Center        amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor              Counterparty              Description                          Other Notes
 ID      #                                                                                                                                   Amount
                                                                 Exercise of Option to Extend    satisfactory to the Debtors, the Debtors
                                                                    Lease (As Amended)          intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 Marketplace at Augusta Lease
                                                                                                 To the extent the Debtors are unable to
454     6986       Claire's Boutiques, Inc.   WS Development        Third Amendment (As                                                       $0.00
                                                                                                 agree to satisfactory amendments, they
                                                                          Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 The Shoppes at Farmington       To the extent the Debtors are unable to
455     6411       Claire's Boutiques, Inc.   WS Development                                                                                  $0.00
                                                                 Valley Lease (As Amended)       agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                      Letter Re: Option
                                                                                                 To the extent the Debtors are unable to
456     5084       Claire's Boutiques, Inc.     JJ Gumberg          Acknowledgement (As                                                      $4,493.25
                                                                                                 agree to satisfactory amendments, they
                                                                         Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                  Lease Extension and
                                                                                               To the extent the Debtors are unable to
457     5421       Claire's Boutiques, Inc.    JJ Gumberg       Amendment for Clearview                                                     $0.00
                                                                                               agree to satisfactory amendments, they
                                                                  Mall (As Amended)
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Country Club Mall Lease (As     To the extent the Debtors are unable to
458     5447       Claire's Boutiques, Inc.    JJ Gumberg                                                                                   $0.00
                                                                       Amended)                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                              Findlay Village Mall Shopping   intend to assume this lease as amended.
                                                                      Center Lease             To the extent the Debtors are unable to
459     6570       Claire's Boutiques, Inc.    JJ Gumberg                                                                                   $0.00
                                                                Extension Agreement (As        agree to satisfactory amendments, they
                                                                       Amended)               reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                               Northtowne Mall Lease (As      intend to assume this lease as amended.
460     5509       Claire's Boutiques, Inc.    JJ Gumberg                                                                                   $0.00
                                                                       Amended)                To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty                Description                          Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                     Vicksburg Factory Outlets
                                                                                                   To the extent the Debtors are unable to
461     6333       Claire's Boutiques, Inc.     Craig Realty             Shopping Center                                                        $0.00
                                                                                                   agree to satisfactory amendments, they
                                                                       Lease (As Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                    Outlets at Anthem Shopping
                                                                                                   To the extent the Debtors are unable to
462     6301       Claire's Boutiques, Inc.     Craig Realty                Center Lease                                                       $4,880.79
                                                                                                   agree to satisfactory amendments, they
                                                                     Agreement (As Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                   Greene Town Center Lease (As    To the extent the Debtors are unable to
463     5281       Claire's Boutiques, Inc.   Olshan Properties                                                                                $6,888.77
                                                                            Amended)               agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                    The Avenue Webb Gin Lease      satisfactory to the Debtors, the Debtors
464     5506       Claire's Boutiques, Inc.   Olshan Properties                                                                                $6,967.16
                                                                          (As Amended)            intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty                Description                         Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                    Kandi Mall Shopping Center
                                                                                                  To the extent the Debtors are unable to
465     5383       Claire's Boutiques, Inc.   Rock Step Capital        Lease Agreement (As                                                     $0.00
                                                                                                  agree to satisfactory amendments, they
                                                                            Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                      Hot Springs Mall Lease      To the extent the Debtors are unable to
466     5404       Claire's Boutiques, Inc.   Rock Step Capital                                                                                $0.00
                                                                     Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                      Edgewood Mall Lease         To the extent the Debtors are unable to
467     6737       Claire's Boutiques, Inc.   Rock Step Capital                                                                                $0.00
                                                                     Agreement (As Amended)       agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                       Eastland Mall Lease        Upon the successful execution of lease
                                                                          Modification             amendments and other documentation
468     3405       Claire's Boutiques, Inc.      Woodmont                                                                                      $0.00
                                                                       Agreement No. 2 (As        satisfactory to the Debtors, the Debtors
                                                                            Amended)             intend to assume this lease as amended.




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Row    Store                                                                                                                                          Cure
                           Debtor                Counterparty                 Description                             Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                         To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                       Fourth Amendment to Vista
                                                                                                         To the extent the Debtors are unable to
469     5766       Claire's Boutiques, Inc.       Woodmont               Ridge Mall Lease (As                                                         $0.00
                                                                                                         agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                      Louisiana Boardwalk Outlets
                                                                                                         To the extent the Debtors are unable to
470     5864       Claire's Boutiques, Inc.       Woodmont           First Amendment to Lease (As                                                     $0.00
                                                                                                         agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                      The Outlet Shoppes at El Paso
                                                                                                         To the extent the Debtors are unable to
471     6436       Claire's Boutiques, Inc.   CBL / Horizon Group      First Amendment to Lease                                                      $5,470.92
                                                                                                         agree to satisfactory amendments, they
                                                                       Agreement (As Amended)
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                     Letter Re: The Outlet Shoppes       Upon the successful execution of lease
472     5528       Claire's Boutiques, Inc.   CBL / Horizon Group                                                                                    $5,388.10
                                                                     of the Bluegrass Notification of     amendments and other documentation




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Row    Store                                                                                                                                      Cure
                           Debtor              Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                       Amount
                                                                       Assignment of Lease           satisfactory to the Debtors, the Debtors
                                                                     Agreement (As Amended)         intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                     Golden East Crossing Lease      To the extent the Debtors are unable to
473     6779       Claire's Boutiques, Inc.   Hendon Properties                                                                                   $0.00
                                                                          (As Amended)               agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                    Modification and Extension of
                                                                                                     To the extent the Debtors are unable to
474     5805       Claire's Boutiques, Inc.   Hendon Properties     Rivergate Mall (TN) Lease (As                                                $5,451.67
                                                                                                     agree to satisfactory amendments, they
                                                                              Amended)
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                     Panama City Mall -Lease
                                                                                                     To the extent the Debtors are unable to
475     5434       Claire's Boutiques, Inc.   Hendon Properties     Modification And Extension                                                   $4,681.25
                                                                                                     agree to satisfactory amendments, they
                                                                    Agreement (As Amended)
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.




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Row    Store                                                                                                                                     Cure
                           Debtor              Counterparty                 Description                          Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                     Georgia Square Shopping        To the extent the Debtors are unable to
476     5497       Claire's Boutiques, Inc.   Hendon Properties                                                                                 $517.80
                                                                    Center Lease (As Amended)       agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                   Ford City Shopping Mall Lease    To the extent the Debtors are unable to
477     5307       Claire's Boutiques, Inc.     Mid America                                                                                      $0.00
                                                                           (As Amended)             agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                    Letter Re: Miami Valley Mall
                                                                                                    To the extent the Debtors are unable to
478     5211       Claire's Boutiques, Inc.     Mid America         Option to Extend Lease Term                                                 $6,991.19
                                                                                                    agree to satisfactory amendments, they
                                                                      Exercised (As Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                    Coastal Way Shopping Center
                                                                                                   intend to assume this lease as amended.
479     6856       Claire's Boutiques, Inc.       Brixmor            Lease Extension Agreement                                                   $0.00
                                                                                                    To the extent the Debtors are unable to
                                                                        No. 4 (As Amended)
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Brixmor Paradise Pavilion
                                                                                                To the extent the Debtors are unable to
480     5911       Claire's Boutiques, Inc.     Brixmor                  Third                                                               $0.00
                                                                                                agree to satisfactory amendments, they
                                                                Amendment (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                  Roosevelt Mall Second
                                                                                                To the extent the Debtors are unable to
481     6730       Claire's Boutiques, Inc.     Brixmor         Amendment and Extension of                                                   $0.00
                                                                                                agree to satisfactory amendments, they
                                                                   Lease (As Amended)
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                               The Outlet Shoppes at Fremont   intend to assume this lease as amended.
                                                                   Lease - 4th Extended         To the extent the Debtors are unable to
482     5118       Claire's Boutiques, Inc.   Horizon Group                                                                                 $1,850.00
                                                                Renewal/5th Amendment (As       agree to satisfactory amendments, they
                                                                         Amended)              reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                               The Outlet Shoppes at Oshkosh
                                                                                                satisfactory to the Debtors, the Debtors
483     6328       Claire's Boutiques, Inc.   Horizon Group      First Amendment to Lease                                                   $4,231.72
                                                                                               intend to assume this lease as amended.
                                                                 Agreement (As Amended)
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                Letter re: Reassignment of      intend to assume this lease as amended.
                                                                Lease for Macomb Mall in         To the extent the Debtors are unable to
484     3465       Claire's Boutiques, Inc.     Lormax                                                                                        $0.00
                                                                 Roseville, Michigan (As         agree to satisfactory amendments, they
                                                                         Amended)               reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Algonquin Commons Shopping         To the extent the Debtors are unable to
485     6064       Claire's Boutiques, Inc.    McKinley                                                                                      $4,622.97
                                                               Center Lease (As Amended)         agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                Oakdale Mall First Lease        intend to assume this lease as amended.
                                               Urban Edge           Modification and             To the extent the Debtors are unable to
486     5455       Claire's Boutiques, Inc.                                                                                                   $0.00
                                                                Extension Agreement (As          agree to satisfactory amendments, they
                                                                       Amended)                 reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                               Letter re: Las Catalinas Lease
                    Claire's Puerto Rico       Urban Edge                                         amendments and other documentation
487     6721                                                           Extension (As                                                          $0.00
                            Corp.                                                                satisfactory to the Debtors, the Debtors
                                                                          Amended)
                                                                                                intend to assume this lease as amended.




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Row    Store                                                                                                                                             Cure
                           Debtor                Counterparty                    Description                            Other Notes
 ID      #                                                                                                                                              Amount
                                                                                                           To the extent the Debtors are unable to
                                                                                                           agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                         Change of Counterparty Name
                                                                                                           To the extent the Debtors are unable to
488     3122       Claire's Boutiques, Inc.        Urban Edge              and Address Notice (As                                                      $13,776.63
                                                                                                           agree to satisfactory amendments, they
                                                                                  Amended)
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                          Wiregrass Commons Mall
                                                                                                           To the extent the Debtors are unable to
489     5439       Claire's Boutiques, Inc.   CBL / Farallon Capital      (Dothan, AL) Lease (As                                                       $6,402.50
                                                                                                           agree to satisfactory amendments, they
                                                                                 Amended)
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                        Letter Re: Update to Remittance    To the extent the Debtors are unable to
490     5843       Claire's Boutiques, Inc.         Inventrust                                                                                         $4,110.77
                                                                            Address (As Amended)           agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                     Lerner                                                Upon the successful execution of lease
491     6633       Claire's Boutiques, Inc.                             Dulles Town Center Mall Third                                                  $8,887.71
                                                                                                            amendments and other documentation




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Row    Store                                                                                                                                   Cure
                           Debtor               Counterparty               Description                         Other Notes
 ID      #                                                                                                                                    Amount
                                                                           Amendment              satisfactory to the Debtors, the Debtors
                                                                       to Deed of Lease (As      intend to assume this lease as amended.
                                                                            Amended)              To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                    Dulles Town Center Fourth
                                                                                                  To the extent the Debtors are unable to
492     8698       Claire's Boutiques, Inc.        Lerner           Amenment to Deed of Lease                                                 $6,227.18
                                                                                                  agree to satisfactory amendments, they
                                                                          (As Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                     Pembroke Mall Shopping
                                                                                                  To the extent the Debtors are unable to
493     6557       Claire's Boutiques, Inc.   Madison Marquette       Indenture of Lease (As                                                   $0.00
                                                                                                  agree to satisfactory amendments, they
                                                                            Amended)
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                   Amendment No. 4 of Westgate    To the extent the Debtors are unable to
494     5933       Claire's Boutiques, Inc.   New England Dev.                                                                                $5,939.91
                                                                    Mall Lease (As Amended)       agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.




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Row    Store                                                                                                                                          Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                          Burr Ridge Village Center
                                                                                                        To the extent the Debtors are unable to
495     6311       Claire's Boutiques, Inc.   Opus West Corporation        Estoppel Certificate (As                                                   $0.00
                                                                                                        agree to satisfactory amendments, they
                                                                                 Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                    Claire's Puerto Rico                                Plaza Las Americas Lease (As    To the extent the Debtors are unable to
496     6179                                   Plaza Las Americas                                                                                   $20,813.28
                            Corp.                                                 Amended)              agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                          McKinley Mall -Second
                                                                                                        To the extent the Debtors are unable to
497     5435       Claire's Boutiques, Inc.          Stoltz                Amendment to Lease                                                         $0.00
                                                                                                        agree to satisfactory amendments, they
                                                                         Agreement (As Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                       The Loop Amendment No. 2 of     intend to assume this lease as amended.
498     6843       Claire's Boutiques, Inc.        Wilder Co                                                                                        $7,749.30
                                                                           Lease (As Amended)           To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                 Description                            Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                      S.A Development Company,
                                                                                                        To the extent the Debtors are unable to
499     5744       Claire's Boutiques, Inc.   AVR Realty Company     LP First Amendement to Lease                                                   $4,840.20
                                                                                                        agree to satisfactory amendments, they
                                                                             (As Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         Boone Mall Lease (As           To the extent the Debtors are unable to
500     6236       Claire's Boutiques, Inc.    Barnett Properties                                                                                    $0.00
                                                                              Amended)                  agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                       The Avenue Of Shops Third
                                                                                                        To the extent the Debtors are unable to
501     6894       Claire's Boutiques, Inc.        Bedrock                  Amendment To                                                             $0.00
                                                                                                        agree to satisfactory amendments, they
                                                                          Lease (As Amended)
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                               Berenson Freeport      Freeport Village Station Lease    satisfactory to the Debtors, the Debtors
502     3145       Claire's Boutiques, Inc.                                                                                                         $8,950.39
                                                Associates LLC               (As Amended)              intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                     Letter re: Broadmoor Shopping
                                                                                                      To the extent the Debtors are unable to
503     6659       Claire's Boutiques, Inc.     BGK Properties        Center Lease Extension (As                                                   $0.00
                                                                                                      agree to satisfactory amendments, they
                                                                                Amended)
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                    Baldwin Hills Shopping Center
                                                                                                      To the extent the Debtors are unable to
504     5087       Claire's Boutiques, Inc.     Capri/Primstor          Lease Agreement (As                                                        $0.00
                                                                                                      agree to satisfactory amendments, they
                                                                             Amended)
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Third Amendment to Lease
                                                                                                      To the extent the Debtors are unable to
505     5315       Claire's Boutiques, Inc.   CBL / LNR Partners        (West Park Mall) (As                                                      $7,295.67
                                                                                                      agree to satisfactory amendments, they
                                                                             Amended)
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                       Letter re: Montclair Plaza
                                                                                                       amendments and other documentation
506     6117       Claire's Boutiques, Inc.         CIM                  Change of Name (As                                                        $0.00
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                               Amended)
                                                                                                     intend to assume this lease as amended.




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                 Cord Meyer             Bay Terrace Shopping Center    To the extent the Debtors are unable to
507     3297       Claire's Boutiques, Inc.                                                                                                         $0.00
                                              Development, LLC             Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       The Meadows Shopping Center
                                                                                                       To the extent the Debtors are unable to
508     6424       Claire's Boutiques, Inc.       Davis Street                 Lease (As                                                           $2,088.47
                                                                                                       agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              First Republic Realty       Temple Mall Lease (As        To the extent the Debtors are unable to
509     5616       Claire's Boutiques, Inc.                                                                                                         $0.00
                                                   Group LLC                   Amended)                agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                        Garden City Plaza Lease (As    Upon the successful execution of lease
510     6719       Claire's Boutiques, Inc.    Garden City Plaza                                                                                    $0.00
                                                                                Amended)                amendments and other documentation




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        Third Amendment to Denver      To the extent the Debtors are unable to
511     5091       Claire's Boutiques, Inc.      Gart Properties                                                                                    $0.00
                                                                       Pavilions Lease (As Amended)    agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Fourth Amendment of Aspen
                                                                                                       To the extent the Debtors are unable to
512     5219       Claire's Boutiques, Inc.      Gerrity Group         Grove Lease & Extension of                                                  $3,462.79
                                                                                                       agree to satisfactory amendments, they
                                                                          Term (As Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                         North Grand Mall Third
                                                                                                       To the extent the Debtors are unable to
513     5403       Claire's Boutiques, Inc.   Haverkamp Properties       Amendment to Lease (As                                                     $0.00
                                                                                                       agree to satisfactory amendments, they
                                                                               Amended)
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty              Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                  The Outlet Collection at
                                                                                                 To the extent the Debtors are unable to
514     5469       Claire's Boutiques, Inc.   Howard Hughes        Riverwalk Lease (As                                                        $0.00
                                                                                                 agree to satisfactory amendments, they
                                                                        Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Notice of Lien and Termination
                                                                                                 To the extent the Debtors are unable to
515     5956       Claire's Boutiques, Inc.      Invesco        of Arm Guard Self Storage                                                     $0.00
                                                                                                 agree to satisfactory amendments, they
                                                                    Lease (As Amended)
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Centennial Centre Shopping       To the extent the Debtors are unable to
516     5941       Claire's Boutiques, Inc.    Kite Realty                                                                                    $0.00
                                                                Center Lease (As Amended)        agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                Chesapeake Square Lease (As     intend to assume this lease as amended.
517     5777       Claire's Boutiques, Inc.     Kotarides                                                                                     $0.00
                                                                        Amended)                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of




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Row    Store                                                                                                                                     Cure
                           Debtor               Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                     Empresas Puertorriquenas De
                    Claire's Puerto Rico                                                            To the extent the Debtors are unable to
518     6108                                   Mayaguez Mall          Desarrollo, Inc Lease (As                                                  $0.00
                            Corp.                                                                   agree to satisfactory amendments, they
                                                                             Amended)
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                      Valle Vista Mall Lease (As    To the extent the Debtors are unable to
519     5365       Claire's Boutiques, Inc.       ProEquity                                                                                     $4,841.09
                                                                              Amended)              agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                     The Shoppes at Arbor Lakes     To the extent the Debtors are unable to
520     5520       Claire's Boutiques, Inc.       Prudential                                                                                    $7,152.99
                                                                        Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                       Durango Mall Lease (As       satisfactory to the Debtors, the Debtors
521     6832       Claire's Boutiques, Inc.   Rathbun Properties                                                                                 $0.00
                                                                             Amended)              intend to assume this lease as amended.
                                                                                                    To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they




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Row    Store                                                                                                                                    Cure
                           Debtor             Counterparty                Description                           Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                  Hatcher Point Mall Lease (As     To the extent the Debtors are unable to
522     5605       Claire's Boutiques, Inc.   RCG Ventures                                                                                      $0.00
                                                                           Amended)                agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                  Security Square Mall Seventh
                                              Security Square                                      To the extent the Debtors are unable to
523     6109       Claire's Boutiques, Inc.                      Lease Extension Agreement (As                                                  $0.00
                                                Associates                                         agree to satisfactory amendments, they
                                                                            Amended)
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                 Letter re: Change of Ownership    To the extent the Debtors are unable to
524     3036       Claire's Boutiques, Inc.    Southeastern                                                                                     $0.00
                                                                          (As Amended)             agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                  Letter re: Tifton Mall Lease      amendments and other documentation
525     6468       Claire's Boutiques, Inc.   Spectrum Realty                                                                                   $0.00
                                                                   Extension (As Amended)          satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                      To the extent the Debtors are unable to
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Crocker Park Shopping Center    To the extent the Debtors are unable to
526     3189       Claire's Boutiques, Inc.    Stark Enterprises                                                                                   $0.00
                                                                          Lease (As Amended)          agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                        First Amendment to Yuba
                                                                                                      To the extent the Debtors are unable to
527     5826       Claire's Boutiques, Inc.        Steadfast                 Sutter Mall (CA)                                                     $6,626.11
                                                                                                      agree to satisfactory amendments, they
                                                                          Lease (As Amended)
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                              The Shopping Center       Nashville West Shopping       To the extent the Debtors are unable to
528     6312       Claire's Boutiques, Inc.                                                                                                        $0.00
                                                    Group              Center Lease (As Amended)      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                The Woodmont            Weatherford Marketplace       Upon the successful execution of lease
529     5803       Claire's Boutiques, Inc.                                                                                                       $3,500.53
                                                  Company                Second Amendment to           amendments and other documentation




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                        Amount
                                                                      Shopping Center Lease (As       satisfactory to the Debtors, the Debtors
                                                                             Amended)                intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      The Shops of Grand River        To the extent the Debtors are unable to
530     3152       Claire's Boutiques, Inc.         Torg                                                                                           $0.00
                                                                        Lease (As Amended)            agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                              Trademark Property     Uptown Village at Cedar Hill-    To the extent the Debtors are unable to
531     6591       Claire's Boutiques, Inc.                                                                                                       $7,949.52
                                                  Company                Lease (As Amended)           agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                    Charleston Town Center Lease      To the extent the Debtors are unable to
532     5345       Claire's Boutiques, Inc.         CBRE                                                                                          $8,870.62
                                                                            (As Amended)              agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Kukui Grove Shopping Center    To the extent the Debtors are unable to
533     6460       Claire's Boutiques, Inc.      CBRE                                                                                      $0.00
                                                                  Lease (As Amended)          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Northgate Mall Lease (As     To the extent the Debtors are unable to
534     6052       Claire's Boutiques, Inc.       TBD                                                                                      $0.00
                                                                        Amended)              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Beaverton Mall Lease         To the extent the Debtors are unable to
535     6053       Claire's Boutiques, Inc.     C.E. John                                                                                 $4,439.19
                                                              Amendment #3 (As Amended)       agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                Letter re: Willamette Town
                                                                                             intend to assume this lease as amended.
536     6421       Claire's Boutiques, Inc.     C.E. John        Center Name Change (As                                                   $5,730.91
                                                                                              To the extent the Debtors are unable to
                                                                         Amended)
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               260 E. Fordham Road Lease      To the extent the Debtors are unable to
537     6032       Claire's Boutiques, Inc.   Jemel Mgmt                                                                                  $32,822.89
                                                                      (As Amended)            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
538     5974       Claire's Boutiques, Inc.       JLL           Mall De Las Aguilas Lease                                                   [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                The Streets of Tanasbourne    To the extent the Debtors are unable to
539     5696       Claire's Boutiques, Inc.       JLL                                                                                       [TBD]
                                                                 Shopping Center Lease        agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
540     6285       Claire's Boutiques, Inc.       JLL           Queens' Marketplace Lease                                                   [TBD]
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Westfield Montgomery Mall         To the extent the Debtors are unable to
541     8318       Claire's Boutiques, Inc.     Westfield                                                                                    [TBD]
                                                                      Storage Lease              agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Westfield Valencia Lease         To the extent the Debtors are unable to
542     3735       Claire's Boutiques, Inc.     Westfield                                                                                    [TBD]
                                                                       Agreement                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Westfield Galleria at Roseville    To the extent the Debtors are unable to
543     3703       Claire's Boutiques, Inc.     Westfield                                                                                    [TBD]
                                                                      Storage Lease              agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                Trumbull Shopping Center          amendments and other documentation
544     3265       Claire's Boutiques, Inc.     Westfield                                                                                    [TBD]
                                                                         Lease                   satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
545     3774       Claire's Boutiques, Inc.     Westfield      Westfield Culver City Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Westfield Annapolis Mall      To the extent the Debtors are unable to
546     3341       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                          Lease               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Westfield Shoppingtown North    To the extent the Debtors are unable to
547     8117       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                      Country Lease           agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
548     5615       Claire's Boutiques, Inc.     Westfield       Westfield Trumbull Lease                                                  [TBD]
                                                                                               amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Westfield Shoppingtown        To the extent the Debtors are unable to
549     3569       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                   Countryside Lease           agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Westfield Sarasota Lease      To the extent the Debtors are unable to
550     5658       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                   Amendment No. 1             agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
551     8155       Claire's Boutiques, Inc.     Westfield      Westfield Brandon Mall Lease                                                [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Valencia Town Center Storage     To the extent the Debtors are unable to
552     6121       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                    Lease Agreement            agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
553     6426       Claire's Boutiques, Inc.     Westfield     Westfield Broward Mall Lease                                                 [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Lease Agreement For Westfield    To the extent the Debtors are unable to
554     5736       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                  Sunrise Storage Lease        agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
555     5467       Claire's Boutiques, Inc.     Westfield      Westfield Plaza Bonita Lease                                                [TBD]
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Westfield Old Orchard Mall     To the extent the Debtors are unable to
556     3285       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                         Lease                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Westfield Culver City Lease    To the extent the Debtors are unable to
557     5830       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                   Amendment No. 3            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
558     6349       Claire's Boutiques, Inc.     Westfield      Westfield Southcenter Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
559     8773       Claire's Boutiques, Inc.      PREIT             Valley Mall Lease                                                      [TBD]
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                 Woodland Mall Lease        To the extent the Debtors are unable to
560     3422       Claire's Boutiques, Inc.      PREIT                                                                                  [TBD]
                                                                     Agreement              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
561     5630       Claire's Boutiques, Inc.      PREIT             Valley Mall Lease                                                    [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                 Woodland Mall Lease        To the extent the Debtors are unable to
562     5141       Claire's Boutiques, Inc.      PREIT                                                                                  [TBD]
                                                                     Agreement              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
563     5902       Claire's Boutiques, Inc.      PREIT           Moorestown Mall Lease                                                  [TBD]
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Assignment of Leases, Rents,    To the extent the Debtors are unable to
564     5171       Claire's Boutiques, Inc.      PREIT                                                                                     [TBD]
                                                               Income and Cash Collateral      agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              Patrick Henry Mall Temporary     To the extent the Debtors are unable to
565     5581       Claire's Boutiques, Inc.      PREIT                                                                                     [TBD]
                                                                     Lease Agreement           agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
566     5334       Claire's Boutiques, Inc.      PREIT           Valley View Mall Lease                                                    [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                               Francis Scott Key Mall Lease    Upon the successful execution of lease
567     5249       Claire's Boutiques, Inc.      PREIT                                                                                     [TBD]
                                                                        Agreement               amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 WG Park Mall Specialty       To the extent the Debtors are unable to
568     5349       Claire's Boutiques, Inc.      PREIT                                                                                    [TBD]
                                                                Leasing License Agreement     agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
569     3414       Claire's Boutiques, Inc.      PREIT        Willow Grove Park Mall Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Cumberland Mall Lease        To the extent the Debtors are unable to
570     6309       Claire's Boutiques, Inc.      PREIT                                                                                    [TBD]
                                                                     Agreement                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                           Cure
                           Debtor                Counterparty                    Description                           Other Notes
 ID      #                                                                                                                                            Amount
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                              Pacific Retail Capital     Galleria at White Plains Mall    To the extent the Debtors are unable to
571     6041       Claire's Boutiques, Inc.                                                                                                           [TBD]
                                                     Partners                        Lease                agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                              Pacific Retail Capital                                      To the extent the Debtors are unable to
572     8378       Claire's Boutiques, Inc.                               Independence Center Lease                                                   [TBD]
                                                     Partners                                             agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                                                                                         intend to assume this lease as amended.
                                              Pacific Retail Capital      South Towne Center Lease        To the extent the Debtors are unable to
573     8667       Claire's Boutiques, Inc.                                                                                                           [TBD]
                                                     Partners                    Agreement                agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of
                                                                                                             Rejected Executory Contracts and
                                                                                                                       Unexpired Leases.
                                                                                                          Upon the successful execution of lease
                                                                                                           amendments and other documentation
                                                                                                          satisfactory to the Debtors, the Debtors
                                              Pacific Retail Capital                                     intend to assume this lease as amended.
574     6392       Claire's Boutiques, Inc.                                 Eastridge Center Lease                                                    [TBD]
                                                     Partners                                             To the extent the Debtors are unable to
                                                                                                          agree to satisfactory amendments, they
                                                                                                         reserve the right to assume this lease as-
                                                                                                           is or list this lease on the Schedule of




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Row    Store                                                                                                                                     Cure
                           Debtor              Counterparty                Description                           Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                                                    To the extent the Debtors are unable to
575     8728       Claire's Boutiques, Inc.       CBRE            Charleston Town Center Lease                                                  [TBD]
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                      Flagstaff Mall -Second        To the extent the Debtors are unable to
576     5411       Claire's Boutiques, Inc.   Cypress Equities                                                                                  [TBD]
                                                                      Amendment To Lease            agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                     Jefferson Pointe Fourth        To the extent the Debtors are unable to
577     6901       Claire's Boutiques, Inc.   Red Development                                                                                   [TBD]
                                                                      Amendment to Lease            agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                  Village Pointe Shopping Center    satisfactory to the Debtors, the Debtors
578     5749       Claire's Boutiques, Inc.   Red Development                                                                                   [TBD]
                                                                      First Lease Amendment        intend to assume this lease as amended.
                                                                                                    To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty                Description                        Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                      Letter Re: Change of      To the extent the Debtors are unable to
579     6619       Claire's Boutiques, Inc.   Bayer Properties                                                                              [TBD]
                                                                      Management Address        agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                      Capitola Mall First
                                                                                                To the extent the Debtors are unable to
580     3309       Claire's Boutiques, Inc.   Merlone Geier         Amendment of Lease and                                                  [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                      Extension of Term
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                     First Amendment to The     To the extent the Debtors are unable to
581     1908       Claire's Boutiques, Inc.   Merlone Geier                                                                                 [TBD]
                                                                         Commons Lease          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                    Northgate Mall Notice of     amendments and other documentation
582     1931       Claire's Boutiques, Inc.   Merlone Geier                                                                                 [TBD]
                                                                     Change of Ownership        satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                                       Cure
                           Debtor              Counterparty                  Description                           Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                      To the extent the Debtors are unable to
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                       MTC Mansfield Towne            To the extent the Debtors are unable to
583     5604       Claire's Boutiques, Inc.         RPAI                                                                                          [TBD]
                                                                         Crossing Lease               agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
584     5080       Claire's Boutiques, Inc.   Allied Retail Prop     523 Fulton Street Store Lease                                                [TBD]
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Lease Term Extension for        To the extent the Debtors are unable to
585     5111       Claire's Boutiques, Inc.   American Assets                                                                                     [TBD]
                                                                      Valparaiso Market Place         agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                     Treasure Valley Marketplace      Upon the successful execution of lease
586     3023       Claire's Boutiques, Inc.    Centercal Prop                                                                                     [TBD]
                                                                               Lease                   amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor              Counterparty               Description                         Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                       Exhibit B Form of
                                                                                                 To the extent the Debtors are unable to
587     5074       Claire's Boutiques, Inc.    Centercal Prop         Commencement Date                                                      [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                        Memorandum
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                    Town Center Place Second     To the extent the Debtors are unable to
588     5892       Claire's Boutiques, Inc.   Kahn Development                                                                               [TBD]
                                                                   Lease Amendment Agreement     agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                     Letter Re: New Property     To the extent the Debtors are unable to
589     5531       Claire's Boutiques, Inc.       Shopcore                                                                                   [TBD]
                                                                             Manager             agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                Description                            Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
590     3293       Claire's Boutiques, Inc.   Erimar Realty LLC         476 86th Street Lease                                                     [TBD]
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                    Settlers' Green Outlet Village    To the extent the Debtors are unable to
591     6548       Claire's Boutiques, Inc.   O.V.P. Management                                                                                   [TBD]
                                                                       Plus Lease Agreement           agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                     Plaza Guaynabo Shopping
                    Claire's Puerto Rico                                                              To the extent the Debtors are unable to
592     6836                                        PMI              Center First Amendment to                                                    [TBD]
                            Corp.                                                                     agree to satisfactory amendments, they
                                                                                Lease
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                    The Village of Rochester Hills
                                                                                                     intend to assume this lease as amended.
593     5094       Claire's Boutiques, Inc.    Robert B. Aikens                 Lease                                                             [TBD]
                                                                                                      To the extent the Debtors are unable to
                                                                             Agreement
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               The Shops at Highland Village
                                                                                                To the extent the Debtors are unable to
594     6252       Claire's Boutiques, Inc.       JLL          First Amendment to Shopping                                                  [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                       Center Lease
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Alexandria Mall -Second        To the extent the Debtors are unable to
595     5546       Claire's Boutiques, Inc.       JLL                                                                                       [TBD]
                                                                  Amendment To Lease            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Letter Re: Mall of Abilene      To the extent the Debtors are unable to
596     5392       Claire's Boutiques, Inc.       JLL                                                                                       [TBD]
                                                              Notice of Change in Ownership     agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                 Searstown Mall Letter re
                                                                                                satisfactory to the Debtors, the Debtors
597     5679       Claire's Boutiques, Inc.      TBD           Assignment and Assumptions                                                   [TBD]
                                                                                               intend to assume this lease as amended.
                                                                   of Lease Agreement
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
598     5342       Claire's Boutiques, Inc.   GK Development Inc.     Lakeview Square Mall Lease                                                   [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Letter Re: Notice of Sale of    To the extent the Debtors are unable to
599     5663       Claire's Boutiques, Inc.   GK Development Inc.                                                                                  [TBD]
                                                                              Ridgmar Mall             agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Holiday Village Mall Store      To the extent the Debtors are unable to
600     5127       Claire's Boutiques, Inc.   GK Development Inc.                                                                                  [TBD]
                                                                                Lease                  agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                      Second Amendment of Peru          amendments and other documentation
601     5269       Claire's Boutiques, Inc.   GK Development Inc.                                                                                  [TBD]
                                                                             Mall Lease                satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                 Description                            Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                      Letter re: Viking Plaza Lease     To the extent the Debtors are unable to
602     6163       Claire's Boutiques, Inc.      Lexington Co.                                                                                      [TBD]
                                                                                 Extension              agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                      Gettysburg Outlet Center Third
                                                                                                        To the extent the Debtors are unable to
603     6638       Claire's Boutiques, Inc.   CBL / Horizon Group          Amendment to Lease                                                       [TBD]
                                                                                                        agree to satisfactory amendments, they
                                                                               Agreement
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Geneva Commons Lease            To the extent the Debtors are unable to
604     5058       Claire's Boutiques, Inc.      Mid America                                                                                        [TBD]
                                                                             Agreement                  agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                     Concord Mall Shopping Center       Upon the successful execution of lease
605     6244       Claire's Boutiques, Inc.    Allied Retail Prop                                                                                   [TBD]
                                                                               Lease                     amendments and other documentation




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                           Berkshire Mall Lease        To the extent the Debtors are unable to
606     5707       Claire's Boutiques, Inc.     Allied Retail Prop                                                                                 [TBD]
                                                                               Agreement               agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Greeley Mall First Amendment    To the extent the Debtors are unable to
607     5374       Claire's Boutiques, Inc.   Moonbeam Capital Inv.                                                                                [TBD]
                                                                            to Lease Agreement         agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Commercial Property       First Amendment to Lewiston    To the extent the Debtors are unable to
608     5119       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                               Management, LLC                  Mall Lease             agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.




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Row    Store                                                                                                                                      Cure
                           Debtor                Counterparty                Description                          Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
609     6413       Claire's Boutiques, Inc.     DRA Advisors          The Promenade Shops Lease                                                  [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
610     5006       Claire's Boutiques, Inc.   Festival Management       Lahaina Gateway Lease                                                    [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                       The Shops at Willow Lawn      To the extent the Debtors are unable to
611     5057       Claire's Boutiques, Inc.          FRIT                                                                                        [TBD]
                                                                                Lease                agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                      Alliance Town Center Retail   intend to assume this lease as amended.
612     3263       Claire's Boutiques, Inc.        Hillwood                                                                                      [TBD]
                                                                                 Lease               To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty               Description                           Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                              SB Retail Group                                     To the extent the Debtors are unable to
613     6816       Claire's Boutiques, Inc.                        The Carlsbad Mall Lease                                                    [TBD]
                                                 Carlsbad                                         agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Valley West Mall (Des Moines)    To the extent the Debtors are unable to
614     5231       Claire's Boutiques, Inc.       Watson                                                                                      [TBD]
                                                                       Storage Agreement          agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
615     5577       Claire's Boutiques, Inc.        GGP             Saint Louis Galleria Lease                                                 [TBD]
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
616     8328       Claire's Boutiques, Inc.        GGP               The Maine Mall Lease                                                     [TBD]
                                                                                                 intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
617     3470       Claire's Boutiques, Inc.      GGP             Westroads Mall Lease                                                    [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
618     8042       Claire's Boutiques, Inc.      GGP             Galleria at Tyler Lease                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
619     3415       Claire's Boutiques, Inc.      GGP             Mall of Louisiana Lease                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
620     3149       Claire's Boutiques, Inc.      GGP             Mondawmin Mall Lease                                                    [TBD]
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Market Place Shopping Center      To the extent the Debtors are unable to
621     8234       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                          Lease                  agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Letter re: Payment Remittance     To the extent the Debtors are unable to
622     8780       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                               Address for Stonebrair Centre     agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 Extension & Second
                                                                                                 To the extent the Debtors are unable to
623     5832       Claire's Boutiques, Inc.      GGP          Amendment of The Shoppes at                                                    [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                 Buckland Hills Lease
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                              Letter RE: Change of Landlord's    Upon the successful execution of lease
624     5643       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                               Notice Address Four Seasons        amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                      Town Centre             satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Extension And Second
                                                                                              To the extent the Debtors are unable to
625     5438       Claire's Boutiques, Inc.      GGP           Amendment of Lease at White                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                      Marsh Mall
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
626     5552       Claire's Boutiques, Inc.      GGP               Oakwood Mall Lease                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                   The Oaks Mall Lease        To the extent the Debtors are unable to
627     5653       Claire's Boutiques, Inc.      GGP                                                                                      [TBD]
                                                                       Agreement              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                   Extension And First
                                                                                              To the extent the Debtors are unable to
628     5732       Claire's Boutiques, Inc.      GGP            Amendment of Lease For                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                               Bellis Fair Shopping Center
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
629     5453       Claire's Boutiques, Inc.      GGP              Eastridge Mall Lease                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
630     3300       Claire's Boutiques, Inc.      GGP             Altamonte Mall Lease                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
631     5436       Claire's Boutiques, Inc.      GGP             Pecanland Mall Lease                                                     [TBD]
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Market Place Shopping Center
                                                                                               To the extent the Debtors are unable to
632     5237       Claire's Boutiques, Inc.      GGP              Extension and Second                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                  Amendment of Lease
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
633     6473       Claire's Boutiques, Inc.      GGP               Columbia Mall Lease                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               The Mall in Columbia Storage    To the extent the Debtors are unable to
634     3223       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                   License Agreement           agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                               Spokane Valley Mall Storage     satisfactory to the Debtors, the Debtors
635     6593       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                   License Agreement          intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
636     6530       Claire's Boutiques, Inc.      GGP            Woodbridge Center Lease                                                   [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Ridgedale Center Storage      To the extent the Debtors are unable to
637     6036       Claire's Boutiques, Inc.      GGP                                                                                      [TBD]
                                                                   License Agreement          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               The Parks Mall at Arlington
                                                                                              To the extent the Debtors are unable to
638     5649       Claire's Boutiques, Inc.      GGP              Extension and Third                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                  Amendment of Lease
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                Mayfair Mall Extension and     amendments and other documentation
639     5901       Claire's Boutiques, Inc.      GGP                                                                                      [TBD]
                                                                First Amendment of Lease      satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Pinnacle Hills Promenade
                                                                                               To the extent the Debtors are unable to
640     6002       Claire's Boutiques, Inc.      GGP              Extension and Second                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                  Amendment of Lease
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                  Peachtree Mall Lease         To the extent the Debtors are unable to
641     5674       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                      Agreement                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
642     6561       Claire's Boutiques, Inc.      GGP             Coastland Center Lease                                                    [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                              Sooner Fashion Mall Extension    Upon the successful execution of lease
643     5193       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                              and Third Amendment of Lease      amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
644     5975       Claire's Boutiques, Inc.      GGP            Towson Town Center Lease                                                   [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
645     5882       Claire's Boutiques, Inc.      GGP           Visalia Mall Lease Agreement                                                [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
646     5452       Claire's Boutiques, Inc.      GGP             Grand Teton Mall Lease                                                    [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                  Letter RE: Change of
                                                                                             To the extent the Debtors are unable to
647     5459       Claire's Boutiques, Inc.      GGP            Landlord's Notice Address                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                      Florence Mall
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Westroads Mall Omaha (NE)     To the extent the Debtors are unable to
648     5124       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                         Lease               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
649     5295       Claire's Boutiques, Inc.      GGP            The Crossroads Mall Lease                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                  Letter RE: Change of
                                                                                            intend to assume this lease as amended.
650     5276       Claire's Boutiques, Inc.      GGP            Landlord's Notice Address                                                [TBD]
                                                                                             To the extent the Debtors are unable to
                                                                    Greenwood Mall
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Re: Early Termination of
                                                                                              To the extent the Debtors are unable to
651     5839       Claire's Boutiques, Inc.      GGP          Storage Agreement #S0040945,                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                     Account #297499
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
652     3372       Claire's Boutiques, Inc.      GGP             Providence Place Lease                                                   [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
653     5619       Claire's Boutiques, Inc.      GGP            Quail Springs Mall Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                Oakland Shopping Center
                                                                                              satisfactory to the Debtors, the Debtors
654     6985       Claire's Boutiques, Inc.      GGP              Extension And First                                                     [TBD]
                                                                                             intend to assume this lease as amended.
                                                                 Amendment of Lease
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Maine Mall Extension and First    To the extent the Debtors are unable to
655     6138       Claire's Boutiques, Inc.      GGP                                                                                        [TBD]
                                                                  Amendment of Lease            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Letter re: North Point Mall      To the extent the Debtors are unable to
656     6074       Claire's Boutiques, Inc.      GGP                                                                                        [TBD]
                                                               Notice of Lease Assignment       agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
657     5133       Claire's Boutiques, Inc.      GGP              Park City Center Lease                                                    [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
658     5466       Claire's Boutiques, Inc.      GGP            Riverchase Galleria Lease                                                   [TBD]
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Beachwood Place Storage      To the extent the Debtors are unable to
659     6205       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                  License Agreement          agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                  Letter RE: Change of
                                                                                             To the extent the Debtors are unable to
660     5316       Claire's Boutiques, Inc.      GGP            Landlord's Notice Address                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                   Glenbrook Square
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Second Amendment and
                                                                                             To the extent the Debtors are unable to
661     5122       Claire's Boutiques, Inc.      GGP            Supplement to Crossroads                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                      Center Lease
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                Coral Ridge Mall Storage     Upon the successful execution of lease
662     6625       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                  License Agreement           amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
663     6103       Claire's Boutiques, Inc.      GGP             Lynnhaven Mall Lease                                                      [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
664     5771       Claire's Boutiques, Inc.      GGP             Oglethorpe Mall Lease                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
665     6029       Claire's Boutiques, Inc.      GGP           Galleria at Tyler Mall Lease                                                [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Mall of Louisiana Storage    To the extent the Debtors are unable to
666     6476       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                  License Agreement          agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Water Tower Place Lease      To the extent the Debtors are unable to
667     1954       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                      Agreement              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
668     5943       Claire's Boutiques, Inc.      GGP              Carolina Place Lease                                                   [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
669     5991       Claire's Boutiques, Inc.      GGP            St. Matthews Mall Lease                                                  [TBD]
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
670     5693       Claire's Boutiques, Inc.      GGP          Kenwood Towne Centre Lease                                                   [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                              License Agreement for Fashion    To the extent the Debtors are unable to
671     5788       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                          Place                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                 Fox River Mall Storage        To the extent the Debtors are unable to
672     5377       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                   License Agreement           agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                               Governor's Square Mall Lease    satisfactory to the Debtors, the Debtors
673     6035       Claire's Boutiques, Inc.      GGP                                                                                       [TBD]
                                                                 Agreement Amendment          intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
674     5456       Claire's Boutiques, Inc.      GGP            Shops at La Cantera Lease                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                Jordan Creek Town Center     To the extent the Debtors are unable to
675     6601       Claire's Boutiques, Inc.      GGP                                                                                     [TBD]
                                                                          Lease              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
676     5350       Claire's Boutiques, Inc.      GGP             Southwest Plaza Lease                                                   [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
677     5063       Claire's Boutiques, Inc.      GGP              Perimeter Mall Lease                                                   [TBD]
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
678     5804       Claire's Boutiques, Inc.      GGP              Coronado Center Lease                                                      [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
679     6781       Claire's Boutiques, Inc.      GGP           RiverTown Crossings Lease                                                     [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Notice of change of landlord's    To the extent the Debtors are unable to
680     3148       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                       notice address            agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
681     5590       Claire's Boutiques, Inc.      GGP                 Park Place Lease                                                        [TBD]
                                                                                                  amendments and other documentation




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
682     5776       Claire's Boutiques, Inc.      GGP              Town East Mall Lease                                                       [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter re: Change of Landlord's    To the extent the Debtors are unable to
683     6192       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                      Notice Address             agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
684     3283       Claire's Boutiques, Inc.      GGP             Glendale Galleria Lease                                                     [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
685     6166       Claire's Boutiques, Inc.      GGP              Baybrook Mall Lease                                                        [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
686     6135       Claire's Boutiques, Inc.      GGP                Natick Mall Lease                                                        [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               First Colony Mall Extension
                                                                                                 To the extent the Debtors are unable to
687     6450       Claire's Boutiques, Inc.      GGP           and Second Amendment of                                                       [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                          Lease
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
688     5045       Claire's Boutiques, Inc.      GGP          The Streets at Southpoint Lease                                                [TBD]
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Pembroke Lakes Mall Storage       To the extent the Debtors are unable to
689     5476       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                   License Agreement             agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                Willowbrook Mall Storage         To the extent the Debtors are unable to
690     6339       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                   License Agreement             agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter re: Change of Landlord's    To the extent the Debtors are unable to
691     6058       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                      Notice Address             agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                              Deerbrook Mall Extension and       satisfactory to the Debtors, the Debtors
692     5402       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                               First Amendment of Lease         intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                   Park Meadow Mall         To the extent the Debtors are unable to
693     6728       Claire's Boutiques, Inc.      GGP                                                                                    [TBD]
                                                                  Amendment to Lease        agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                               Bridgewater Commons Mall     To the extent the Debtors are unable to
694     3481       Claire's Boutiques, Inc.      GGP                                                                                    [TBD]
                                                                         Lease              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Columbiana Centre Lease     To the extent the Debtors are unable to
695     5827       Claire's Boutiques, Inc.      GGP                                                                                    [TBD]
                                                                     Agreement              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
696     6157       Claire's Boutiques, Inc.      GGP            The Woodlands Mall Lease                                                [TBD]
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Letter re: Change of Landlord's    To the extent the Debtors are unable to
697     6831       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                              Notice Address Stonebrair Mall     agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 Willowbrook Mall Lease          To the extent the Debtors are unable to
698     8633       Claire's Boutiques, Inc.      GGP                                                                                         [TBD]
                                                                       Agreement                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
699     5042       Claire's Boutiques, Inc.      Simon           Circle Centre Mall Lease                                                    [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                   Galleria Dallas Lease         Upon the successful execution of lease
700     3226       Claire's Boutiques, Inc.      Simon                                                                                       [TBD]
                                                                        Agreement                 amendments and other documentation




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty            Description                           Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Springfield Mall First Lease    To the extent the Debtors are unable to
701     6282       Claire's Boutiques, Inc.      Simon                                                                                     [TBD]
                                                                       Amendment               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
702     3215       Claire's Boutiques, Inc.      Simon         Brea Mall Lease Agreement                                                   [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
703     3573       Claire's Boutiques, Inc.      Simon           Bay Park Square Lease                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
704     6520       Claire's Boutiques, Inc.      Simon            Santa Rosa Plaza Lease                                                   [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                Columbiana Centre Storage
                                                                                               To the extent the Debtors are unable to
705     5821       Claire's Boutiques, Inc.      Simon                  License                                                            [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                      Agreement
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
706     6723       Claire's Boutiques, Inc.      Simon           Houston Galleria I Lease                                                  [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
707     3426       Claire's Boutiques, Inc.      Simon         Orland, L.P. Lease Agreement                                                [TBD]
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Barton Creek Square Mall    To the extent the Debtors are unable to
708     5320       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                         Lease              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                               Ocean County Mall Storage    To the extent the Debtors are unable to
709     6967       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                        Lease               agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
710     5336       Claire's Boutiques, Inc.      Simon          Apple Blossom Mall Lease                                                [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                 Menlo Park Mall Lease      satisfactory to the Debtors, the Debtors
711     6105       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                     Amendment             intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
712     6023       Claire's Boutiques, Inc.      Simon          Oxford Valley Mall Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               The Mall at Tuttle Crossing    To the extent the Debtors are unable to
713     6477       Claire's Boutiques, Inc.      Simon                                                                                    [TBD]
                                                                         Lease                agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
714     5582       Claire's Boutiques, Inc.      Simon            McCain Mall Lease                                                       [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                Miami International Mall       amendments and other documentation
715     5369       Claire's Boutiques, Inc.      Simon                                                                                    [TBD]
                                                                Storage Lease Agreement       satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                King of Prussia The Plaza     To the extent the Debtors are unable to
716     6162       Claire's Boutiques, Inc.      Simon                                                                                    [TBD]
                                                                   Lease Agreement            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
717     6576       Claire's Boutiques, Inc.      Simon          The Galleria Storage Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
718     6071       Claire's Boutiques, Inc.      Simon           Square One Mall Lease                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                               Summit Mall Storage Lease      Upon the successful execution of lease
719     6027       Claire's Boutiques, Inc.      Simon                                                                                    [TBD]
                                                                      Agreement                amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               St. Johns Town Center Lease    To the extent the Debtors are unable to
720     5639       Claire's Boutiques, Inc.      Simon                                                                                    [TBD]
                                                                        Agreement             agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
721     5264       Claire's Boutiques, Inc.      Simon             Empire Mall Lease                                                      [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
722     6336       Claire's Boutiques, Inc.      Simon             Coral Square Lease                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Second Amendment to
                                                                                              To the extent the Debtors are unable to
723     5480       Claire's Boutiques, Inc.      Simon          Cordova Mall (Pensacola)                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                        Lease
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
724     6198       Claire's Boutiques, Inc.      Simon         Firewheel Town Center Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
725     5945       Claire's Boutiques, Inc.      Simon         Town Center at Cobb Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
726     5764       Claire's Boutiques, Inc.      Simon           Ingram Park Mall Lease                                                   [TBD]
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
727     5831       Claire's Boutiques, Inc.      Simon        Tacoma Mall Lease Agreement                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
728     5252       Claire's Boutiques, Inc.      Simon           North East Mall Lease                                                   [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
729     6176       Claire's Boutiques, Inc.      Simon              Brea Mall Lease                                                      [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
730     3280       Claire's Boutiques, Inc.      Simon          South Hills Village Lease                                                [TBD]
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
731     5152       Claire's Boutiques, Inc.      Simon           Castleton Square Lease                                                 [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                 Lease Agreement For        To the extent the Debtors are unable to
732     5267       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                 Greenwood Park Mall        agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
733     3532       Claire's Boutiques, Inc.      Simon           Battlefield Mall Lease                                                 [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                Midland Park Mall Lease      amendments and other documentation
734     5400       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                      Agreement             satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty           Description                         Other Notes
 ID      #                                                                                                                              Amount
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
735     6322       Claire's Boutiques, Inc.      Simon            Lakeline Mall Lease                                                   [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
736     1827       Claire's Boutiques, Inc.      Simon           Columbia Center Lease                                                  [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                  Orland Square Lease       To the extent the Debtors are unable to
737     5238       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                      Agreement             agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
738     6180       Claire's Boutiques, Inc.      Simon           West Town Mall Lease                                                   [TBD]
                                                                                             amendments and other documentation




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Smith Haven Mall Storage    To the extent the Debtors are unable to
739     6084       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                         Lease              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
740     5013       Claire's Boutiques, Inc.      Simon            Dadeland Mall Lease                                                   [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                 Burlington Mall Lease      To the extent the Debtors are unable to
741     3218       Claire's Boutiques, Inc.      Simon                                                                                  [TBD]
                                                                      Agreement             agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Letter re: Memorialization of
                                                                                                To the extent the Debtors are unable to
742     6488       Claire's Boutiques, Inc.      Simon          Commencement Date for                                                       [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                  SouthPark Mall Lease
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
743     5233       Claire's Boutiques, Inc.      Simon          Woodland Hills Mall Lease                                                   [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
744     5337       Claire's Boutiques, Inc.      Simon            Woodfield Mall Lease                                                      [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                Stoneridge Shopping Center
                                                                                               intend to assume this lease as amended.
745     6072       Claire's Boutiques, Inc.      Simon           Temporary Storage Lease                                                    [TBD]
                                                                                                To the extent the Debtors are unable to
                                                                        Agreement
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
746     6378       Claire's Boutiques, Inc.      Simon             Meadowood Lease                                                        [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
747     1122       Claire's Boutiques, Inc.      Simon            Woodfield Mall Lease                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
748     8797       Claire's Boutiques, Inc.       CBL             St. Clair Square Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                               Letter Re: New Landlord and    satisfactory to the Debtors, the Debtors
749     5420       Claire's Boutiques, Inc.       CBL                                                                                     [TBD]
                                                                      Managing Agent         intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Northgate Mall Lease
                                                                                             To the extent the Debtors are unable to
750     5449       Claire's Boutiques, Inc.       CBL          Modification and Extension                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                      Agreement
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
751     5562       Claire's Boutiques, Inc.       CBL          Fremaux Town Center Lease                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Monroeville Mall Shopping     To the extent the Debtors are unable to
752     5989       Claire's Boutiques, Inc.       CBL                                                                                    [TBD]
                                                                     Center Lease            agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                St. Clair Square Shopping     amendments and other documentation
753     3504       Claire's Boutiques, Inc.       CBL                                                                                    [TBD]
                                                                       Center Lease          satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
754     5560       Claire's Boutiques, Inc.       CBL             Greenbriar Mall Lease                                                    [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
755     5457       Claire's Boutiques, Inc.       CBL            Northwoods Mall Lease                                                     [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Notice of Extension of Lease    To the extent the Debtors are unable to
756     5937       Claire's Boutiques, Inc.       CBL                                                                                      [TBD]
                                                                          Term                 agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                 Parkway Place Shopping        Upon the successful execution of lease
757     5083       Claire's Boutiques, Inc.       CBL                                                                                      [TBD]
                                                                      Center Lease              amendments and other documentation




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Kirkwood Mall Lease
                                                                                             To the extent the Debtors are unable to
758     5280       Claire's Boutiques, Inc.       CBL          Modification and Extension                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                      Agreement
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
759     6089       Claire's Boutiques, Inc.       CBL            Turtle Creek Mall Lease                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Post Oak Mall Lease
                                                                                             To the extent the Debtors are unable to
760     5478       Claire's Boutiques, Inc.       CBL          Modification and Extension                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                      Agreement
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
761     1886       Claire's Boutiques, Inc.       CBL             Mid Rivers Mall Lease                                                  [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
762     5574       Claire's Boutiques, Inc.       CBL           Hamilton Place Mall Lease                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
763     5285       Claire's Boutiques, Inc.       CBL           South County Center Lease                                                [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                Cross Creek Mall Storage    intend to assume this lease as amended.
764     6278       Claire's Boutiques, Inc.       CBL                                                                                    [TBD]
                                                                       Agreement             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty              Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
765     5001       Claire's Boutiques, Inc.       CBL               Oak Park Mall Lease                                                     [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                License Agreement for Valley    To the extent the Debtors are unable to
766     5431       Claire's Boutiques, Inc.       CBL                                                                                       [TBD]
                                                                  View Mall , Roanoke, VA       agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                CoolSprings Galleria License
                                                                                                To the extent the Debtors are unable to
767     5138       Claire's Boutiques, Inc.       CBL            Ageement for Temporary                                                     [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                          Storage
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                              Simon/Premium      Birch Run Premium Outlets      satisfactory to the Debtors, the Debtors
768     6389       Claire's Boutiques, Inc.                                                                                                 [TBD]
                                                 Outlets                   Lease               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium     North Bend Premium Outlets    To the extent the Debtors are unable to
769     6645       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets         Storage Lease Agreement      agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium      Lighthouse Place Premium     To the extent the Debtors are unable to
770     6629       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets               Outlets Lease          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium     Grove City Premium Outlets    To the extent the Debtors are unable to
771     6099       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets                  Lease               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                              Simon/Premium      Ellenton Premium Outlets      amendments and other documentation
772     6234       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets             Lease Agreement          satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium       The Crossings Premium       To the extent the Debtors are unable to
773     6878       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets              Outlets Lease           agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium         Florida Keys Outlet       To the extent the Debtors are unable to
774     6191       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets            Marketplace Lease         agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                              Simon/Premium     Roung Rock Premium Outlets    To the extent the Debtors are unable to
775     3638       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets         Storage Lease Agreement      agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                              Simon/Premium      St. Louis Premium Outlets    Upon the successful execution of lease
776     5366       Claire's Boutiques, Inc.                                                                                               [TBD]
                                                 Outlets                    Lease              amendments and other documentation




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty              Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium      Letter re: Petaluma Village    To the extent the Debtors are unable to
777     6613       Claire's Boutiques, Inc.                                                                                                 [TBD]
                                                 Outlets              Lease Extension           agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium      Camarillo Premium Outlets      To the extent the Debtors are unable to
778     6612       Claire's Boutiques, Inc.                                                                                                 [TBD]
                                                 Outlets                   Lease                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                              Simon/Premium    Las Americas Premium Outlets     To the extent the Debtors are unable to
779     6884       Claire's Boutiques, Inc.                                                                                                 [TBD]
                                                 Outlets         First Amendment to lease       agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                              Simon/Premium    Williamsburg Premium Outlets    To the extent the Debtors are unable to
780     6007       Claire's Boutiques, Inc.                                                                                                [TBD]
                                                 Outlets                  Lease                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                              Simon/Premium     Cincinnati Premium Outlets     To the extent the Debtors are unable to
781     3134       Claire's Boutiques, Inc.                                                                                                [TBD]
                                                 Outlets                   Lease               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                              Simon/Premium                                    To the extent the Debtors are unable to
782     6805       Claire's Boutiques, Inc.                     Allen Premium Outlets Lease                                                [TBD]
                                                 Outlets                                       agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                              Simon/Premium      Vacaville Premium Outlets    intend to assume this lease as amended.
783     6226       Claire's Boutiques, Inc.                                                                                                [TBD]
                                                 Outlets             Lease Agreement           To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty              Description                           Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                              Simon/Premium                                      To the extent the Debtors are unable to
784     6568       Claire's Boutiques, Inc.                    Las Vegas South Outlets Lease                                                 [TBD]
                                                 Outlets                                         agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Letter Re: Notice of Morganton    To the extent the Debtors are unable to
785     5389       Claire's Boutiques, Inc.       JLL                                                                                        [TBD]
                                                                Heights Shopping Center Sale     agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 TownMall of Westminster         To the extent the Debtors are unable to
786     5055       Claire's Boutiques, Inc.       JLL                                                                                        [TBD]
                                                                    Lease Agreement              agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                  Rosedale Center Storage        satisfactory to the Debtors, the Debtors
787     6298       Claire's Boutiques, Inc.       JLL                                                                                        [TBD]
                                                                    License Agreement           intend to assume this lease as amended.
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
788     3269       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
789     5310       Claire's Boutiques, Inc.     Westfield       Westfield Annapolis Lease                                                   [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Westfield Horton Plaza Seventh    To the extent the Debtors are unable to
790     6433       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                  Amendment to Lease            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                 Westfield Shoppingtown          amendments and other documentation
791     6067       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                     Meriden Lease              satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
792     5468       Claire's Boutiques, Inc.     Westfield      Mission Valley Center Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Westfield Citrus Park Lease    To the extent the Debtors are unable to
793     6678       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                  Amendment No. 1             agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Westfield Shoppingtown South    To the extent the Debtors are unable to
794     6093       Claire's Boutiques, Inc.     Westfield                                                                                 [TBD]
                                                                       Shore Lease            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
795     5602       Claire's Boutiques, Inc.     Westfield      Westfield Countryside Lease                                                [TBD]
                                                                                               amendments and other documentation




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Row    Store                                                                                                                             Cure
                           Debtor             Counterparty            Description                        Other Notes
 ID      #                                                                                                                              Amount
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
796     3304       Claire's Boutiques, Inc.     Westfield       Westfield Wheaton Lease                                                 [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                                            To the extent the Debtors are unable to
797     6803       Claire's Boutiques, Inc.     Westfield       Westfield Brandon Lease                                                 [TBD]
                                                                                            agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.
                                                                                            Upon the successful execution of lease
                                                                                             amendments and other documentation
                                                                                            satisfactory to the Debtors, the Debtors
                                                                                           intend to assume this lease as amended.
                                                                Westfield Fashion Square    To the extent the Debtors are unable to
798     6088       Claire's Boutiques, Inc.     Westfield                                                                               [TBD]
                                                                         Lease              agree to satisfactory amendments, they
                                                                                           reserve the right to assume this lease as-
                                                                                             is or list this lease on the Schedule of
                                                                                               Rejected Executory Contracts and
                                                                                                         Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                              Westfield San Francisco Centre    To the extent the Debtors are unable to
799     5983       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                          Lease                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Westfield Garden State Plaza     To the extent the Debtors are unable to
800     5770       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                          Lease                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Montgomery Mall Lease          To the extent the Debtors are unable to
801     6206       Claire's Boutiques, Inc.     Westfield                                                                                   [TBD]
                                                                   Amendment No.2               agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
802     6320       Claire's Boutiques, Inc.     Westfield          Oakridge Mall Lease                                                      [TBD]
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                                Cure
                           Debtor             Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Westfield North County Mall     To the extent the Debtors are unable to
803     5533       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                          Lease                agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
804     6124       Claire's Boutiques, Inc.     Westfield      Westfield Palm Desert Lease                                                 [TBD]
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                               Letter re: Westfield Topanga    To the extent the Debtors are unable to
805     6639       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                               Notice of Premises Delivery     agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               Upon the successful execution of lease
                                                                                                amendments and other documentation
                                                               Westfield Santa Anita Center    satisfactory to the Debtors, the Debtors
806     6430       Claire's Boutiques, Inc.     Westfield                                                                                  [TBD]
                                                                          Lease               intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty             Description                            Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                              Westfield Galleria at Roseville    To the extent the Debtors are unable to
807     6830       Claire's Boutiques, Inc.     Westfield                                                                                    [TBD]
                                                                         Lease                   agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                First License Modification       To the extent the Debtors are unable to
808     5112       Claire's Boutiques, Inc.      Tanger                                                                                      [TBD]
                                                                Agreement - Lincoln City         agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                               Tanger Outlets Lincoln City       To the extent the Debtors are unable to
809     6293       Claire's Boutiques, Inc.      Tanger                                                                                      [TBD]
                                                                     Oregon Lease                agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                Tanger Outlet at National         amendments and other documentation
810     5981       Claire's Boutiques, Inc.      Tanger                                                                                      [TBD]
                                                              Harbor (Oxon Hill, MD) Lease       satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Tanger Outlet Center Nags       To the extent the Debtors are unable to
811     6545       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                  Head Lease Extension          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Tanger Outlet Center Lease      To the extent the Debtors are unable to
812     6462       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                       Agreement                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Letter Re: Factory Stores at    To the extent the Debtors are unable to
813     6552       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                 Hershey Lease Extension        agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
814     5700       Claire's Boutiques, Inc.      Tanger         Tanger Outlet Center Lease                                                  [TBD]
                                                                                                 amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Tanger Outlet Center Hilton    To the extent the Debtors are unable to
815     6745       Claire's Boutiques, Inc.      Tanger                                                                                   [TBD]
                                                                 Head Lease Agreement         agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                  Bayside Outlet Lease        To the extent the Debtors are unable to
816     6219       Claire's Boutiques, Inc.      Tanger                                                                                   [TBD]
                                                                      Agreement               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
817     6405       Claire's Boutiques, Inc.      Tanger       Locust Grove Lease Agreement                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Tanger Outlet Center Foley,     To the extent the Debtors are unable to
818     6220       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                  AL License Agreement          agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                Tanger Outlet Center at The     To the extent the Debtors are unable to
819     3150       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                      Arches Lease              agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                               Tanger Outlets in Sevierville    To the extent the Debtors are unable to
820     5680       Claire's Boutiques, Inc.      Tanger                                                                                     [TBD]
                                                                    Lease Agreement             agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                               Plymouth Meeting Mall Lease     intend to assume this lease as amended.
821     6689       Claire's Boutiques, Inc.      PREIT                                                                                      [TBD]
                                                                      Amendment                 To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Dartmouth Mall Lease        To the extent the Debtors are unable to
822     6159       Claire's Boutiques, Inc.      PREIT                                                                                   [TBD]
                                                                      Agreement              agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Wyoming Valley Mall Lease     To the extent the Debtors are unable to
823     5256       Claire's Boutiques, Inc.      PREIT                                                                                   [TBD]
                                                                     Agreement               agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                 Capital City Mall Lease     To the extent the Debtors are unable to
824     5409       Claire's Boutiques, Inc.      PREIT                                                                                   [TBD]
                                                                       Agreement             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
825     5284       Claire's Boutiques, Inc.      PREIT            Magnolia Mall Lease                                                    [TBD]
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty             Description                           Other Notes
 ID      #                                                                                                                                  Amount
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
826     6153       Claire's Boutiques, Inc.      PREIT        PR Prince George's Plaza Lease                                                [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                   First Amendment to
                                                                                                To the extent the Debtors are unable to
827     5698       Claire's Boutiques, Inc.      PREIT         Jacksonville Mall Shopping                                                   [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                       Center Lease
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                  Viewmont Mall Lease           To the extent the Debtors are unable to
828     6170       Claire's Boutiques, Inc.      PREIT                                                                                      [TBD]
                                                                      Agreement                 agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                               Cherry Hill Mall Temporary        amendments and other documentation
829     5534       Claire's Boutiques, Inc.      PREIT                                                                                      [TBD]
                                                                     Storage Lease              satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.




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Row    Store                                                                                                                                         Cure
                           Debtor               Counterparty                  Description                            Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                     Springfield Tower Center Deed      To the extent the Debtors are unable to
830     6595       Claire's Boutiques, Inc.         PREIT                                                                                           [TBD]
                                                                                of Lease                agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                       Mount Berry Square Mall          To the extent the Debtors are unable to
831     6609       Claire's Boutiques, Inc.   Hull Property Group                                                                                   [TBD]
                                                                               Lease                    agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                     Third Amendment to Randolph        To the extent the Debtors are unable to
832     5502       Claire's Boutiques, Inc.   Hull Property Group                                                                                   [TBD]
                                                                             Mall Lease                 agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                     First Modification of Kingsport    Upon the successful execution of lease
833     5816       Claire's Boutiques, Inc.   Hull Property Group                                                                                   [TBD]
                                                                        Town Center (TN) Lease           amendments and other documentation




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Row    Store                                                                                                                                    Cure
                           Debtor               Counterparty                 Description                        Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                         Eight Amendment to        To the extent the Debtors are unable to
834     5997       Claire's Boutiques, Inc.   Hull Property Group                                                                              [TBD]
                                                                      Greenwood Mall (SC) Lease    agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
835     5305       Claire's Boutiques, Inc.   Hull Property Group        Jessamine Mall Lease                                                  [TBD]
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
836     6960       Claire's Boutiques, Inc.   Hull Property Group        Lake City Mall Lease                                                  [TBD]
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.




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Row    Store                                                                                                                                    Cure
                           Debtor               Counterparty                 Description                        Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                        Statesboro Mall Second     To the extent the Debtors are unable to
837     6075       Claire's Boutiques, Inc.   Hull Property Group                                                                              [TBD]
                                                                         Amendment to Lease        agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                        Piedmont Mall Second       To the extent the Debtors are unable to
838     5384       Claire's Boutiques, Inc.   Hull Property Group                                                                              [TBD]
                                                                         Amendment to Lease        agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                         Carolina Mall Lease       To the extent the Debtors are unable to
839     6742       Claire's Boutiques, Inc.   Hull Property Group                                                                              [TBD]
                                                                             Agreement             agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
840     5318       Claire's Boutiques, Inc.   Hull Property Group        Victoria Mall Lease                                                   [TBD]
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of




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Row    Store                                                                                                                                       Cure
                           Debtor               Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Regency Square Mall Lease       To the extent the Debtors are unable to
841     6246       Claire's Boutiques, Inc.   Hull Property Group                                                                                 [TBD]
                                                                             Agreement                agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Colonial University Village     To the extent the Debtors are unable to
842     5425       Claire's Boutiques, Inc.   Hull Property Group                                                                                 [TBD]
                                                                     Mall First Amendment to Lease    agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
843     6847       Claire's Boutiques, Inc.      Simon/Mills           Arundel Mills Mall Lease                                                   [TBD]
                                                                                                      agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
844     3487       Claire's Boutiques, Inc.      Simon/Mills             Katy Mills Mall Lease                                                    [TBD]
                                                                                                     intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
                                                                                                      agree to satisfactory amendments, they




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
845     3338       Claire's Boutiques, Inc.   Simon/Mills       Arizona Mills Mall Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
846     5923       Claire's Boutiques, Inc.   Simon/Mills       Mall at Gurnee Mills Lease                                                [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
847     3339       Claire's Boutiques, Inc.   Simon/Mills      Grapevine Mills Mall Lease                                                 [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
848     5995       Claire's Boutiques, Inc.   Simon/Mills          Potomac Mills Lease                                                    [TBD]
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.




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Row    Store                                                                                                                              Cure
                           Debtor             Counterparty            Description                         Other Notes
 ID      #                                                                                                                               Amount
                                                                                             To the extent the Debtors are unable to
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                               Great Mall Temporary Lease    To the extent the Debtors are unable to
849     6112       Claire's Boutiques, Inc.   Simon/Mills                                                                                [TBD]
                                                                       Agreement             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
850     3238       Claire's Boutiques, Inc.   Simon/Mills        Opry Mills Mall Lease                                                   [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                                             Upon the successful execution of lease
                                                                                              amendments and other documentation
                                                                                             satisfactory to the Debtors, the Debtors
                                                                                            intend to assume this lease as amended.
                                                                                             To the extent the Debtors are unable to
851     6572       Claire's Boutiques, Inc.   Simon/Mills       Ontario Mills Mall Lease                                                 [TBD]
                                                                                             agree to satisfactory amendments, they
                                                                                            reserve the right to assume this lease as-
                                                                                              is or list this lease on the Schedule of
                                                                                                Rejected Executory Contracts and
                                                                                                          Unexpired Leases.
                                                                Sawgrass Mills Temporary     Upon the successful execution of lease
852     6472       Claire's Boutiques, Inc.   Simon/Mills                                                                                [TBD]
                                                                Storage Lease Agreement       amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
853     3730       Claire's Boutiques, Inc.     Taubman          West Farms Mall Lease                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
854     8772       Claire's Boutiques, Inc.     Taubman            Dolphin Mall Lease                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                The Mall at Millenia Lease    To the extent the Debtors are unable to
855     3549       Claire's Boutiques, Inc.     Taubman                                                                                   [TBD]
                                                                      Agreement               agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                          Cure
                           Debtor                 Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         Sunrise Mall Shopping Center    To the extent the Debtors are unable to
856     6066       Claire's Boutiques, Inc.          Spinoso                                                                                         [TBD]
                                                                               Lease Agreement           agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                        Santa Maria Town Center First    To the extent the Debtors are unable to
857     6451       Claire's Boutiques, Inc.          Spinoso                                                                                         [TBD]
                                                                            Amendment to Lease           agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                                                         To the extent the Debtors are unable to
858     3398       Claire's Boutiques, Inc.          Spinoso             The Mall of Acadiana Lease                                                  [TBD]
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                             Letter re: Change in
                                                                                                        intend to assume this lease as amended.
859     6904       Claire's Boutiques, Inc.   Developers Diversified       Remittance Addresses for                                                  [TBD]
                                                                                                         To the extent the Debtors are unable to
                                                                            Macedonia Commons
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of




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Row    Store                                                                                                                                          Cure
                           Debtor                 Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                          Meridian Crossroads Lease      To the extent the Debtors are unable to
860     6605       Claire's Boutiques, Inc.   Developers Diversified                                                                                 [TBD]
                                                                                 Agreement               agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                              First Extension and       intend to assume this lease as amended.
                                                                           Modification of Birkdale      To the extent the Debtors are unable to
861     5930       Claire's Boutiques, Inc.   Developers Diversified                                                                                 [TBD]
                                                                         Village Shopping Center (NC)    agree to satisfactory amendments, they
                                                                                     Lease              reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                              Pacific Retail Capital      Independence Center Lease      To the extent the Debtors are unable to
862     5180       Claire's Boutiques, Inc.                                                                                                          [TBD]
                                                     Partners                    Agreement               agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                              Pacific Retail Capital     The Pavilion at Paseo Nuevo     satisfactory to the Debtors, the Debtors
863     6001       Claire's Boutiques, Inc.                                                                                                          [TBD]
                                                     Partners            Fourth Amendment to Lease      intend to assume this lease as amended.
                                                                                                         To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they




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Row    Store                                                                                                                                          Cure
                           Debtor                Counterparty                    Description                          Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                              Pacific Retail Capital       Broadway Mall Storage         To the extent the Debtors are unable to
864     6082       Claire's Boutiques, Inc.                                                                                                          [TBD]
                                                     Partners                License Agreement           agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                              Pacific Retail Capital                                     To the extent the Debtors are unable to
865     5564       Claire's Boutiques, Inc.                               South Towne Center Lease                                                   [TBD]
                                                     Partners                                            agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                              Pacific Retail Capital     Northpark Mall Storage Lease    To the extent the Debtors are unable to
866     3418       Claire's Boutiques, Inc.                                                                                                          [TBD]
                                                     Partners                    Agreement               agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                        Mainplace Shoppingtown Lease      amendments and other documentation
867     6394       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 [TBD]
                                                                             Amendment No. 6             satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.




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Row    Store                                                                                                                                          Cure
                           Debtor                Counterparty                   Description                           Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                         To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                                                         To the extent the Debtors are unable to
868     5184       Claire's Boutiques, Inc.   Centennial Real Estate     Westfield Fox Valley Lease                                                  [TBD]
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                            Vancouver Mall First         To the extent the Debtors are unable to
869     5787       Claire's Boutiques, Inc.   Centennial Real Estate                                                                                 [TBD]
                                                                            Amendment To Lease           agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                        Richland Mall First Amendment    To the extent the Debtors are unable to
870     6440       Claire's Boutiques, Inc.          Kohan                                                                                           [TBD]
                                                                            and Extension of Lease       agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
871     6872       Claire's Boutiques, Inc.   Poag Shopping Centers      Avenue Peachtree City Lease                                                 [TBD]
                                                                                                          amendments and other documentation




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         LaCenterra at Cinco Ranch      To the extent the Debtors are unable to
872     5554       Claire's Boutiques, Inc.   Poag Shopping Centers                                                                                 [TBD]
                                                                                   Lease                agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Letter re: Change of Manager    To the extent the Debtors are unable to
873     6890       Claire's Boutiques, Inc.   Poag Shopping Centers                                                                                 [TBD]
                                                                             and Leasing Agent          agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         Hill Country Galleria First    To the extent the Debtors are unable to
874     5775       Claire's Boutiques, Inc.          CBRE                                                                                           [TBD]
                                                                           Amendment to Lease           agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.




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Row    Store                                                                                                                                    Cure
                           Debtor             Counterparty                Description                           Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                      University Mall Lease        To the extent the Debtors are unable to
875     3315       Claire's Boutiques, Inc.       CBRE                                                                                         [TBD]
                                                                           Agreement               agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                   Burbank Town Center Storage     To the extent the Debtors are unable to
876     6390       Claire's Boutiques, Inc.   Cypress Equities                                                                                 [TBD]
                                                                       License Agreement           agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                   Bayshore Town Center First      To the extent the Debtors are unable to
877     6636       Claire's Boutiques, Inc.   Cypress Equities                                                                                 [TBD]
                                                                      Amendment to Lease           agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                   Letter re: Lloyd Center Mall
                                                                                                  intend to assume this lease as amended.
878     6070       Claire's Boutiques, Inc.   Cypress Equities     Tenant Notice of Transfer of                                                [TBD]
                                                                                                   To the extent the Debtors are unable to
                                                                            Ownership
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor              Counterparty             Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                    Wareham Crossing            To the extent the Debtors are unable to
879     5312       Claire's Boutiques, Inc.   WS Development                                                                                [TBD]
                                                                  Amendment No. 2 of Lease      agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                  The Shoppes at Blackstone     To the extent the Debtors are unable to
880     5164       Claire's Boutiques, Inc.   WS Development                                                                                [TBD]
                                                                        Valley Lease            agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
881     5166       Claire's Boutiques, Inc.   WS Development     Derby Street Shoppes Lease                                                 [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                 Letter re: MarketStreet New    satisfactory to the Debtors, the Debtors
882     3358       Claire's Boutiques, Inc.   WS Development                                                                                [TBD]
                                                                            Landlord           intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty              Description                           Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
883     3038       Claire's Boutiques, Inc.   WS Development         Legacy Place Lease                                                       [TBD]
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                Cutler Ridge Mall Indenture of    To the extent the Debtors are unable to
884     6169       Claire's Boutiques, Inc.     JJ Gumberg                                                                                    [TBD]
                                                                            Lease                 agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Coral Ridge Mall Shopping
                                                                                                  To the extent the Debtors are unable to
885     6602       Claire's Boutiques, Inc.     JJ Gumberg      Center Surrender/Exchange and                                                 [TBD]
                                                                                                  agree to satisfactory amendments, they
                                                                Lease Modification Agreement
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                  Glynn Place Agreement of         amendments and other documentation
886     5396       Claire's Boutiques, Inc.        TBD                                                                                        [TBD]
                                                                           Lease                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Second Amendment of Colonie     To the extent the Debtors are unable to
887     5207       Claire's Boutiques, Inc.      TBD                                                                                      [TBD]
                                                                      Center Lease            agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Tanger Outlet Center North    To the extent the Debtors are unable to
888     6559       Claire's Boutiques, Inc.      TBD                                                                                      [TBD]
                                                                 Branch Lease Agreement       agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
889     6042       Claire's Boutiques, Inc.      TBD              Valley Fair Mall Lease                                                  [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                               Outlets at Barstow Shopping    Upon the successful execution of lease
890     6709       Claire's Boutiques, Inc.   Craig Realty                                                                                [TBD]
                                                               Center First Amendment to       amendments and other documentation




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty             Description                         Other Notes
 ID      #                                                                                                                                Amount
                                                                          Lease               satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                Letter Re: Citadel Outlets    To the extent the Debtors are unable to
891     5822       Claire's Boutiques, Inc.   Craig Realty                                                                                [TBD]
                                                                     Lease Extension          agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Tanger Outlet Center
                                                                                              To the extent the Debtors are unable to
892     6409       Claire's Boutiques, Inc.   Craig Realty       Wisconsin Dells Lease                                                    [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                      Agreement
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                The Outlets At Castle Rock    To the extent the Debtors are unable to
893     6232       Claire's Boutiques, Inc.   Craig Realty                                                                                [TBD]
                                                                Third Amendment of Lease      agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.




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Row    Store                                                                                                                                      Cure
                           Debtor                Counterparty                Description                          Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
894     5462       Claire's Boutiques, Inc.   GK Development Inc.       Lufkin Mall Store Lease                                                  [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                        Columbia Mall Second         To the extent the Debtors are unable to
895     6471       Claire's Boutiques, Inc.   GK Development Inc.                                                                                [TBD]
                                                                         Amendment to Lease          agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                       Woodbury Lakes Second
                                               Ramco-Gershenson                                      To the extent the Debtors are unable to
896     6212       Claire's Boutiques, Inc.                             Amendment to Lease                                                       [TBD]
                                                 Properties, LP                                      agree to satisfactory amendments, they
                                                                            Agreement
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                               Ramco-Gershenson          Letter re: Providence      intend to assume this lease as amended.
897     6697       Claire's Boutiques, Inc.                                                                                                      [TBD]
                                                 Properties, LP       Marketplace Lease Extension    To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of




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Row    Store                                                                                                                                       Cure
                           Debtor                Counterparty                   Description                        Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                               Ramco-Gershenson          Bridgewater Falls Second     To the extent the Debtors are unable to
898     6230       Claire's Boutiques, Inc.                                                                                                       [TBD]
                                                 Properties, LP            Amendment to Lease         agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                               Ramco-Gershenson          First Amendment to Front     To the extent the Debtors are unable to
899     3022       Claire's Boutiques, Inc.                                                                                                       [TBD]
                                                 Properties, LP             Range Village Lease       agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                           Stone Crest Mall Third     To the extent the Debtors are unable to
900     6913       Claire's Boutiques, Inc.          Urban                                                                                        [TBD]
                                                                            Amendment of Lease        agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                              Ashkenazy Acquisition                                   satisfactory to the Debtors, the Debtors
901     3762       Claire's Boutiques, Inc.                              Bayside Marketplace Lease                                                [TBD]
                                                     Group                                           intend to assume this lease as amended.
                                                                                                      To the extent the Debtors are unable to
                                                                                                      agree to satisfactory amendments, they




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Ashkenazy Acquisition      Third Amendment to Lease      To the extent the Debtors are unable to
902     3313       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                     Group                      Agreement              agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Ashkenazy Acquisition      Rivercenter Mall Shopping     To the extent the Debtors are unable to
903     5686       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                     Group                     Center Lease            agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Ashkenazy Acquisition     Bayside Marketplace Storage    To the extent the Debtors are unable to
904     5526       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                     Group                  License Agreement          agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                              Ashkenazy Acquisition                                     amendments and other documentation
905     5272       Claire's Boutiques, Inc.                              Letter Re: New Ownership                                                  [TBD]
                                                     Group                                             satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.




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Row    Store                                                                                                                                   Cure
                           Debtor              Counterparty                Description                         Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                     Letter Re: Lanlord Notice    To the extent the Debtors are unable to
906     5513       Claire's Boutiques, Inc.   Olshan Properties                                                                               [TBD]
                                                                          Address Change          agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                    Shadow Lake Towne Center      To the extent the Debtors are unable to
907     5589       Claire's Boutiques, Inc.   Red Development                                                                                 [TBD]
                                                                             Lease                agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
908     3124       Claire's Boutiques, Inc.   Red Development          Notice of New Owner                                                    [TBD]
                                                                                                  agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                      Summit Woods Crossing       Upon the successful execution of lease
909     5023       Claire's Boutiques, Inc.   Red Development                                                                                 [TBD]
                                                                      Shopping Center Second       amendments and other documentation




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                     Amount
                                                                        Amendment to Lease         satisfactory to the Debtors, the Debtors
                                                                           Agreement              intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                    Bonita Lakes Mall Shopping     To the extent the Debtors are unable to
910     6481       Claire's Boutiques, Inc.   Rock Step Capital                                                                                [TBD]
                                                                           Center Lease            agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                       Lakewood Mall Lease         To the extent the Debtors are unable to
911     5857       Claire's Boutiques, Inc.   Rock Step Capital                                                                                [TBD]
                                                                            Extension              agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
912     5963       Claire's Boutiques, Inc.      Woodmont           Bangor Mall Lease Agreement                                                [TBD]
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        Letter Re: Assignment of       To the extent the Debtors are unable to
913     5060       Claire's Boutiques, Inc.     Bayer Properties                                                                                   [TBD]
                                                                            EastChase Lease            agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                      Second Amendment to Ashley
                                                                                                       To the extent the Debtors are unable to
914     5836       Claire's Boutiques, Inc.     Bayer Properties       Park Shopping Center (GA)                                                   [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                 Lease
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                      The Outlet Shoppes at Atlanta    To the extent the Debtors are unable to
915     5073       Claire's Boutiques, Inc.   CBL / Horizon Group                                                                                  [TBD]
                                                                                  Lease                agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                      Letter Re: Change in Landlord
                                                                                                      intend to assume this lease as amended.
916     5780       Claire's Boutiques, Inc.      Merlone Geier          Name and New Property                                                      [TBD]
                                                                                                       To the extent the Debtors are unable to
                                                                         Management Company
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of




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Row    Store                                                                                                                                        Cure
                           Debtor               Counterparty                  Description                           Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Central Texas Marketplace       To the extent the Debtors are unable to
917     6555       Claire's Boutiques, Inc.         RPAI                                                                                           [TBD]
                                                                                 Lease                 agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                       Letter re: Gerry Centennial     To the extent the Debtors are unable to
918     6818       Claire's Boutiques, Inc.         RPAI                                                                                           [TBD]
                                                                         Plaza Lease Extension         agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                         Heartland Mall Lease          To the extent the Debtors are unable to
919     5900       Claire's Boutiques, Inc.    Security National                                                                                   [TBD]
                                                                              Agreement                agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
920     8080       Claire's Boutiques, Inc.   Codding Enterprises    Letter re: Change in Ownership                                                [TBD]
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they




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Row    Store                                                                                                                                     Cure
                           Debtor               Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                      First Amendment to Storage    To the extent the Debtors are unable to
921     5437       Claire's Boutiques, Inc.   Codding Enterprises                                                                               [TBD]
                                                                         Lease for Merced Mall      agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                                                    To the extent the Debtors are unable to
922     3147       Claire's Boutiques, Inc.     Horizon Group           Letter re: New Landlord                                                 [TBD]
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                       Crossroads Village Lease     To the extent the Debtors are unable to
923     3019       Claire's Boutiques, Inc.        Lormax                                                                                       [TBD]
                                                                              Agreement             agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                      The Paddock Shops Second       amendments and other documentation
924     6956       Claire's Boutiques, Inc.   M&J Wilkow LTD                                                                                    [TBD]
                                                                        Amendment to Lease          satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.




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Row    Store                                                                                                                                      Cure
                           Debtor                Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                     To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                         Arrowhead Mall Lease        To the extent the Debtors are unable to
925     5683       Claire's Boutiques, Inc.        McKinley                                                                                      [TBD]
                                                                              Agreement              agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                        Destin Commons Renewal,
                                                                                                     To the extent the Debtors are unable to
926     5595       Claire's Boutiques, Inc.   Turnberry Associates     Extension and Amendment of                                                [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                             Lease Agreement
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                         Aventura Mall Renewal,
                                                                                                     To the extent the Debtors are unable to
927     5950       Claire's Boutiques, Inc.   Turnberry Associates     Extension and Amendment of                                                [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                            Lease Agreement
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                              Vintage Real Estate,                                   Upon the successful execution of lease
928     3490       Claire's Boutiques, Inc.                               Southlake Mall Lease                                                   [TBD]
                                                     LLC                                              amendments and other documentation




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Row    Store                                                                                                                                      Cure
                           Debtor               Counterparty                  Description                         Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                              Vintage Real Estate,                                   To the extent the Debtors are unable to
929     5870       Claire's Boutiques, Inc.                               Southlake Mall Lease                                                   [TBD]
                                                     LLC                                             agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                              Vintage Real Estate,                                   To the extent the Debtors are unable to
930     5203       Claire's Boutiques, Inc.                                Carson Mall Lease                                                     [TBD]
                                                     LLC                                             agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                        North Riverside Park Mall    To the extent the Debtors are unable to
931     3410       Claire's Boutiques, Inc.           Feil                                                                                       [TBD]
                                                                                 Lease               agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.




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Row    Store                                                                                                                                          Cure
                           Debtor                 Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                           Amount
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                         First Amendment to Meyerland    To the extent the Debtors are unable to
932     5225       Claire's Boutiques, Inc.   Fidelis Realty Partners                                                                                [TBD]
                                                                                  Plaza Lease            agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                          San Jacinto Mall in Baytown    To the extent the Debtors are unable to
933     8628       Claire's Boutiques, Inc.   Fidelis Realty Partners                                                                                [TBD]
                                                                             Amendment to Lease          agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                                                        intend to assume this lease as amended.
                                                                                                         To the extent the Debtors are unable to
934     6359       Claire's Boutiques, Inc.       Forbes Cohen           The Gardens Lease Agreement                                                 [TBD]
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of
                                                                                                            Rejected Executory Contracts and
                                                                                                                      Unexpired Leases.
                                                                                                         Upon the successful execution of lease
                                                                                                          amendments and other documentation
                                                                                                         satisfactory to the Debtors, the Debtors
                                                                           Somerset Collection North    intend to assume this lease as amended.
935     6425       Claire's Boutiques, Inc.       Forbes Cohen                                                                                       [TBD]
                                                                                    Lease                To the extent the Debtors are unable to
                                                                                                         agree to satisfactory amendments, they
                                                                                                        reserve the right to assume this lease as-
                                                                                                          is or list this lease on the Schedule of




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Row    Store                                                                                                                                   Cure
                           Debtor             Counterparty               Description                           Other Notes
 ID      #                                                                                                                                    Amount
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Yuma Palms Regional Center       To the extent the Debtors are unable to
936     5611       Claire's Boutiques, Inc.       Inland                                                                                      [TBD]
                                                                       Storage Lease              agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                  Dogwood Festival Market         To the extent the Debtors are unable to
937     6893       Claire's Boutiques, Inc.       Inland                                                                                      [TBD]
                                                                     Lease Agreement              agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                                                  satisfactory to the Debtors, the Debtors
                                                                                                 intend to assume this lease as amended.
                                                                 Irvine Spectrum Center Retail    To the extent the Debtors are unable to
938     5205       Claire's Boutiques, Inc.   Irvine Company                                                                                  [TBD]
                                                                          Space Lease             agree to satisfactory amendments, they
                                                                                                 reserve the right to assume this lease as-
                                                                                                   is or list this lease on the Schedule of
                                                                                                     Rejected Executory Contracts and
                                                                                                               Unexpired Leases.
                                                                                                  Upon the successful execution of lease
                                                                                                   amendments and other documentation
                                                                  Fashion Island Temporary        satisfactory to the Debtors, the Debtors
939     5022       Claire's Boutiques, Inc.   Irvine Company                                                                                  [TBD]
                                                                  Storage License Agreement      intend to assume this lease as amended.
                                                                                                  To the extent the Debtors are unable to
                                                                                                  agree to satisfactory amendments, they




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Row    Store                                                                                                                                    Cure
                           Debtor              Counterparty                Description                          Other Notes
 ID      #                                                                                                                                     Amount
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                    Rookwood Commons Lease         To the extent the Debtors are unable to
940     6860       Claire's Boutiques, Inc.   Jeffrey Anderson                                                                                 [TBD]
                                                                   Modification Agreement No. 4    agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
941     6927       Claire's Boutiques, Inc.   Jeffrey Anderson     Newport on the Levee Lease                                                  [TBD]
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                     Village at Sandhill Town
                                                                                                   To the extent the Debtors are unable to
942     3651       Claire's Boutiques, Inc.   Kahn Development      Center First Amendment of                                                  [TBD]
                                                                                                   agree to satisfactory amendments, they
                                                                               Lease
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
943     5968       Claire's Boutiques, Inc.     Legacy Dev.        Ward Parkway Center Lease                                                   [TBD]
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         Mayfair Shopping Center        To the extent the Debtors are unable to
944     5580       Claire's Boutiques, Inc.          Levin                                                                                          [TBD]
                                                                        Second Amendment to Lease       agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         Letter re: Mount Pleasant      To the extent the Debtors are unable to
945     6809       Claire's Boutiques, Inc.    Madison Marquette                                                                                    [TBD]
                                                                       Towne Center Lease Extension     agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Cambridgeside Galleria Lease    To the extent the Debtors are unable to
946     3375       Claire's Boutiques, Inc.     New England Dev.                                                                                    [TBD]
                                                                                Agreement               agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                         The Shoppes at Chino Hills     Upon the successful execution of lease
947     6255       Claire's Boutiques, Inc.   Opus West Corporation                                                                                 [TBD]
                                                                         First Amendment to Lease        amendments and other documentation




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Row    Store                                                                                                                                    Cure
                           Debtor               Counterparty                Description                         Other Notes
 ID      #                                                                                                                                     Amount
                                                                             Agreement             satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                                                   To the extent the Debtors are unable to
                                                                                                   agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                    Claire's Puerto Rico                              Plaza Del Caribe Shopping    To the extent the Debtors are unable to
948     6098                                  Plaza Las Americas                                                                               [TBD]
                            Corp.                                        Center Retail Lease       agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                     Westwood Village Shopping     To the extent the Debtors are unable to
949     6253       Claire's Boutiques, Inc.        Regency                                                                                     [TBD]
                                                                           Center Lease            agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.
                                                                                                   Upon the successful execution of lease
                                                                                                    amendments and other documentation
                                                                                                   satisfactory to the Debtors, the Debtors
                                                                                                  intend to assume this lease as amended.
                                                                     Serramonte Center Shopping    To the extent the Debtors are unable to
950     6154       Claire's Boutiques, Inc.        Regency                                                                                     [TBD]
                                                                            Center Lease           agree to satisfactory amendments, they
                                                                                                  reserve the right to assume this lease as-
                                                                                                    is or list this lease on the Schedule of
                                                                                                      Rejected Executory Contracts and
                                                                                                                Unexpired Leases.




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Row    Store                                                                                                                               Cure
                           Debtor             Counterparty            Description                          Other Notes
 ID      #                                                                                                                                Amount
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                                 Las Palmas Marketplace       To the extent the Debtors are unable to
951     5636       Claire's Boutiques, Inc.     Shopcore                                                                                  [TBD]
                                                                 Shopping Center Lease        agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                               Letter Re: Trenton Crossing
                                                                                              To the extent the Debtors are unable to
952     5711       Claire's Boutiques, Inc.    Weingarten      Mall Exercise of Option to                                                 [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                   Extend Lease Term
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
                                                              Rockwall Market Center Third
                                                                                              To the extent the Debtors are unable to
953     6873       Claire's Boutiques, Inc.    Weingarten       Amendment to Shopping                                                     [TBD]
                                                                                              agree to satisfactory amendments, they
                                                                     Center Lease
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of
                                                                                                 Rejected Executory Contracts and
                                                                                                           Unexpired Leases.
                                                                                              Upon the successful execution of lease
                                                                                               amendments and other documentation
                                                                                              satisfactory to the Debtors, the Debtors
                                                                                             intend to assume this lease as amended.
954     6383       Claire's Boutiques, Inc.    Wilder Co        The Loop Indenture Lease                                                  [TBD]
                                                                                              To the extent the Debtors are unable to
                                                                                              agree to satisfactory amendments, they
                                                                                             reserve the right to assume this lease as-
                                                                                               is or list this lease on the Schedule of




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                              1st Commercial Realty        Hilltop Mall Second          To the extent the Debtors are unable to
955     6784       Claire's Boutiques, Inc.                                                                                                         [TBD]
                                                     Group                 Amendment to Lease           agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
956     5137       Claire's Boutiques, Inc.      AJO Enterprises           Baskins Square Lease                                                     [TBD]
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
957     8008       Claire's Boutiques, Inc.    Bently Mall Assoc.           Bentley Mall Lease                                                      [TBD]
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                   Berkowitz                                            satisfactory to the Debtors, the Debtors
958     6972       Claire's Boutiques, Inc.                             Kendall Village Center Lease                                                [TBD]
                                                  Development                                          intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they




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Row    Store                                                                                                                                            Cure
                           Debtor                 Counterparty                   Description                            Other Notes
 ID      #                                                                                                                                             Amount
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                        Letter re: Change of Landlord's    To the extent the Debtors are unable to
959     6264       Claire's Boutiques, Inc.   Blackline Retail Group                                                                                   [TBD]
                                                                                Notice Address             agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                   Bohannon               Hillsdale Shopping Center        To the extent the Debtors are unable to
960     6827       Claire's Boutiques, Inc.                                                                                                            [TBD]
                                                  Development                        Lease                 agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                            Amended and Restated
                                                                                                           To the extent the Debtors are unable to
961     3330       Claire's Boutiques, Inc.    Burroughs & Chapin        Broadway at the Beach Lease                                                   [TBD]
                                                                                                           agree to satisfactory amendments, they
                                                                                Agreement
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                           Lakeside Village Lease
                                                Casto-Oakbridge                                             amendments and other documentation
962     6110       Claire's Boutiques, Inc.                                    Modification                                                            [TBD]
                                                 Venture, Ltd.                                             satisfactory to the Debtors, the Debtors
                                                                             Agreement No. 1
                                                                                                          intend to assume this lease as amended.




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Row    Store                                                                                                                                        Cure
                           Debtor              Counterparty                  Description                            Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
963     6000       Claire's Boutiques, Inc.   Center Properties          Valley Mall Lease                                                         [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                    Letter Re: Main Street Claire's
                                                                                                       To the extent the Debtors are unable to
964     5214       Claire's Boutiques, Inc.      Century 21         Location Exercise of Option to                                                 [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                         Extend Lease Term
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                     Waxahachie Towne Center           To the extent the Debtors are unable to
965     6258       Claire's Boutiques, Inc.    CMG/Provost                                                                                         [TBD]
                                                                             Lease                     agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                     Amendment to the District         Upon the successful execution of lease
966     3037       Claire's Boutiques, Inc.   Coldwell Banker                                                                                      [TBD]
                                                                      Shopping Center Lease             amendments and other documentation




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                Agreement               satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                         Yorktown Center Storage        To the extent the Debtors are unable to
967     5129       Claire's Boutiques, Inc.   Collarmele Partners                                                                                   [TBD]
                                                                               Agreement                agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Old Mill District Shops, LLC    To the extent the Debtors are unable to
968     5192       Claire's Boutiques, Inc.     Compass Retail                                                                                      [TBD]
                                                                             Lease Agreement            agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                          Azalea Square Shopping        To the extent the Debtors are unable to
969     6456       Claire's Boutiques, Inc.   Fairbourne Properties                                                                                 [TBD]
                                                                          Center Lease Agreement        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
970     6715       Claire's Boutiques, Inc.         Fameco                Southside Mall Lease                                                     [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        Modification and Second
                                                                                                       To the extent the Debtors are unable to
971     5228       Claire's Boutiques, Inc.      Federal REIT           Extension of Tower Shops                                                   [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                  Lease
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Gallatin Mall Group,    Gallatin Mall Shopping Center    To the extent the Debtors are unable to
972     6068       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                      LLC                         Lease                agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
973     6866       Claire's Boutiques, Inc.    Gator Investments         Indian Hills Plaza Lease                                                  [TBD]
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                 Description                           Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
974     6564       Claire's Boutiques, Inc.   Goodale & Barbieri      Red Lions Hotels Lease Option                                                [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Great Plains Clinic
                                                                                                       To the extent the Debtors are unable to
975     6127       Claire's Boutiques, Inc.   Medical Enterprises        Prairie Hills Mall Lease                                                  [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                     LLC
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                              Hawthorne Pinecrest,     Second Amendment to Lease       To the extent the Debtors are unable to
976     5688       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                     LLC                       Agreement               agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                              Hunt Valley Towne         Hunt Valley Towne Centre       satisfactory to the Debtors, the Debtors
977     5199       Claire's Boutiques, Inc.                                                                                                        [TBD]
                                                Centre, LLC                       Lease               intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they




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Row    Store                                                                                                                                         Cure
                           Debtor               Counterparty                   Description                           Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Oakwood Mall Extension          To the extent the Debtors are unable to
978     5352       Claire's Boutiques, Inc.        J. Herzog                                                                                        [TBD]
                                                                             Agreement                  agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                          Palmer Park Mall First        To the extent the Debtors are unable to
979     6762       Claire's Boutiques, Inc.       Jimmy Jazz                                                                                        [TBD]
                                                                          Amendment of Lease            agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                      The Tower and Crescent Shops
                                              Johnson Commercial                                        To the extent the Debtors are unable to
980     6837       Claire's Boutiques, Inc.                               at The Pinnacle Lease                                                     [TBD]
                                                     Dev                                                agree to satisfactory amendments, they
                                                                               Agreement
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                              Josey/Trinity Mills,    Trinity Valley Shopping Center     amendments and other documentation
981     6158       Claire's Boutiques, Inc.                                                                                                         [TBD]
                                                     Ltd.                          Lease                satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.




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Row    Store                                                                                                                                            Cure
                           Debtor                Counterparty                    Description                            Other Notes
 ID      #                                                                                                                                             Amount
                                                                                                           To the extent the Debtors are unable to
                                                                                                           agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                        Letter Re: Notice to Tenants of
                                                                                                           To the extent the Debtors are unable to
982     5049       Claire's Boutiques, Inc.      JSH Properties            Change of Name, Notice                                                      [TBD]
                                                                                                           agree to satisfactory amendments, they
                                                                        Address and Payment Direction
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                                                          37-60 Junction Blvd Store        To the extent the Debtors are unable to
983     6022       Claire's Boutiques, Inc.   Junction Blvd. Realty                                                                                    [TBD]
                                                                                   Lease                   agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                                                                                           Upon the successful execution of lease
                                                                                                            amendments and other documentation
                                                                                                           satisfactory to the Debtors, the Debtors
                                                                                                          intend to assume this lease as amended.
                                               Lance-Kashian &         Letter re: Marketplace at River     To the extent the Debtors are unable to
984     6408       Claire's Boutiques, Inc.                                                                                                            [TBD]
                                                  Company                   Park Lease Extension           agree to satisfactory amendments, they
                                                                                                          reserve the right to assume this lease as-
                                                                                                            is or list this lease on the Schedule of
                                                                                                              Rejected Executory Contracts and
                                                                                                                        Unexpired Leases.
                                              Mark T. Brennan &        Warwick Mall Storage License        Upon the successful execution of lease
985     3139       Claire's Boutiques, Inc.                                                                                                            [TBD]
                                                   Assoc.                      Agreement                    amendments and other documentation




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Row    Store                                                                                                                                      Cure
                           Debtor               Counterparty                 Description                          Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
986     6091       Claire's Boutiques, Inc.   McKnight Properties         Dublin Mall Lease                                                      [TBD]
                                                                                                     agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                      Music City Mall Third Lease    To the extent the Debtors are unable to
987     5386       Claire's Boutiques, Inc.   MCM Properties Ltd                                                                                 [TBD]
                                                                              Extension              agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                       Hemet Valley Mall Lease       To the extent the Debtors are unable to
988     5226       Claire's Boutiques, Inc.       MCStrauss                                                                                      [TBD]
                                                                             Agreement               agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.




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Row    Store                                                                                                                                     Cure
                           Debtor               Counterparty                 Description                         Other Notes
 ID      #                                                                                                                                      Amount
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                Metro National                                      To the extent the Debtors are unable to
989     6283       Claire's Boutiques, Inc.                            Memorial City Mall Lease                                                 [TBD]
                                                 Corporation                                        agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                       Miromar Factory Outlets      To the extent the Debtors are unable to
990     6758       Claire's Boutiques, Inc.        Miromar                                                                                      [TBD]
                                                                       Fourth Lease Amendment       agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                                                                   intend to assume this lease as amended.
                                                                       Letter re: Sherman Town      To the extent the Debtors are unable to
991     6415       Claire's Boutiques, Inc.   Newquest Properties                                                                               [TBD]
                                                                       Center Lease Extension       agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of
                                                                                                       Rejected Executory Contracts and
                                                                                                                 Unexpired Leases.
                                                                                                    Upon the successful execution of lease
                                                                                                     amendments and other documentation
                                                                                                    satisfactory to the Debtors, the Debtors
                                                  Northridge          Northridge Shopping Center   intend to assume this lease as amended.
992     6911       Claire's Boutiques, Inc.                                                                                                     [TBD]
                                                 Development                     Lease              To the extent the Debtors are unable to
                                                                                                    agree to satisfactory amendments, they
                                                                                                   reserve the right to assume this lease as-
                                                                                                     is or list this lease on the Schedule of




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Row    Store                                                                                                                                      Cure
                           Debtor               Counterparty                 Description                          Other Notes
 ID      #                                                                                                                                       Amount
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                      Letter re: Southlands Lease    To the extent the Debtors are unable to
993     6224       Claire's Boutiques, Inc.   Northwood Retail                                                                                   [TBD]
                                                                               Extension             agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                                       Nebraska Crossing Outlet      To the extent the Debtors are unable to
994     5458       Claire's Boutiques, Inc.    OTB Destination                                                                                   [TBD]
                                                                        Shopping Center Lease        agree to satisfactory amendments, they
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                                                     satisfactory to the Debtors, the Debtors
                                                                                                    intend to assume this lease as amended.
                                                Pacific Capital
                                                                     Lake Arrowhead Village Fifth    To the extent the Debtors are unable to
995     6596       Claire's Boutiques, Inc.     Investments &                                                                                    [TBD]
                                                                         Amendment to Lease          agree to satisfactory amendments, they
                                                 Management
                                                                                                    reserve the right to assume this lease as-
                                                                                                      is or list this lease on the Schedule of
                                                                                                        Rejected Executory Contracts and
                                                                                                                  Unexpired Leases.
                                                                                                     Upon the successful execution of lease
                                                                                                      amendments and other documentation
                                                                      Letter Re: Tenant exercised    satisfactory to the Debtors, the Debtors
996     5522       Claire's Boutiques, Inc.   Pappas Investments                                                                                 [TBD]
                                                                      option to extend Lease term   intend to assume this lease as amended.
                                                                                                     To the extent the Debtors are unable to
                                                                                                     agree to satisfactory amendments, they




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Row    Store                                                                                                                                       Cure
                           Debtor              Counterparty                 Description                            Other Notes
 ID      #                                                                                                                                        Amount
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                    Crabtree Valley Mall Storage      To the extent the Debtors are unable to
997     6448       Claire's Boutiques, Inc.   Plaza Associates                                                                                    [TBD]
                                                                     Space License Agreement          agree to satisfactory amendments, they
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                   Letter Re: Colonial Promenade
                                                                                                      To the extent the Debtors are unable to
998     5516       Claire's Boutiques, Inc.   Propst Properties    Alabaster Exercise of Option to                                                [TBD]
                                                                                                      agree to satisfactory amendments, they
                                                                         Extend Lease Term
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                                                       amendments and other documentation
                                                                                                      satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.
                                                                      Letter re: Garden Valley
                                               RAM Property                                           To the extent the Debtors are unable to
999     6702       Claire's Boutiques, Inc.                           Shopping Center Lease                                                       [TBD]
                                              Development LLC                                         agree to satisfactory amendments, they
                                                                              Extension
                                                                                                     reserve the right to assume this lease as-
                                                                                                       is or list this lease on the Schedule of
                                                                                                         Rejected Executory Contracts and
                                                                                                                   Unexpired Leases.
                                                                                                      Upon the successful execution of lease
                                                                    Green Oak Village Place First      amendments and other documentation
1000    6950       Claire's Boutiques, Inc.       Redico                                                                                          [TBD]
                                                                        Amendent to Lease             satisfactory to the Debtors, the Debtors
                                                                                                     intend to assume this lease as amended.




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Row    Store                                                                                                                                         Cure
                           Debtor                Counterparty                   Description                          Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Fourth Amendment to Cross       To the extent the Debtors are unable to
1001    5142       Claire's Boutiques, Inc.           Regis                                                                                         [TBD]
                                                                            County Mall Lease           agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
1002    5844       Claire's Boutiques, Inc.   Satterfield-Helm Mgmt        Red Cliffs Mall Lease                                                    [TBD]
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Silverado Ranch Plaza Retail    To the extent the Debtors are unable to
1003    5044       Claire's Boutiques, Inc.         Seligman                                                                                        [TBD]
                                                                              Lease Agreement           agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
1004    3502       Claire's Boutiques, Inc.    Steiner & Associates      Easton Town Center Lease                                                   [TBD]
                                                                                                         amendments and other documentation




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Row    Store                                                                                                                                         Cure
                           Debtor              Counterparty                   Description                            Other Notes
 ID      #                                                                                                                                          Amount
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                                                        To the extent the Debtors are unable to
                                                                                                        agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                       Letter re: Hammond Square
                                                                                                        To the extent the Debtors are unable to
1005    3154       Claire's Boutiques, Inc.   Stirling Properties      Shopping Center Change of                                                    [TBD]
                                                                                                        agree to satisfactory amendments, they
                                                                          Payee Name/Address
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                      Letter re: Jackson Plaza Lease    To the extent the Debtors are unable to
1006    6235       Claire's Boutiques, Inc.       Stonemar                                                                                          [TBD]
                                                                                 Extension              agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.
                                                                                                        Upon the successful execution of lease
                                                                                                         amendments and other documentation
                                                                                                        satisfactory to the Debtors, the Debtors
                                                                                                       intend to assume this lease as amended.
                                                                        Brook 35 Plaza Shopping         To the extent the Debtors are unable to
1007    5657       Claire's Boutiques, Inc.     Terranomics                                                                                         [TBD]
                                                                        Center Lease Agreement          agree to satisfactory amendments, they
                                                                                                       reserve the right to assume this lease as-
                                                                                                         is or list this lease on the Schedule of
                                                                                                           Rejected Executory Contracts and
                                                                                                                     Unexpired Leases.




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Row    Store                                                                                                                                        Cure
                           Debtor                Counterparty                  Description                          Other Notes
 ID      #                                                                                                                                         Amount
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
1008    6592       Claire's Boutiques, Inc.    TKG Management           Smith Farm Crossing Lease                                                  [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                        La Palmera Shopping Center
                                                                                                       To the extent the Debtors are unable to
1009    5583       Claire's Boutiques, Inc.   Trademark Properties       First Amendment to Lease                                                  [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                Agreement
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                                                      intend to assume this lease as amended.
                                                                                                       To the extent the Debtors are unable to
1010    6846       Claire's Boutiques, Inc.     UP Development         Orlando Fashion Square Lease                                                [TBD]
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of
                                                                                                          Rejected Executory Contracts and
                                                                                                                    Unexpired Leases.
                                                                                                       Upon the successful execution of lease
                                                                                                        amendments and other documentation
                                                                                                       satisfactory to the Debtors, the Debtors
                                                                       Letter re: Washington Square   intend to assume this lease as amended.
1011    6646       Claire's Boutiques, Inc.      Wagner, Ohe                                                                                       [TBD]
                                                                           Mall Lease Extension        To the extent the Debtors are unable to
                                                                                                       agree to satisfactory amendments, they
                                                                                                      reserve the right to assume this lease as-
                                                                                                        is or list this lease on the Schedule of




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Row    Store                                                                                                                                 Cure
                           Debtor             Counterparty              Description                          Other Notes
 ID      #                                                                                                                                  Amount
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Tulare Outlet Center Fourth
                                                                                                To the extent the Debtors are unable to
1012    6441       Claire's Boutiques, Inc.   WAS Group             Amendment to Lease                                                      [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                         Agreement
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                 Gulfgate Shopping Center       To the extent the Debtors are unable to
1013    5654       Claire's Boutiques, Inc.   Wulfe Mgmt.                                                                                   [TBD]
                                                                Second Amendment to Lease       agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                                                satisfactory to the Debtors, the Debtors
                                                                                               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
1014    6195       Claire's Boutiques, Inc.   Lexington Co.        Watertown Mall Lease                                                     [TBD]
                                                                                                agree to satisfactory amendments, they
                                                                                               reserve the right to assume this lease as-
                                                                                                 is or list this lease on the Schedule of
                                                                                                   Rejected Executory Contracts and
                                                                                                             Unexpired Leases.
                                                                                                Upon the successful execution of lease
                                                                                                 amendments and other documentation
                                                                Village Mall Shopping Center    satisfactory to the Debtors, the Debtors
1015    5495       Claire's Boutiques, Inc.      Urban                                                                                      [TBD]
                                                                           Lease               intend to assume this lease as amended.
                                                                                                To the extent the Debtors are unable to
                                                                                                agree to satisfactory amendments, they




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Row    Store                                                                                                                                  Cure
                           Debtor              Counterparty              Description                          Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                  Shnango Valley Mall Third      To the extent the Debtors are unable to
1016    5841       Claire's Boutiques, Inc.       Urban                                                                                      [TBD]
                                                                   Amendment to the Lease        agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                 Army & Air Force Exchange
                                                                                                 To the extent the Debtors are unable to
1017    5024       Claire's Boutiques, Inc.       AAFES          Service Lackland Air Force                                                  [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                         BaseLease
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                    Third Amendment for          To the extent the Debtors are unable to
1018    5422       Claire's Boutiques, Inc.   M&J Wilkow LTD                                                                                 [TBD]
                                                                    Cranberry Mall Lease         agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
1019    5126       Claire's Boutiques, Inc.      McKinley        Chapel Hill Mall Akron Lease                                                [TBD]
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.




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Row    Store                                                                                                                                  Cure
                           Debtor             Counterparty                Description                         Other Notes
 ID      #                                                                                                                                   Amount
                                                                                                 To the extent the Debtors are unable to
                                                                                                 agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                    Forest Mall - First Lease    To the extent the Debtors are unable to
1020    5524       Claire's Boutiques, Inc.    ATR Corinth                                                                                   [TBD]
                                                                          Amendment              agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                    Amendment to Lakeside        To the extent the Debtors are unable to
1021    5101       Claire's Boutiques, Inc.        Feil                                                                                      [TBD]
                                                                    Shopping Center Lease        agree to satisfactory amendments, they
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                                                 Upon the successful execution of lease
                                                                                                  amendments and other documentation
                                                                                                 satisfactory to the Debtors, the Debtors
                                                                                                intend to assume this lease as amended.
                                                                    Pasadena Town Square
                                                                                                 To the extent the Debtors are unable to
1022    5490       Claire's Boutiques, Inc.   Guardian Equity    Supplemental Lease Agreement                                                [TBD]
                                                                                                 agree to satisfactory amendments, they
                                                                              #6
                                                                                                reserve the right to assume this lease as-
                                                                                                  is or list this lease on the Schedule of
                                                                                                    Rejected Executory Contracts and
                                                                                                              Unexpired Leases.
                                                                     Hamilton Mall Lease         Upon the successful execution of lease
1023    5651       Claire's Boutiques, Inc.     Kravco Co.                                                                                   [TBD]
                                                                        Agreement                 amendments and other documentation




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Row    Store                                                                                                                                Cure
                          Debtor              Counterparty             Description                          Other Notes
 ID      #                                                                                                                                 Amount
                                                                                               satisfactory to the Debtors, the Debtors
                                                                                              intend to assume this lease as amended.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.
                                                                                               To the extent the Debtors are unable to
                                                                                               agree to satisfactory amendments, they
                                                                                              reserve the right to assume this lease as-
1024    5009       Claire's Boutiques, Inc.      Simon         The Shops at Riverside Lease                                                [TBD]
                                                                                                is or list this lease on the Schedule of
                                                                                                  Rejected Executory Contracts and
                                                                                                            Unexpired Leases.




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